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                       IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


 MELCINA BLANTON,                                CIVIL ACTION No.
                                                 15 CV 3156
 Plaintiff,

 v.

 ROUNDPOINT MORTGAGE SERVICING
 CORP., and LOCKE LORD LLP

 Defendants.




                         DECLARATION OF MELCINA BLANTON IN
              OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT



Melcina Blanton, of full age with full competence and diligence, does hereby declare as follows:

        1. I have personal knowledge of the facts set forth herein and submit this Declaration in

Opposition to Defendants’ Motion for Summary Judgment.

        2. Annexed hereto as Exhibit A is a copy of my Third Amended Complaint with Exhibits.

Rather than restate my Complaint, I hereby declare under penalties of perjury that these statements are

true and respectfully request that this Court reply upon the facts and exhibits contained therein in

opposition to Defendants’ Motion.
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         I hereby declare that the foregoing statements made by me are true. I am aware that if any of

the foregoing statements made by me are willfully false, I am subject to punishment.




                                                   ___Melcina Blanton________________

                                                       Melcina Blanton
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                 EXHIBIT A
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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

MELCINA BLANTON,                              )
                                              )
              Plaintiff,                      )    Case No. 15 CV 3156
                                              )
v.                                            )
                                              )
ROUNDPOINT MORTGAGE                           )    Judge Robert W. Gettleman
SERVICING CORP.                               )
and LOCKE LORD LLP,                           )    Magistrate Judge M. David Weisman
                                              )
              Defendants.                     )

                           THIRD AMENDED COMPLAINT

        Plaintiff, Melcina Blanton, by and through her counsel, for her Third Amended

Complaint against the Defendants RoundPoint Mortgage Servicing Corporation and

Locke Lord LLP, states:

                                      PARTIES

1. Plaintiff Melcina Blanton (“Plaintiff”) is the owner of residential real property,

     located at, and commonly known as 7727 South Bennett, Chicago, IL 60649 (the

     “Property”)

2. Defendant RoundPoint Mortgage Servicing Corporation (hereinafter “Defendant

     RoundPoint” or “RoundPoint”) is a Florida corporation, a mortgage loan servicer



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   with its principal place of business in North Carolina. It is not in good standing

   in Illinois. RoundPoint is the current servicer (i.e., it collects interest, principal,

   and escrow payments) of a Note and Mortgage on the Property that secures said

   Note (the “Loan’ or Plaintiff’s Loan”). Servicing of the Loan was transferred to

   RoundPoint on or about November 5, 2013.

3. Codilis and Associates, PC (“Codilis”) is a law firm located in the Chicago area

   that primarily represents the financial services industry throughout Illinois.

   Codilis is engaged in the business of using the mails and telephone to collect

   consumer debts originally owed to others, including residential mortgage debts.

   According to its web site at http://www.codilis.com/services.html (last accessed

   September 7, 2015), “Codilis & Associates prosecutes foreclosure actions in all

   102 Illinois counties. The firm has well trained attorneys and staff using

   sophisticated proprietary software to successfully manage the complex judicial

   foreclosure process.”

4. Codilis represented Defendant RoundPoint in a 2014 foreclosure action filed

   against the Plaintiff being known as:            RoundPoint Mortgage Servicing

   Corporation vs. Melcina Blanton, et al., Case No. 14 CH 012508, Circuit Court

   of Cook County Illinois, County Department­Chancery Division. (“First

   Foreclosure”).


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5. Defendant Locke Lord, LLP (hereinafter “Defendant Locke Lord” or “Locke

   Lord” is an international law firm, headquartered in Dallas Texas, with an office

   located in Chicago, Illinois. According to its web site at the following URL (last

   accessed    on    September     7,   2015),    http://www.lockelord.com/services/

   practices/consumer­finance, Locke Lord’s Consumer Finance Practice Group is

   “devoted to defending consumer lenders against class actions and individual

   actions brought pursuant to a variety of state and federal consumer protection

   statutes, including cases involving mortgage fraud, predatory lending and unfair

   and deceptive acts and practices statutes.”      Locke Lord also represents said

   consumer lenders in mortgage foreclosures and is thus engaged in the business of

   using the mails to collect residential mortgage debts.

6. Locke Lord was engaged to represent RoundPoint on or about July of 2014,

   during and following the dismissal of the above referenced First Foreclosure

   action against the Plaintiff, and has continued to try to collect sums allegedly due

   from Plaintiff to RoundPoint on her allegedly delinquent Loan.

7. Johnson, Blumberg & Associates, LLC (hereinafter “Johnson Blumberg”) is a

   law firm headquartered in Chicago, Illinois with branch offices located in other

   midwestern states, and specializes in commercial litigation, bankruptcy,

   foreclosure and default servicing and collections.


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8. Like Codilis and Locke Lord, according to Johnson Blumberg’s web site at the

     following    URL:     http://johnson­blumberg.squarespace.com/about­jba/    (last

     accessed on September 7, 2015), Johnson Blumberg regularly represents

     mortgage lenders and servicers in foreclosures, with “personnel that work solely

     on complaints, judgments, sales, non­judicial foreclosures, title clearing,

     evictions, closings and collection actions.” Thus, Johnson Blumberg is engaged

     in the business of using the mails and telephone to collect consumer debts

     originally owed to others, including residential mortgage debts.

9.    Johnson Blumberg currently represents Defendant RoundPoint in its efforts to

     foreclose upon the Plaintiff and is counsel of record in a pending matter known

     as: RoundPoint Mortgage Servicing Corporation v. Melcina Blanton, et. al., 15

     CH 10526, Circuit Court of Cook County Illinois, County Department­Chancery

     Division. (“Second Foreclosure”). The matter is currently in abeyance pending

     the outcome of this litigation.

10. Locke Lord is a “debt collector” engaged in the regular collection of debts owed

     to another from “consumers” as those terms are defined in 15 U.S.C. §1692a(6)

     and (3), respectively. Defendant RoundPoint is not exempted from the FDCPA by

     virtue of being mortgage servicer because it assumed the servicing of Plaintiff’s

     Loan after it was allegedly delinquent. See 15 U.S.C. §1692a(6)(F)(iii)).


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11. Plaintiff is a ”consumer” as that term is defined in 15 U.S.C. §1692a(3). The

   alleged debt was incurred for personal, family or household purposes (to pay for

   housing) and not for business purposes.

                          JURISDICTION AND VENUE

12. This Court has jurisdiction pursuant to 28 U.S.C. §1331 as this action arises

   under the Dodd­Frank Wall Street Reform and Consumer Protection Act (DFA),

   the Real Estate Settlement Procedures Act, 12 U.S.C. §§2601, et seq. (RESPA),

   and the Truth in Lending Act, 15 U.S.C. §1640(e) (TILA) . This action is filed to

   enforce regulations promulgated by the Consumer Financial Protection Bureau

   (CFPB) that became effective on January 10, 2014, specifically, 12 C.F.R.

   §1024.1, et seq. of Regulation X and 12 C.F.R. §1026.41 of Regulation Z. The

   TILA­related transactions herein complained of, concern a “closed­end consumer

   credit transaction secured by a dwelling,” as defined in 12 C.F.R. §1026.41(a).

13. This Court also has jurisdiction under 15 U.S.C. §1692k(d) of the Fair Debt

   Collection Practices Act (FDCPA) This Court has supplemental jurisdiction to

   hear any and all state law claims that are pleaded herein or that may subsequently

   arise pursuant to 28 U.S.C. §1367.

14. Venue lies in this District pursuant to 28 U.S.C. §1391(b), as Plaintiff resides and

   the Property is located in Cook County, Illinois, in the Northern District of


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   Illinois, Eastern Division.

                                 INTRODUCTION

15. Plaintiff restates and incorporates all of her statements and allegations contained

   in the preceding paragraphs in their entirety, as if fully rewritten herein.

16. This case is brought under 15 U.S.C. 1601 et seq (TILA) 12 U.S.C. §§2601, et

   seq. (RESPA) and 15 U.S.C. §1692k(d), the Fair Debt Collection Practices Act

   and the Illinois Consumer Fraud and Deceptive Practices Act, 815 ILCS 505 et.

   seq. and for the common law tort of conversion.

17. The case concerns numerous, material errors and false statements that the

   Defendants RoundPoint and Locke Lord made in servicing, accounting for, and

   attempting to collect on Plaintiff’s Loan immediately following the November

   2013 transfer of the servicing of the Loan to RoundPoint; and the Defendants’

   failure to properly acknowledge and respond to Plaintiff’s numerous Requests for

   Information, Notice of Errors and Qualified Written Requests concerning alleged

   delinquencies. It also concerns the continuing and improper accounting for and

   servicing of Plaintiff’s Loan, which conduct is unscrupulous, immoral, unfair and

   deceptive and has damaged the Plaintiff thereby.

18. Plaintiff was at all times relevant herein engaged in actively disputing the

   alleged, but incorrect, delinquency on her Loan with RoundPoint, and with


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   Codilis prior to and during the pendency of a wrongful foreclosure proceeding

   filed against her (First Foreclosure) and then engaged with Locke Lord following

   the dismissal of the First Foreclosure, and finally Johnson Blumberg on the

   Second Foreclosure.

19. Defendants’ actions towards Plaintiff constitute material violations of numerous

   sections of the new federal RESPA and TILA servicing regulations and the

   FDCPA, as will appear more fully set out below. In addition, Defendants’

   unconscionable and immoral conduct violated the Illinois Consumer Fraud and

   Deceptive Practices Act.

20. Further, Defendant RoundPoint has converted $3,954.49 that was, in November

   and December of 2014, being held in suspense in violation of Regulation X to

   RESPA, and then ­­ without explanation or redistribution ­­ removed from

   Plaintiff’s account in January of 2015.

21. In essence, RoundPoint made incorrect calculations and attempted to assess

   improper charges upon beginning to service the Plaintiff’s Loan and, as a result,

   has improperly and destructively treated the Plaintiff as chronically delinquent on

   her Loan obligations, all to Plaintiff’s great and continuing damage and

   prejudice, as well as her compromised mental and physical health.




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                                        FACTS

22. Plaintiff restates and incorporates all of her statements and allegations contained

   in the preceding paragraphs in their entirety, as if fully rewritten herein.

23. On or about June 25, 2009, Plaintiff Blanton borrowed $104,500 from

   Community Bank of Oak Park and River Forest. Said Loan is evidenced by a

   Note and was secured by a Mortgage on her personal residence located at 7727

   South Bennett, Chicago, IL 60649. (PLAINTIFF’S EXHIBITS 1 and 2,

   respectively).

24. From her first payment on the Loan to her original servicer, Franklin American

   Mortgage Company (hereinafter “Franklin”), until the servicing rights were

   transferred to Defendant RoundPoint, Plaintiff was never late or in arrears on her

   mortgage Loan.

25. On or about November 5, 2013, Defendant RoundPoint assumed the servicing of

   Plaintiff Blanton’s mortgage Loan from the Loan’s previous servicer, Franklin.

   Plaintiff received notice of the change from RoundPoint by a letter dated

   November 15, 2013 captioned, “NOTICE OF ASSIGNMENT, SALE OR

   TRANSFER OF SERVICING RIGHTS.” (PLAINTIFF’S EXHIBIT 3)

26. Prior to sending out the RoundPoint notice of transfer, RoundPoint sent its first

   mortgage statement, dated November 11, 2013, to Plaintiff indicating that she


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   was past due on her October 2013 mortgage payment. RoundPoint’s statement

   claimed that Plaintiff owed two payments on her Loan (for October and

   November of 2013). (PLAINTIFF’S EXHIBIT 4)

27. Defendant RoundPoint’s very first statement to Blanton was incorrect and false

   because, in fact, she made her October payment to Franklin American Mortgage

   Company back in early October of 2013, before receiving any notice from either

   servicer that the Loan’s servicing rights were being transferred. Proof of

   Plaintiff’s payment of the October payment to Franklin American is attached and

   marked as PLAINTIFF’S EXHIBIT 5.

28. Plaintiff timely made her November 2013 payment to RoundPoint for principal,

   interest, taxes and insurance (PITI) and her December invoice correctly reflected

   her payment for October’s invoice. However, in a RoundPoint notice dated

   November     25,   2013,   denominated     “ANNUAL ESCROW ACCOUNT

   DISCLOSURE STATEMENT” (PLAINTIFF’S EXHIBIT 6). RoundPoint

   informed the Plaintiff that due to RoundPoint’s projected 2014 escrow

   calculations, her total monthly payment would increase from $1,029.01 to

   $1,166.53, an increase of $137.52 per month despite the fact that there were no

   changes in Plaintiff’s real estate tax liability, private mortgage insurance (PMI)

   monthly premium, or insurance expense.


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29. Defendant’s calculations were, yet again, incorrect. A principal reason for the

   misstatement of the projected escrow was that RoundPoint inexplicably doubled

   Plaintiff’s $81.86 monthly PMI contribution which was a part of the Escrow. The

   PMI miscalculation alone would have cost Plaintiff an additional $982.32 per

   year. Further, in part because of the doubled PMI error, RoundPoint projected an

   escrow shortage for 2014 of $640.20. Therefore, the compounded error in

   RoundPoint’s projection would have improperly raised Plaintiff’s monthly

   payment by another $53.35 per month.

30. Just between the two errors in the doubled PMI ($163.72 instead of $81.86) and

   putative escrow shortage ($53.35), Plaintiff’s new monthly payment was set to

   increase by $135.21 per month. In total, RoundPoint was going to overcharge

   Plaintiff Blanton based upon faulty escrow calculations by approximately

   $137.52 per month, or $1,650.24 in 2014 alone.

31. Plaintiff, upon receiving the initial 2014 escrow projection in November,

   contacted RoundPoint by telephone on numerous occasions to point out

   RoundPoint’s mistakes and demand a correction to the 2014 escrow projection

   calculations.

32. RoundPoint’s staff never conceded the obvious mistakes in its monthly

   statements and escrow analysis. Plaintiff was repeatedly treated in a


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   condescending manner, and given incorrect or impossible explanations for the

   escrow mistakes from RoundPoint’s staff. Plaintiff was told that her “PMI had

   increased” (not true, or even possible) or that the increases were due to the “need

   for a cushion.” These statements were false, because the maximum cushion, by

   law, is ⅙ of the annual escrow, or two months of escrow payments. Blanton

   continued to communicate on a regular basis with RoundPoint staff by telephone

   until approximately March of 2014.

33. Plaintiff made her regular November and December 2013 payments of $1,029.01

   and continued to protest the incorrectly calculated, and substantially increased,

   monthly payment of $1,166.53 that was set to take effect beginning in January of

   2014. Plaintiff’s continuing phone calls to RoundPoint were becoming

   increasingly frustrating and beginning to affect her blood pressure and physical

   health.

34. It was clear to Plaintiff that RoundPoint was not going to correct its errors in

   re­calculating the payments on her Loan. When her January 2014 RoundPoint

   statement included the incorrect and higher monthly payment (PLAINTIFF’S

   EXHIBIT 7), Plaintiff decided to use a “self­help” approach to change the

   manner in which she paid her Loan. Because she had not been given any

   indication that RoundPoint would correct her total monthly payment, and the


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   error was in the escrow analysis, she started sending in two checks every month

   to RoundPoint so that it was clear exactly what she was paying.

35. The two checks paid the portion of the monthly payment that remained stable

   over the life of the loan: the combined principal and interest ($609.83) and the

   correct amount for PMI ($81.86). An example of Plaintiff’s bifurcated payments

   is attached hereto as PLAINTIFF’S EXHIBIT 8. Plaintiff intended to see if

   RoundPoint would change her incorrect monthly payment. Moreover, Plaintiff

   was prepared to monitor and directly pay her real estate taxes and hazard

   insurance if RoundPoint continued to incompetently service her Loan ­­ which it

   did.

36. Plaintiff timely paid RoundPoint her principal and interest and her proper

   monthly PMI premium­­ no more, no less ­­ by two checks for January, February,

   March April, May, June, July, August, September, October, November and

   December of 2014. Plaintiff continued to telephone RoundPoint about its faulty

   escrow calculations, but to no apparent effect.

37. In February of 2014, the first installment of the twice­yearly real estate tax

   collection for Cook County was about to come due. Knowing that the tax

   payments are usually sent to the County Treasurer by the servicer about a month

   in advance of their due date, in late January or early February of 2014 Plaintiff


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   contacted RoundPoint to inquire whether RoundPoint was going to pay the first

   installment of the taxes out of her (incorrect) escrow balance. She was informed

   by RoundPoint staff that the taxes had already been paid.

38. Plaintiff followed up with the Cook County Treasurer and was informed by a

   “Ms. Abdullah” that the taxes had not been paid.

39. Aware of Cook County’s draconian procedures for collecting delinquent taxes,

   Plaintiff decided to pay the now­due installment of $1,433.58 directly to the

   Cook County Treasurer in order to avoid late fees, penalties and a possible tax

   sale (PLAINTIFF’S EXHIBIT 9). Plaintiff paid the real estate taxes on February

   4, 2014.

40. RoundPoint sent an invoice dated February 4, 2014 for the March monthly

   payment, and as was true for January and February, the payment amount was

   inflated. Plaintiff sent in her two checks to RoundPoint for (1) principal and

   interest and (2) PMI.

41. Thereafter, RoundPoint sent a new “ANNUAL ESCROW ACCOUNT

   DISCLOSURE STATEMENT” dated February 19, 2014. The re­worked escrow

   analysis correctly calculated the PMI amount at $81.86. The new escrow charges

   seemed correct, but there was no information about reconciling Plaintiff’s

   account with the three prior months’ statements or withdrawing the late fees


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   wrongly assessed against her. While the disclosure statement indicated the new

   reduced monthly payment was effective March 1, 2014, the earlier March

   statement was for the incorrect amount. Further, by March of 2014, RoundPoint

   had assessed $60.98 in late fees that were not removed from her account,

   notwithstanding the problems were caused by RoundPoint’s own escrow analysis

   errors.

42. There were also monthly escrow balance changes reported on Blanton’s

   statements from RoundPoint that couldn’t be explained according to the

   Plaintiff’s own records. Telephone contacts with RoundPoint continued to no

   avail. In late March of 2014 RoundPoint sent Plaintiff a Notice of Default.

43. On or about April 12, 2014, Plaintiff sent a “Letter of Dispute” to RoundPoint

   pointing out that all the obligations under the loan had been met and (the

   obligation to timely pay taxes and secure insurance were being directly handled

   by the Plaintiff) and that she disputed having the late payment fees attached to

   her account. (PLAINTIFF’S EXHIBIT 11).

44. On or about May 7, 2014, RoundPoint responded as usual, by adamantly (albeit

   vaguely) stating that RoundPoint’s accounts were correct. (PLAINTIFF’S

   EXHIBIT 12) RoundPoint attached copies of the Franklin loan transaction

   history (which was never in dispute), as well as the RoundPoint transaction


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   history. Nowhere in the response did RoundPoint explain what particular

   transactions were causing a misunderstanding on Plaintiff’s part. Further, the

   May 2014 response from RoundPoint continued to fail to acknowledge the

   February tax payment Plaintiff made directly to the Treasurer that was not

   appearing as a credit on her monthly statements.

45. In May of 2014, Plaintiff comparison­shopped for hazard insurance for her home

   and discovered that Liberty Mutual would provide the same coverage as the

   servicer­selected insurer, Safeco, but the Liberty Mutual policy would cost

   approximately $300 less per year.

46. Plaintiff informed RoundPoint that she would be purchasing the Liberty Mutual

   policy and Plaintiff paid for Liberty Mutual’s policy to cover her home.

   (PLAINTIFF’S EXHIBIT 13).

47. On or about June 20, 2014 Plaintiff received a “NOTICE PURSUANT TO FAIR

   DEBT COLLECTION PRACTICES ACT” from Codilis and Associates, PC,

   asserting that she owed $99,913.01 on the now­accelerated Loan and threatening

   foreclosure if the balance was not paid in full. (PLAINTIFF’S EXHIBIT 14)

48. Despairing of any meaningful resolution with RoundPoint, Plaintiff decided to

   pursue a legal action against her servicer (and eventually Codilis) being known as

   Melcina Blanton vs. RoundPoint Mortgage Servicing Corporation, Case No.


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   2014­M1­136678 in Circuit Court of Cook County, First Municipal District.

   Plaintiff filed the action on July 7, 2014 and proceeded against RoundPoint pro

   se.

49. On or about June 10, 2014 Plaintiff received an unsolicited invitation to apply for

   a mortgage modification from RoundPoint. (PLAINTIFF’S EXHIBIT 15) The

   letter included a blank application for a loss mitigation assistance. Plaintiff did

   not need or want a loan modification, just for her account to be corrected. She

   did not fill out or return the enclosed forms to RoundPoint.

50. On or about July 10, 2014, Plaintiff received a follow­up and unsolicited offer

   from RoundPoint for her to begin paying on a Trial Period Plan that, if properly

   completed, would lead to a permanent loan modification. (PLAINTIFF’S

   EXHIBIT 16)       The letter falsely claimed that “Your mortgage is seriously

   delinquent” and invited Plaintiff to “Please Call _________at ____________if

   you have any questions about any of the above information.”

51. The tone of the “offering documents” was that the Trial Plan was a formality she

   needed to comply with in order to qualify for a permanent loan modification for

   an extended, 40­year term and a reduced interest rate. Plaintiff was surprised to

   receive the “loan modification” offer from RoundPoint because she did not apply

   for loss mitigation assistance and, in fact, did not need or want a loan


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   modification because she had no trouble affording her mortgage. Plaintiff did not

   respond to the loan modification offer (nor could she, as there was no specific

   person or number listed in the offer), thereby declining to accept it.

52. On July 31, 2014, 2014 RoundPoint, by and through its attorneys at that time,

   Codilis, filed a complaint in foreclosure against the Plaintiff, being know as:

   RoundPoint Mortgage Servicing Corporation vs. Melcina Blanton, et al., Case

   No. 14 CH 012508, Circuit Court of Cook County Illinois, County

   Department­Chancery Division. (First Foreclosure)

53. The Complaint filed in that action alleged that Plaintiff had “not paid the monthly

   installments of Principal, taxes, Interest and insurance for 02/01/2014 through to

   the present; the Principal balance due on the Note and Mortgage is $97,794.17,

   plus interest,” and, etc. This allegation of Plaintiff’s delinquency was patently

   untrue.

54. In fact, as was well known to RoundPoint and should have been well known to its

   attorneys, the Plaintiff had paid all the principal, taxes, interest, and insurance on

   her Loan when this foreclosure was filed. As will appear more fully when

   evidence is adduced through discovery and at trial, Plaintiff Blanton had actually

   overpaid on her mortgage obligation through the date the foreclosure action was

   filed and was not in arrears or default of her loan.


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55. By the time the First Foreclosure action was filed, Plaintiff had actually paid a

   total of $9,258.82 since January of 2014. If the Plaintiff had only made the

   “regular” (but still disputed) monthly payments over the same period of time that

   included the alleged amounts due for taxes and insurance (i.e. all of RoundPoint’s

   invoices through July), the sum of the seven invoices would have only totaled

   $8,815.34. By August of 2014, Plaintiff had overpaid more than $400 on her

   Loan by choosing the self­help process of direct paying the taxes and hazard

   insurance on her property.

56. On or about August 15, 2014, while the First Foreclosure was still pending

   against her, RoundPoint sent a NOTICE OF DEFAULT AND INTENT TO

   ACCELERATE (PLAINTIFF’S EXHIBIT 17), that contended, inter alia, that

   Plaintiff was not in arrears from February of 2014 (as alleged in the foreclosure

   filed against her just two weeks before) but only from May of 2014. This mid­suit

   RoundPoint notice contended that Plaintiff owed $4,440.22 in total, with her

   regular mortgage payments making up $4,252.60 of that alleged delinquency.

57. Defendant RoundPoint knew that these statements were patently false in

   mid­August of 2014 and could only be asserted against the Plaintiff by

   assiduously ignoring Plaintiff’s self­help approach of assuming direct payment of

   the Loan­related taxes and insurance. In fact, by the date of the notice, August 15,


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   2014, Plaintiff had advanced $3,725.30 to keep the taxes current and the

   insurance in place.

58. On or about August 27, 2014, Defendant RoundPoint by and through its

   attorneys, Codilis, filed a motion to dismiss the foreclosure suit against Plaintiff

   Blanton. (PLAINTIFF’S EXHIBIT 18) Plaintiff did not join in dismissal of the

   suit and was in fact surprised when she received notice of the dismissal.

59. Following dismissal of the First Foreclosure, Plaintiff and RoundPoint and

   RoundPoint’s new counsel, Defendant Locke Lord, exchanged correspondence

   with no resolution because Plaintiff was not interested in a loan modification. It

   soon became clear to the Plaintiff that, notwithstanding the RoundPoint dismissal

   and the understanding that her Loan was “brought current” as of the foreclosure

   dismissal date, RoundPoint and Locke Lord continued to treat the Loan as

   delinquent dating back from before August 27, 2014.

60. On or about October 20, 2014, Defendant Locke Lord, by attorney Courtney

   Nogar (“Nogar”) sent a letter (PLAINTIFF’S EXHIBIT 19) to Plaintiff

   responding to her letter of September 8, 2014. (PLAINTIFF’S EXHIBIT 20)

   The letter from Nogar falsely claimed that RoundPoint was “not legally required

   to respond” to Plaintiff’s notices of error or requests for information. The letter

   also claimed that Plaintiff could not directly contact RoundPoint for information


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   until the litigation is resolved. This claim was false because the Real Estate

   Settlement Procedures Act (RESPA) and Regulation X (12 CFR Section 1024.35

   and 1024.36) gives borrowers the right to notify servicers of errors or request

   information with regard to the loan or the servicing of the loan.

61. Locke   Lord,    via Nogar, also partially addressed the various prior

   misunderstandings and conflicts, including the series of events that led to

   Plaintiff paying her first half real estate taxes in February. Locke Lord also

   falsely claimed that RoundPoint paid the Cook County Treasurer the first half of

   the taxes related to Plaintiff’s home on February 11, 2014, and because Plaintiff

   had already paid the taxes on February 4, 2014, the Treasurer returned the

   RoundPoint payment on April 22, 2014.

62. However the “screenshots” Locke Lord provided to “prove” this sequence of

   events were not actually from the Treasurer’s office, as claimed by Locke Lord,

   but from CoreLogic, a vendor of RoundPoint’s that was presumably hired to

   process tax payments in bulk.

63. Plaintiff was so upset by the October 20, 2014 letter from Locke Lord that her

   blood pressure went sky­high. She called her doctor, who advised her to come in

   immediately.     In an effort to get her dangerously high blood pressure under

   control, Plaintiff’s doctor doubled Plaintiff’s normal dose of blood pressure


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   medication.

64. Thereafter, Plaintiff again checked with the Cook County Treasurer’s office and

   was again told by “Mrs. Abdullah” from the Treasurer’s office had never

   received a payment from RoundPoint for Plaintiff’s home in February, and

   therefore had never returned a payment to RoundPoint.

65. Plaintiff continued to make monthly principal interest and PMI payments to

   RoundPoint. However, RoundPoint stopped sending mortgage statements to

   Plaintiff for September and October of 2014. Plaintiff demanded that RoundPoint

   resume sending her statements by a letter dated October 31, 2014 (PLAINTIFF’S

   EXHIBIT 21) RoundPoint resumed sending monthly statements in November of

   2014.

66. RoundPoint and Locke Lord continued to try to convince, cajole, and finally

   threaten, the Plaintiff to accept the proffered, but unwanted, loan modification.

   On or about November 18, 2014, Defendant Locke Lord sent an offer to settle the

   still pending suit Plaintiff filed against RoundPoint and Codilis back in July

   (PLAINTIFF’S EXHIBIT 22): in exchange for dismissal of Plaintiff’s suit and

   the signing of various agreements and waivers, Plaintiff could secure the

   permanent phase of the trial loan modification offered back on July 10, 2014.

67. Because she was at all times able to pay her mortgage, Plaintiff had not applied


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   for a loan modification, had not accepted the trial modification, had not signed it,

   had not returned it to RoundPoint, and had not paid any of the three $772.12

   monthly payments required to be offered the permanent modification. However,

   Locke Lord’s cover letter to Plaintiff offering the permanent modification said in

   relevant part: “As you know, you remain in arrears on your loan but because of

   payments made on the trial modification offered by RoundPoint on July 10, 2014,

   RoundPoint dismissed the foreclosure case against you.” The letter continued,

   “Because of your timely payments on that trial modification, RoundPoint now

   offers you a permanent modification, enclosed for your review.”

68. These assertions by Defendant Locke Lord of the Plaintiff being in arrears were

   untrue. And, Locke Lord’s assertions that Plaintiff had made “timely payments”

   on a trial modification are also a complete falsehood. Moreover, the assertion that

   the dismissal of the First Foreclosure was in consideration for her acceptance and

   completion of the trial modification from RoundPoint is also completely false. As

   stated above, Plaintiff Blanton had nothing to do with the dismissal of the First

   Foreclosure. She was pleasantly surprised to learn of the dismissal on August 27,

   2014, and had not agreed to any settlement to secure the dismissal. Plaintiff had

   assumed that RoundPoint and their counsel saw that the suit was baseless,

   because she was current on her loan, RoundPoint’s repeated claims to the


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   contrary notwithstanding.

69. Plaintiff again declined the loan modification offer and did not respond or return

   the documents required to begin the modification.

70. Plaintiff continued to make her payments on the Loan’s principal and interest and

   the PMI. However, those payments were not being applied in any understandable

   manner to the principal and interest obligations on her Loan.

71. Beginning in January of 2015, RoundPoint started returning all of the Plaintiff’s

   checks unnegotiated (PLAINTIFF’S EXHIBIT 23), while Plaintiff’s payments in

   November and December were, by RoundPoint’s own admission, rejected

   (PLAINTIFF’S EXHIBIT 29) and disappeared. Each and every payment sent in

   2015 was returned with the exception of April 2015, which payments were

   accepted for reasons unknown to the Plaintiff. The net effect of this refusal to

   accept payments was to cause the “delinquency” on Plaintiff’s loan to skyrocket

   in 2015.

72. As of August of 2015, RoundPoint was reporting the Plaintiff as delinquent in the

   total amount of $22,587.52.

73. In addition to the proffered but returned principal, interest and PMI payments in

   2014 and throughout 2015 (excepting April) Plaintiff has directly paid the Cook

   County real estate taxes and renewed the Liberty Mutual hazard insurance for


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   subsequent years.

74. On or about March 30, 2015, Plaintiff, who was at this point frustrated beyond

   belief, wrote a letter to the President of RoundPoint, David Worrall. Her letter,

   entitled “Letter Disputing all Charges to present, Default and Acceleration,”

   explained that she has proof that she has made her payments. (PLAINTIFF’S

   EXHIBIT 24) RoundPoint later acknowledged that the letter was received on

   April 6, 2015.

75. Despite Plaintiff’s dispute, on or about April of 2015, RoundPoint retained

   Defendant Johnson, Blumberg & Associates, LLC in the continuing effort to

   “collect” on the Plaintiff’s Loan. On June 2, 2015, Johnson Blumberg responded

   to a telephone inquiry from the Plaintiff on May 8, 2015, asking Johnson

   Blumberg to validate the debt it was attempting to collect on behalf of

   RoundPoint. (PLAINTIFF’S EXHIBIT 25) To “validate” the debt, Johnson

   Blumberg included a copy of the Note, Mortgage and Loan History, but made no

   effort to explain the loan history documentation.

76. Of the 22 unnumbered pages comprising the enclosed RoundPoint “Loan

   History,” only six pages include a column of dates to reference numerous often

   cryptic transactions. The other pages are comprised of “free floating” columns of

   numbers without a guide or a key to understanding what they mean. In short,


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   these reports, which could and should have been formatted to fit onto 4 to 6

   pages, are rendered mostly useless for a concerned debtor to decipher the alleged

   basis for the alleged debt.

77. Meanwhile, Plaintiff continued to receive false and conflicting information from

   RoundPoint. For example, a statement from RoundPoint dated May 18, 2015

   claims that the “Amount Due” is $16,809.33 and “As of 5/18/2015, you are 351

   days delinquent on your mortgage loan.” (PLAINTIFF’S EXHIBIT 26)

78. Just four days later, Jeffrey P. Martin, an assistant vice president of RoundPoint,

   finally responded to Plaintiff’s March 30, 2015 letter to RoundPoint’s president,

   David Worrall. The May 22, 2015 letter stated that Plaintiff’s letter was received

   on April 6, 2015 and purported to respond to her Request for Information (RFI)

   and Notice of Error (NOE) under the Real Estate Settlement Procedures Act by

   answering “questions” that were never asked by Plaintiff. (PLAINTIFF’S

   EXHIBIT 27)

79. The May 22, 2015 letter states: “The net amount due to bring the account current

   is $11,245.36.” (PLAINTIFF’S EXHIBIT 27). The letter did not address any of

   Plaintiff’s concerns.

80. Extremely confused by the $5,000­plus difference between the May 18 statement

   and the May 22 letter, as well as myriad other charges and fees, Plaintiff sent


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   another NOE to RoundPoint on or about June 9, 2015. (PLAINTIFF’S EXHIBIT

   28)

81. The NOE, which was sent via certified mail to RoundPoint at P.O. Box 19789 in

   Charlotte, North Carolina, advised RoundPoint that, pursuant to 12 CFR 1024.35

   of Regulation X of the Mortgage Servicing Act under the Real Estate Settlement

   Procedures Act (RESPA), RoundPoint must acknowledge receipt of the Notice

   within five days of receipt, excluding legal public holidays, Saturdays and

   Sundays.

82. The NOE also advised RoundPoint that, under those same regulations,

   RoundPoint was required to respond to the Notice within 30 days of receipt,

   excluding legal public holidays, Saturdays and Sundays.

83. In her letter, Plaintiff requested, once again, that RoundPoint correct its numerous

   errors and misstatements regarding her account. Plaintiff noted that RoundPoint

   had not only failed to accept payments, but had failed to properly credit payments

   she had made.

84. The letter also stated that RoundPoint had imposed fees that it lacked a

   reasonable basis to impose and requested that RoundPoint remove all incorrect

   charges. Finally, the letter requested a complete, decipherable payment history.

85. Although U.S. Postal service records indicate that RoundPoint received the letter


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   on June 22, 2015, RoundPoint did not timely acknowledge receipt of the Notice,

   nor respond to the Notice of Error, within the time periods mandated by RESPA

   (June 29, 2015 to acknowledge receipt, and August 3, 2015 to respond).

86. RoundPoint did respond with a letter that was dated August 4, 2015

   (PLAINTIFF’S EXHIBIT 29) and postmarked August 10, which letter was

   received by Plaintiff on August 14, 2015.

87. RoundPoint’s letter failed to answer ­­ and in fact, utterly dismissed ­­ Plaintiff’s

   questions, stating that “there was no error by RoundPoint” in the servicing of the

   loan.   RoundPoint noted that Plaintiff’s “loan boarded with RoundPoint in

   November 2013” and falsely claimed that “[s]oon after boarding, your account

   fell behind, and on November 6, 2014, RoundPoint extended a loan modification

   offer. . . . Because you did not return the loan modification agreement,

   RoundPoint returned your payments made in November and December 2014, as

   your loan was in active foreclosure.”

88. RoundPoint’s statements were false. Public court records clearly reflect that the

   First Foreclosure was dismissed on August 27, 2014. Therefore, the payments

   made in November and December 2014 should have been applied to the loan.

89. Plaintiff followed up with yet another Notice of Error in August of 2015, which

   letter was sent via certified mail to RoundPoint in Charlotte, North Carolina and


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   was received by RoundPoint on August 28, 2015. (PLAINTIFF’S EXHIBIT 31)

90. The August 2015 NOE explained that RoundPoint (1) failed to acknowledge the

   NOE within the required time period; (2) failed to respond within the required

   time period; and (3) failed to respond to the inquiries in her June 9, 2015 letter. It

   requested responses to the June 9, 2015 NOE, and further asked several questions

   such as: why Plaintiff was sent a Notice of Default and Intent to Accelerate” after

   the First Foreclosure was filed and there was a pending motion to dismiss; why

   Plaintiff was assessed a foreclosure­related property inspection fee after the

   foreclosure was dismissed; why Plaintiff was charged “late” fees during the

   foreclosure; and why Plaintiff was assessed property inspection/attorney

   fees/foreclosure fees and costs at all, considering that the foreclosure suit was

   dismissed because her loan was deemed “current.”

91. RoundPoint failed to respond to, or even acknowledge, the August 2015 NOE.

92. Meanwhile, on or about July 7, 2015, Johnson Blumberg, counsel on behalf of

   RoundPoint,filed another foreclosure action against the Plaintiff being known as:

   RoundPoint Mortgage Servicing Corporation v. Melcina Blanton, et. al., 15 CH

   10526, Circuit Court of Cook County Illinois, County Department­Chancery

   Division. (Second Foreclosure) In the Complaint, Defendant RoundPoint alleged

   the same basic facts as alleged in the First Foreclosure, but did not plead the now


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   highly­elevated arrearage.

93. Plaintiff was forced to retain counsel to defend the Second Foreclosure in state

   court.

94. To date, RoundPoint continues to insist that there has been “no error by

   RoundPoint.” In its letter dated August 4, 2015, RoundPoint claimed that it had

   found “no evidence to support [Plaintiff’s] allegations.”        (PLAINTIFF’S

   EXHIBIT 29)

95. However, the enclosed documents tell a different story. For example, a document

   entitled “Blanton Escrow Disbursement Amounts” clearly demonstrates that

   Plaintiff was overcharged on her PMI. Another enclosure entitled “Blanton

   Corporate Advanced Amounts” shows a charge for a foreclosure­related property

   inspection on August 28, 2014 ­­ after the First Foreclosure was dismissed. The

   Document entitled “Payment History” (PLAINTIFF’S EXHIBIT 30) was sent to

   Plaintiff in response to the Notice of Error dated June 9, 2015 (PLAINTIFF’S

   EXHIBIT 28) and clearly contains the numerous errors detailed in this

   Complaint.

96. The Payment History reflects that as of January 19, 2015, Defendant RoundPoint

   was holding $3,954.49 in a suspense account, which simply disappeared from the

   Payment History on January 20, 2015, as part of a “Misapplication Reversal”


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   with no matching entry showing that these funds were ever applied to the Loan.

   (PLAINTIFF’S EXHIBIT 30).

97. Even assuming that Defendant RoundPoint was correct in stating that Plaintiff’s

   monthly payments were $1,166.53, that would mean that as on January 19, 2015,

   Defendant RoundPoint was holding more than three (3) full months’ payments of

   principal, interest, taxes, insurance, and PMI in a suspense account

   (PLAINTIFF’S EXHIBIT 30) in violation of Federal regulations.

98. Pursuant to 12 C.F.R. § 1026.36(c)(1), Defendant RoundPoint was required to

   promptly credit these three (3) full months’ payments of principal, interests,

   taxes, insurance, and PMI to Plaintiff’s Loan.

99. RoundPoint failed to act as such, and rather than properly crediting the three (3)

   full months’ payments of principal, interest, taxes, insurance, and PMI to

   Plaintiff’s loan, the $3,954.49 of funds being improperly held in the suspense

   account simply disappeared.

                                   COUNT ONE

          VIOLATIONS OF THE ILLINOIS CONSUMER FRAUD &
                   DECEPTIVE PRACTICES ACT

                               815 ILCS 505 et. seq.


100. Plaintiff incorporates by reference all preceding paragraphs as though fully set


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   forth herein.

101. The Defendants violated 815 ILCS 505/2 by engaging in unfair and deceptive

   acts or practices by using fraud, deception, and misrepresentation in their

   attempts to collect unauthorized fees and charges from Plaintiff and to foreclose

   on the Plaintiff’s home.

102. The Illinois Consumer Fraud and Deceptive Business Practices Act (ICFA)

   states:

             Unfair methods of competition and unfair or deceptive acts or practices,
             including but not limited to the use or employment of any deception,
             fraud, false pretense, false promise, misrepresentation or the
             concealment, suppression or omission of any material fact, with intent
             that others rely upon the concealment, suppression or omission of such
             material fact . . . in the conduct of any trade or commerce are hereby
             declared unlawful whether any person has in fact been misled, deceived
             or damaged thereby. 815 ILCS 505/2.

103. Defendants’ conduct occurred during the course of trade or commerce.

104. Defendants, by their conduct, intended, and do intend, that the Plaintiff and the

   Foreclosure Court rely on their misrepresentations as to the amounts due and

   owing.

105. Defendants’ conduct, as described above, constitutes unfair conduct under the

   ICFA.

106. Defendants’ unfair and deceptive conduct was immoral, unethical,



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   unscrupulous and oppressive, in that the Defendants are in a position of strength

   in relation to the Plaintiff.

107. ICFA further states:

              Any person who suffers actual damage as a result of a violation of this
              Act committed by any other person may bring an action against such
              person. The court, in its discretion, may award actual economic
              damages or any other relief which the court deems proper, 815 ILCS
              505/10a.

108. As pled in the above paragraphs, Plaintiff has been and continues to be harmed

   by Defendants’ unfair and deceptive practices in the form of fees, costs, and

   charges that were wrongfully assessed to her mortgage account. Plaintiff has also

   been forced to retain counsel to defend her foreclosure and to prosecute this

   action, and has suffered emotional distress and ill health as a result of

   Defendants’ unconscionable actions.

109. Therefore, Plaintiff is entitled to relief pursuant to 815 ILCS 505/10a.

                                       COUNT TWO

 FAIR DEBT COLLECTION PRACTICES ACT AGAINST LOCKE LORD:
  MISLEADING AND FALSE STATEMENTS AND COMMUNICATIONS
                   WITH THE PLAINTIFF

                                   15 U.S.C §1692 et. seq.

110. Plaintiff incorporates by reference paragraphs 1 through the preceding

   paragraph as though fully stated herein.


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111. Locke Lord’s       foregoing acts in attempting to collect this debt constitute

   violations of the Fair Debt Collection Practices Act, including but not limited to

   the following sections:

    a.)         §1692d­ any conduct the natural consequence of which is to harass,
          oppress, or abuse any person; A concocted misrepresentation of actions and
          consent by the Plaintiff as presented in Locke Lord’s, letter to The Plaintiff
          dated November 18, 2014. (PLAINTIFF’S EXHIBIT 22)
    b.) §1692e­any false, deceptive, or misleading representation or means in
        connection with the debt collection; contending that Plaintiff agreed to a
        settlement in a foreclosure action is a false, deceptive and misleading
        representation about the Plaintiff to further advance RoundPoint’s attempt to
        collect the debt for the alleged delinquency on the note,
    c.)        §1692e(2)­ misrepresented the character, amount, or legal status of the
          alleged debt;by fabricating a course of events that made Plaintiff appear to
          breach a settlement agreement.
    d.) §1692f­ any unfair or unconscionable means to collect or attempt to collect
        the alleged debt; in that attempting to collect a debt not owned to the
        Plaintiff is clearly unfair and unconscionable.
112. Defendant Locke Lord made numerous assertions in its letter to Plaintiff on

   behalf of RoundPoint dated November 18, 2014. (PLAINTIFF’S EXHIBIT 22).

   Specifically Locke Lord characterized the Plaintiff as:

      a.    Being in arrears on her loan
      b.    Having accepted and causing payments to be “made on the trial
modification”
      c.    Having participated in, or been a party to an agreement with RoundPoint
concerning
            the First Foreclosure that induced RoundPoint to “dismiss[ed] the
      foreclosure case
             against you.”


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    None of these assertions is true and for Locke Lord to assert such a false and

    misleading course of events allegedly involving the Plaintiff violates 15 U.S.C.

    §1692e(2)(A).

113. The Plaintiff was harmed when Defendant Locke Lord made false, deceptive

   or misleading representations in an attempt to collect a debt with false

   documentation.

114. The Plaintiff was harmed by these violations and actions of Defendant Locke

   Lord.    Plaintiff is entitled to statutory damages, actual damages including

   damages for emotional distress, and attorneys’ fees and costs pursuant 15 U.S.C.

   §1692k(a).



                                  COUNT THREE
   REAL ESTATE SETTLEMENT PROCEDURES ACT VIOLATION BY
     ROUNDPOINT: MISLEADING AND FALSE STATEMENTS AND
    COMMUNICATIONS WITH THE PLAINTIFF AND IMPOSITION OF
        FEES AND CHARGES THAT ROUNDPOINT LACKED A
                 REASONABLE BASIS TO IMPOSE

                              12 C.F.R. §1024.35(b)(5)

115. Plaintiff restates and incorporates all of her statements and allegations

   contained in the preceding paragraphs in their entirety, as if fully rewritten herein.

116. On or about April 12, 2014, Plaintiff sent a certified mail letter to


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   RoundPoint’s general correspondence post office box, which fairly served to put

   RoundPoint on notice that Plaintiff denied being in default and that there were

   continuing errors on how her Loan was being handled and accounted for.

   (PLAINTIFF’S EXHIBIT 11) Plaintiff’s letter served as a Notice of Error as that

   term is defined in 12 C.F.R. 1024.35.

117. Plaintiff’s NOE stated in relevant part “I . . dispute RoundPoint “Notice of

   Default and Payment Due and Late Charges for Cause. . . . All Payment(s)

   Obligations due to date under the above referenced account . . . are fully paid to

   date, on time. . . (PLAINTIFF’S EXHIBIT 11)

118. RoundPoint responded to Plaintiff’s NOE by letter dated May 7, 2014 and

   denied the errors pointed out by Plaintiff’s April 12, 2014 dispute letter, and

   summarily pronounced that their “records indicate the account is due for the

   February payment . . “. Further on, RoundPoint references payment histories that

   “contain the information supporting our determination that there has been no

   error on the account.”

119. However, nowhere in the RoundPoint Response letter is there a reference to

   what part of the records supported RoundPoint’s position that Plaintiff was in

   default. Nor does the Response even acknowledge that the Plaintiff had already

   direct­paid the first installment of real her estate taxes.


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120. Defendant RoundPoint made a material error in calculating Plaintiff’s escrow

   effective January 2014, and conceded as much when they recalculated Plaintiff's

   escrow in February of 2014, effective March of 2014. However, RoundPoint was

   content to leave the Plaintiff’s account otherwise unadjusted and kept the late

   fees intact it began charging Plaintiff for January and February. These fees were

   unreasonable and charged against Plaintiff prior to fixing their own escrow

   mistake, even though it was RoundPoint’s escrow mistake that caused the

   spiraling problems.

121. All of these unreasonable and baseless late fees are reflected in RoundPoint’s

   monthly statements from January 2014 onward.

122. In fact, Defendant RoundPoint has committed serious and material errors on

   their monthly statements for every month in 2014, except for September and

   October, or for ten monthly statements in 2014. Further, RoundPoint has

   produced monthly statements with the continuing unreasonable late fees for every

   month including and between January and August of 2015, for a total of eight

   monthly statements.

123. Plaintiff strenuously objected to RoundPoint’s errors via her correspondence to

   RoundPoint dated September 8, 2014 (PLAINTIFF’S EXHIBIT 20),in which she

   disputed the dollar amounts in the mortgage statements and demanded that


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   RoundPoint correct its “fraudulent billings.”

124. RoundPoint did not respond, or correct its errors.

125. Plaintiff notified RoundPoint of its errors again in October of 2014, sending a

   letter in which she requested information as to why RoundPoint did not send her

   a mortgage statement for October, and notifying RoundPoint that it had made an

   error in not applying her last payment, made timely in the month of September, in

   a timely fashion, thereby causing the Plaintiff to incur late charges.

   (PLAINTIFF’S EXHIBIT 21)

126. Again, RoundPoint did not respond or correct its errors.

127. Plaintiff believes that RoundPoint’s misconduct in this matter is evidence of a

   pattern and practice and notes that RoundPoint has over 315 consumer

   complaints on file with the CFPB and that 170 of those complaints concern

   “Loan servicing, payments, escrow account” matters. The full CFPB database

   reflecting   said   complaints    is    available      at   the   following   URL:

   https://data.consumerfinance.gov/dataset/Consumer­Complaints/s6ew­h6mp?

128. Plaintiff has been harmed by RoundPoint’s misconduct, and is entitled to her

   actual damages, statutory damages and her attorneys’ fees and costs.




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                                   COUNT FOUR
      CONVERSION CLAIM AGAINST DEFENDANT ROUNDPOINT

129. Plaintiff restates and incorporates all of her statements and allegations

   contained in the preceding paragraphs in their entirety, as if fully rewritten herein.

130. To prove conversion, a plaintiff must establish (1) that he or she has a right to

   the property; (2) that he or she has an absolute and unconditional right to the

   immediate possession of the property; (3) that he or she made a demand for

   possession; and (4) that the defendant wrongfully and without authorization

   assumed control, dominion, or ownership over the property. Cirrincione v.

   Johnson, 184 Ill.2d 109, 114 (1998).



131. The subject of conversion is required to be an identifiable object of property of

   which the plaintiff was wrongfully deprived. Money may be the subject of

   conversion, but it must be capable of being described as a specific chattel,

   although it need not be specifically earmarked. It must be shown that the money

   “at all times belonged to the plaintiff and that the defendant converted it to his

   own use.” In re Thebus, 108 Ill.2d 255, 260–61 (1985).

132. As of January 19, 2015 Defendant RoundPoint was holding $3,954.49 of

   Plaintiff’s payments in a suspense account.


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133. This $3,954.49 simply disappeared from the Payment History on January 20,

   2015, as part of a “Misapplication Reversal” with no matching entry showing that

   these funds were ever applied to the Loan. (PLAINTIFF’S EXHIBIT 30)

134. Plaintiff had the absolute right to this $3,954.49 and to have this amount

   applied to her Loan.

135. Plaintiff has the absolute and unconditional right to the immediate possession

   of the property or to have this amount properly applied to her Loan.

136. As referenced above, Plaintiff sent a Notice of Error to RoundPoint on or

   about June 9, 2015, demanding that her payments be properly accepted and

   applied to her Loan.

137. Defendant RoundPoint wrongfully and without authorization assumed control,

   dominion, or ownership over the missing $3,954.49.

138. At all times, the $3,954.49 belonged to Plaintiff and Defendant RoundPoint

   converted this money to its own use.



                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, Melcina Blanton, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

      A.    declaring that the practices complained of herein are unlawful and


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      violate the aforementioned statutes and regulations;

      B.    finding that Defendant RoundPoint is liable for conversion;

      C.    awarding Plaintiff actual and punitive damages, in an amount to be

      determined at trial, for the underlying violations;

      D.    awarding the Plaintiff costs and reasonable attorney fees; and

      E.    awarding any other relief as this Honorable Court deems just and

      appropriate.

                                  JURY DEMAND

      Plaintiff demands trial by jury as to all claims in this action.

Dated: July 27, 2016                                  Respectfully submitted,

                                                      MELCINA BLANTON

                                                      By:    /s/ Rusty A. Payton
                                                             One of her attorneys
Sandra M. Emerson 6244475
Matthew C Swenson 6304113
Richard F. Kohn 1500953
Emerson Law Firm, LLC
715 Lake Street, Suite 420
Oak Park, IL 60301
(708) 660­9190

Rusty Payton 06201771
Payton Dann
115 South LaSalle Street #2600
Chicago IL 60603
(312) 702­1000 Ph. and Fax
payton@paytondann.com

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                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and correct copy of the foregoing

document was served via the court’s electronic filing system, this 27th day of July,

2016, to:

Simon Fleischmann
David F. Standa
Irina Dashevsky
Locke Lord LLP
111 S. Wacker Drive
Chicago, IL 60606
Attorneys for RoundPoint Mortgage Servicing Corp. and
Locke Lord LLP


                                                  /s/ Rusty A. Payton




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""'Jt1NE        25TH,
                (Datc)
                         2009                                   CHICAGO
                                                                  (City)
                                                                                                               IL
                                                                                                            (Slate)



                                    '     7727 S. BENNETT, CHICAGO, IL                60649
                                                              [J'rop«ty Addms)

1. BORROWER'S PROMISE TO PAY
     ill retwn for a loan that I have received, I promise to pay U.S. s\1 104,500.00 (this amount is called "Principal"),
plus interes~ to the order of the Lender. The Lender is COMMUNITY BANK OF OAK PARK RIVER FOREST


I will make all payments under this Note in the fonn of cash, check or D10il"Y order.
      I understsnd that the Lender may mmsfer this Note. The Lender or anyone who takes this Note by mmsfer and who is
entitled to receive payments under this Note is oalled the "Note Holder."

2. INTEREST
     Interest will be charged oo unpaid principal until the full amount of Principal bas been paid. I will pay interest at a yearly
rateof        5.750           %.
    The intereot rate required by this Section 2 is the rate 1 will pay both before and after any default described in Section 6(B)
of this Note.

3. PAYMENTS
      (A)TbneandPlaeeofPayments
      I wm pay prineipaland interest by makiDg a payment every month.
     I will make my montblypayment on the 1ST          dayofeachmooth beginning on \AUGUST lST, 2009 - . I will
make these payments every month until[ have paid all of the principal and interest and any other cbaiges described below that I
may owe under this Nyte. Each mootbly payment will be applied as of its scheduled due date and will be applied to interest
before Principal. If, on JULY 1ST, 2039-·            ,I still OWl: amounts under this Note, I will pay those amounts in full on
that date, wbich is called the "Maturi~te."
      I will make my montbly payments at 1001 LAKE STREET, OAK PARK,                  IL 60301
                                                                         or at a different place if required by the Note Holder.

     (B) Amount or Moll!hly Payments
     My monthly payment will be in the amount of U.S.$                \      609.84

4. BORROWER'S RIGHT TO PREPAY
     I have the right to make payments of Principal at any time before they are due. A payment of Principal only is known as a
"Prepayment." When I make a Prepayment, I will tell the Note Holder in writing that I am doing so. I may not designate a
payment as a Prepayment if I have not made all the mootbly payments due under the Note.
     I may make a full Prepaymeot or partial Prepayments without paying a Prepayment charge. The Note Holder will use my
Prepayments to reduce the amount of Principal that I owe under this Note. However, the Note Holder may apply my
Prepayment to the acaued and unpaid intereot on the Prepayment amoiDlt, before applying my Prepayment to reduoe the
Principal amount of the Note. If I mske a partial Prepayment, there will be no changes in the duo date or in the amount of my
monthly payment unless tho Note Holder agrees in writing to those changes.

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5. LOAN CHARGES
                                           •                                              •
      !fa law, which applies to this loan and which sets maximum loan charges, is linally interpreted so that the interest or other
loan charges collected or to be collected in connection with this loan exceed the permitted limits. then: (a) any such loan charge
shall be reduced by the amount necessaty to reduce the charge to the permitted limit; and ,(b) any sums alrosdy collected from
me which exceeded permitted limits will be refunded to me. The Note Holder may choose to make this refund by reducing the
Principal! owe under this Note or by making a direct payment to me. If a refund reduces Principal. the reduction will be treated
aa a partial Prepayment

6. BORROWER'S FAILURE TO PAY AS REQUIRED
      (A) Late Charge for Overdue Payments
      If the Note Holder baa not received the full amount of any monthly payment by the eod of. FI F'l'EEN calendar days
after the date it is due, I will pay alate charge to the Note Holder. The amount of the charge will be\     5. 000  %of
my overdue payment of principal and interest! will pay this late charge promptly but only ooce on each late payment

       (B) Defallit
       If I de not pay the full amount of each monthly payment on the date it is due, I will be in defuult.

     (C) Notiee ofDefault
     If I am in defiwlt, the Note Holder may send me a wriuen notice telling me that if I de not pay the ovcnlue amount by a
oertain date, the Note Holder may requite me to pay immediately the full amount of Principal which baa not been paid and all
the inteRs! that I owe on that amount That date must be at least 30 days atbor the date on wbich the notice is mailed to me or
delivered by other means.

       (D) No Waiver By Note Holder
    Even if, at a time when I mn in default, the Note Holder does not requite me to pay immediately in full aa descn'bed
above, the Note Holder will still have the right to do so if I am in delimit at a later time.

     (E) Payment of Note Holder'• Costs and Expenses
     If the Note Holder baa required me to pay immediately in full aa deactibed above, the Note Holder will have the right to
be paid back by me for all of its eosts and expenses in enforcing this Note to the extent not prohibited by applicable law. Those
oxpeoses include, for example, reasonable attemeys' fees.
7. GIVING OF NOTICES
     Unless applicable law requitea a different method, any aotice that must be given to me under this Note will be given by
delivering it or by mailing it by first class mail to me at the Property Address above or at a different address if I give the Note
Holder a notice of my different address.
     Any notice that must be given to the Note Holder under this Note will be given by delivering it or by mailing it by tinlt
class mall to the Note Holder at the address slated in Section 3(A) above or at a different addroaa if lmn given a notice of that
different address.

8. OBUGATIONS OF PERSONS UNDER THIS NOTE
     If more than one person signs this Note, each person is fully and personally obligated to keep all of the premises made in
this Note, including the promise to pay the full amount owed. Any person who is a guanmtor, surety or endorser of this Note is
also obligated to de these things. Any person who takes over these obligations, including the obligations of a guarantor, surety
or endcraer of this Note, is also obligated to keep all of the promises made in this Note. The Note Holder may enforce its rights
under this Note against each person individnally or against all of us together. This means that any one of us may be required to
pay all of the amounts owed under this Note.

9. WAIVERS
      I and any other person who baa obligati0111 under this Note waive the rights of Presen1ment and Notice of Dishonor.
''Presentment" means the right to require the Note Holder to demand payment of amounts due. ''Notice of Dishonor" means the
right to require the Note Holder to give notice to other persous that amounts due have not been paid.

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10. UNIFORM SECURED NOTE
                                         •                     •
                                                                                          •
      This Note is a uniform instrument with limited variations in some jurisdictions. In addition to the protections given to the
Note Holder under this Note, a Mortgage, Deed of Trust, or Security Deed (the "Security Instrument"). dated the same date as
this Note, protects the Note Holder ftom possible losses which might result if 1 do not keep the promises which 1 make in this
Note. That Security Instrument describes how and under what conditions 1 may be required to make immediate payment in full
of all amounts 1owe onder this Note. Some of those conditions are described as follows:
               If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is
         not a natural person and a beneficial inlerest in Borrower is sold or transfened} without Lender's prior written
         consent, Lender may require immediate payment in full of all sums secured by this Security Instrument.
         However, this option shall not be exercised by Lender if such exercise is prohibited by Applicable Law.
               If Lender exercises this option, Lender shall give Borrower notice of aoceleration. The notice shall
         provide a perind of not less than 30 days ftom the date the notice is given in accordance with Section 15
         within which Borrower must pay all sums secured by this Security Instrument If Borrower fails to pay these
         sums prior to the expiration of this period, Lender may invoke any remedies permitted by this Security
         Instrument withcut further notice or demand on Borrower.




_ _ _ _ _ _ _ _ _ _ _ _ _ (Sesl)                                                  _ _ _ _ _ _ _ _ _ _ _ _ (Seal)
                                                                   ·Bonowct                                              ~Borrower




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                                                                                                        -Borrowcr




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                                                                                                            FF
                                        ALLONGE TO PROMISSORY NOTE

                For purposes of further endorsement of the following described note, this allonge is affixed
                and becomes a permanent part of said note.


                    Loan Nwnber:                                     975

                    Note Date:                         JUNE 25, 2009

                    Loan Amount:                       $    104,500.00




                    Property Achkeas:         7727 S. BENNETT

                                              CHICAGO, IL    60649



                                                PAY TO THE ORDER OF

                                        FRANKLIN AMERICAN MORTGAGE COMPANYPayiO ... Oftllrol




                                                  1001 LAIIl! STREET

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                                                       CLAUDE L'HEUREUX
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  Illinois Anti-Predatory
  Lending Database
  Program
  Certificate of Exemption                                              Doell: 0918949055 Fee: $68.00
                                                                        Eugene •Qene• Moore AHSFI Fee:S10.00
                                                                        Oook County Recorder ol Deedo
                                                                        Dote: 07/0812009 11 :48 AM Pg: I of I 7




     Report Mortgage Fraud
         800·532-8785

  The property identified as:            PIN: 20-25-322·008-0000

  Address:
  Street:          7727 S. Bennett Avenue
  Street line 2:
  City: Chicago                          State: IL                         ZIP Code: 60649

  Lender:      Community Bank of Oak Park River Forest

  Borrower: MELCINA BLANTON




  Loan I Mortgage Amount: $104,500.00

   This property Is located within Cook County and the transaction is exempt from the requirements of 765tLCS 77/70 et
   seq. because the application was taken by an exempt enUty.




  Certificate number: 1F0474B4-4B17-41AE-958F-55BDB69F4096                            Execution date: 06/2512009


                                                  PLAINTIFF'S
                                                    EXHIBIT
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          Rerum To:
           COMMON ITY BANK OF OAK PARK RIVER FOREST

           1001 LAKE STREET
           OAK PARK, IL 60301



          Prepanod By:
          COMMUNITY BANK OF OAK PARK RIVER FOREST
          1001 LAKE STR6ET
          OAK PARK, IL 60301




          ---------ts.... MORTGAGEmcD••·•-----iiiiiiloo9-97iSs
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          DEFINITIONS

          Words used in multiple sections of this document are do6ned below and other words are dofined in
          Sections 3, II, 13, 18, 20 and 21. Certain rules regarding the usage of words used in this documeot are
          also provided in Sectioo 16.

          (A) "Security lnslmmeut'~ means this doc:wneot, whieh is datod     Jt!NE 25TH, 2009
          together with all Riden to this documeot.
          (B) "llarrower" is MELCINA~~IED




          Borrower is the mottgagor under this Security lnstrumeol
          (C) "MERS" is ~ortgage Eleotronio Registration Systems, Inc. ~S is a separate corpomlion that is
          aeting solely as o nominee for Lender and Leude~s successors and 118Signs. MERS Is tbe mortgagee
          under lllis Security InstrllDient. MERS is organiZAld and exisliog under the laws of Delaware, end has on
          address and telephone number of P.O. Box 2026, Flint,~ 48501·2026, tel. (888) 679-MERS.



          Cit, oflltiL) (0110)
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          tlUNDIS ·Single Fomlly. Fannltllot/l'reddle Mao UNIFORM INSTRUMENT WITH MERS

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           (D) "Leader" is COMMUNITY !lANK Of Ol\K PARK RIVER fOREST

           Lender is a CORPORATION
           organized and existing under the laws of ILLINOIS
           Lender's address is 1001 LAKE STREET, OAK PARK,                  IL 60301

           (E)"Note" means the promissory note signed by Bonuwer and dated JUNE 25TH, 2009
           The Note Sillies that Borrower owes Lender ONE HUNDRED FOUR THOUSAND FIVE HUNDRED
           AND N0/100,                                                                                          DolliU's
           (U.S.$ 104,500.00                ) plus interest. Borrower has promised to pay this debt in regular Periodic
           Payments and to pay the debt in full not later than JULY 1ST, 2039                      .
           (F) "Properl)'" means the property that is described below under the heeding "TIBI!Ilfer of Rights in the
           Property.'
           (G) "Loan" means tlte debt evidenced by the Note, piWl interes~ MY prepayment charges and late cbllt'Ses
           due under the Note, and all sums due under this Security hlStrumen~ plus intcresl
           (11) "Riders'' means aU Riders to this Se4urity Instrumect that aze executed by Borrower. The following

                AdjUSillble Rate Rider
                Balloon Rider
                                         §
           Riders ore to be ~ecuted by Borrower [check box as applicable):

            §                                Condominium Rider
                                             Planned Unit Development Rider
                                                                               §    Second Home Rider
                                                                                    1-4 family Rider
                VA Rider                     Biweel:ly Payment Rider                Other(s)[specify]


           (I) "AppUc:ahlo Law" means all conltolling applicable federal, state Wld local staurtes, regulations,
           ordinances lind odministralive rules and orders (that have the effect or Jaw) as well as all applicable final,
           non-appealable judicial opinions.
           (J) "Communlly Asaoclation Dues, Fees, aod Assessments" means all dues, fees, assessments and other
           charges that arc imposed on Borrower or the Property by a condominium association, homeowners
           association or similur orpnizatioa.
           (K) "Eiectroalo Funds Transfer'' means any uansfer of funds, other dl8n a transaction originated by
           check, draft, or sinillar paper inslnlmeut, which is initiated through an electronic terminal, telephonic
           instrument, computer, or magnetic tape so as to order, instru~ or authorize a financial institution to debit
           or credit an ac:counL Suoh tenn includes, but is not limited to, point-of•sale lransfen~, automated teller
           machine tmnsactions, trwfers initiated by telephone, wire transfers, and automated clearingboWle
           tramfcrs.
           (L) ''Escrow ltunu" moans those it•ma that are described in Section 3.
           (M) "Mls..U.neous Proceeds" means My compenoation, settlement, awllt'd of damages, or proceeds paid
           by 011y third patty (other than inliUIOllce proceeds paid under the eovcmges described in Section S) for: (i)
           damage to, or destruCtion of, the Property; (ii) condemnation or other takiog of aU or any part of the
           Property; (iii) conveyanee in lieu of canderm!Stion; or (iv) nlisreprcscrttations of. or omissions as to, die
           value and/or condition of the Property.
           (N) "Mortgage lnsuraaee" means insunmce proteoting Lender against the nonpayment of, or default on,
           the loan.
           (0) "Periodic Payment" .,.,.,. the regularly schednled amcwtl due for (i) principal and interest under the
           Note, plus (ii) any aznounts under Section 3 of tlus Security h!Strumeot.
           (P) "RESPA" means the Real Estate Settlement Procedlll'l:S Act (12 U.S.C. Sectioo 2601 et seq.) and ils
           implementing r~lation, Regulation X (24 C.F.R. Part 3500), as they might be amended from time to
           lime, or any additional or succesacr legislation or regulation that governs the same subject matter. As used
           in this SecUrity Instrument, "RESPA" refers to all requirements and restrictions that are imposed in regard
           to a 'federelly related mortgage loan" even if the Loan does not qualify a.• o 'federally related n10rtgagc
           Joan" under RESPA.

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                 (Q) "Suc<eliSor In Interest of Borrower" meons ony pany !hal bas taken title to the Propeny, whether or
                 not that pany bas assunted Borrowe~s obligations under the: Note and/or this Security Instrument.
                 TRANSFER OF RIGHTS IN THE PROPERTY
                 This Security Instrument ""'"""' to Lender: (i} the re(Uiyment of lhe Loan, and all renowals, extensions and
                 ntodilications of the Note; and (ii) the perfllCmance of Borrcwer's covenants and agmmenta under
                 this Security lnstnunent and lhe Note. For this purpose, Borrower dnos hereby mortgage, grnnt and
                 convey to MERS (solely as nominee for Lender aod Lender's Sllccessors und assigns) and
                 to lhc successors and nssigus of MERS, the following described property located in lhe
                                                     COUNTY                                         (Typo of Rc<:onliog lwhdi.UOOJ
                of                                     COOK                                       (Nam~: of RccordiPB .JurisdictioD):




                Parcel!D Number: 20 25 322 008 0000                                          which currently hss the address of
                                                        7727 S. BENNETT                                                   ,.....1
                                             CHICAGO                                 (City(, Illinois   60 64 9       (Zip Co4c(
                ("Property Address"):
                      TOGE'IliER WITH all the improvements now or hereafter erected on the property, ond all
                ...emcolS, appurtenan<:es, and fixture$ now or hereafter a port of tho property. All replacements and
                additions shall also be covered by this Security IDslrumcnt. All of the forOgoins is reterrcd to in this
                Security Instrument as the "Property.• Borrower understands and agrees lhat MERS holds only legal title
                to the interests gTIIJIIed by Borrower in this Seonrity lnstrumen~ bu~ if nee~ to comply with law or
                custom, MERS (as nominee for Lender und Lender's succ.....,rs and assigns) hns the right: to exercise any
                or all of those intCRlsts, including. but 1101 limited to, the right to foreclose and sell the Property; and to
                take any action required of Lender including. but not limited to, releasing and canceling ibis Secnrity
                Jastnrment.
                      BORROWER COVENANTS that Borrower is lawlillly seised of the estate boreby conveyed and has
                the right to mortgage, grant and convey the Property and that thei'roperty is unencumbered, except for
                encumbrances of record. Borrower warrants and i.vilf defend l!"nemlly ilte title to the Property against all
                claims and demands, subject to ony encumbranoes of reconl.
                      THIS SI!CURMY INSTRUMENT cornbinell unifonn covenants for national use and non-uniform
                covenants with limited variations by jurisdiction to constitute a unifoxm security instrument covering n:al
                ~!FORM COVENANts. lloJTower and Lender cOVCilllllt and agree as lbllows:
                      I. Poymeat of Principal, IDtcrctt, Escrow Items, PrepO)'IIlent Charges, and Late Charges.
                lloJTowcr shall pay when due the prin:ipal of, and interest on. the debt evidenCed by lhe Note and any
                prepayment chaigos and late charges we under the Note. Borrower sboll also f"IY 1\mds t"or Escrow Items

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            pursuant to Section 3. Pa)llllents due under the Note and this Security lnslnllllent shall be mado in U.S.
            currency. llowevc:r, if ony check or other inslnllllent received by Lender as pa)llllent under the Note or this
            Se•'llrity Instrument is returued to Lender 1111paid, Lender may require that any or all subsequent poyments
            due 1111dor the Note and this Scewity lostruntcnt bc made in one or more of the following forms, ""
            selected by Lender: (a) oaslt; (b) money order; (c) cerlilied check, bank check, tteasum's check or
            cushier's cbeclc. provided any such check is drawn upo11 an institution whose deposits ore insured by •
            fcdcrulagency, instrumentality, or entity; or (d) Electronic Funds Transfer.
                  Pa)llllents ore deented m"Cived by Lender when received at the location designated in the Note or at
            such other loattion as may be designated by Lender in accordance with the notice provisions in Section 15.
            Lender may return any pa)llllenl or partial pa)llllent if the pa)llllcnt or partial payments are iasufficicnt to
            bring the Loan current. Lender may accept any pa)llllent or partial payment insufficient to bring the Loan
            current, without waiver of any rights hereunder or prejudice to its rights to refuse such payntent or partial
            payments in the 1\tture, but Lender is not obligated to apply such payments at the rime such pa)llllents are
            accepted. If each Periodic Payment is applied as of its scheduled duo date, then Lender need not pay
            inten:sl on unapplied funds. Lender may hold such unoppliod limds until Borrower makes pa)llllent tu bring
            the Loan current. If Borrower docs nol do so within a reasonable period of tilne, Lender shall either apply
            such mods or return them 1o Borrower. If not applied earlier, such funds will be applied to the ouiSWtding
            principal balanc:e under the Note immediately prior to foreclooure. No offset or claim which Borrower
            might have now or in the future against Lender shall relieve Borrower from making pa)llllents due under
            tho Note nod this Security Instrument or performing the covenants and agreements secured by this Security
            lnsuwnenL
                  2. AppUca11oa of Pa)'Dienls or Proeeeds. Except as otherwise dcscnbed in this Section 2, all
            payments accepted and applied by Lender sball be applied in the followins order of priority: (n) int.,..t
            due under the Note; (b) principal due under the Note; (c) ll111011nts due under Section 3. Socb payments
           shall be applied to each Periodic Poymont in the order in which it bccame due. Any remaining amouots
            shall bc applied first to late cbarscs. secood 1o ony other amounts due under this Security Insnumen~ and
            then to noduce the principal bslanc:e of the Note.
                  If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a
           ...tlicient amount to pay any late charge due, the payment may bc applied to the delinquent pn)llllent and
            the late charge. If more than one Periodic Pa)llllent is outstsnding. Lender may apply any pn)llllent received
           from BorroWer to the repayment of the Periodic Payments i~ and to the extent that, each payment can be
           paid in ML To the OJ<tent that any •=ss exists after dte pnyment is applied to the lUll pa)llllent of one or
           more Periodic Payments, sucb cxoess may bc applied to any late charges due. Volunlaly prepayments shall
           be applied first to any prepnymeDl cbarges and then as described in the Note.
                  Any application of pa)llllents, insurance proceeds, or Miscellaneous Proceeds to principal due under
           the Note shall not extend or postpone the due dato, or cbange the amount, of the Periodio Payments.
                  3. Fuds lor Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due
           under the Note, until the Note is paid in fuU, a sum (the "Funds") to provide for pa)llllent of amounts due
           for. (a) taxes and assessments and other items wbfch coli attaia priority over this Security lnstnlnteot as a
           lien or ertcwnbrance on tho Property; (b) Jeasebold pa)llllents or ground rents on the Property, if any; (c)
           premiums for any and all insurance required by Lender under Section S; and (d) Mortgogo Insurance
           premiums, if any, or any sums pnyablc by Boaower to Lender in lieu of tbe payment of Morlgoge
           Insurance premiums in accordsnce with the provisions of Section l 0. These items are called "Escrow
           Items." At origination or at any time duriog the term or the Loan, Lender may require that Cooununity
           Association Dues, Fees, and Assessments, if any, bc escrowed by Borrower, aud ouch dues, fees and
           assessments shall be an Escrow Item. Borrower sball promptly famish to Lender all uotices or amounts to
           be paid under this Section. Borrower shall pay Lender the Fl!llds for Escrow Items unless Lender waives
           BDITowa's obligation to pay the Funds for any or aU Escrow Items. Lender may woive Borrowa's
           ob6gotion to pay to Lender Funds for any or all Escrow Items at any time. Any S11Ch wai""' may only be
           in writing. In the event of such waiver, Borrower shall pay directly, when and where pa          e, the amounts
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             due for WIY &crow Items for which payment of Funds has been waived by Lender nnd, if l.ender requires,
             shall flunish to Lender receipts evidencing such payment within such time period as Lender may require.
             Bonowcr's obligation to make such pnyments and to provide receipts shall for oil purposes be deemed to
             be a covenant Wid asreement contaiocd in this Security Instrument, as the pbpse •covenant and asreement"
             is used in Section 9. If Bonower is obligated to pay Escrow Items direedy, pursuant to a waiver, and
             Bonower lhils to pay the amount duo for WI Escrow Item, Lender may exercise it• rights under Section 9
             and pay such amount and Borrower shaH th.:n be oblipted under Section 9 to repay to Lender any such
             antounL Lender may revoke the waiver as to any or all Escrow Items at any time by a notice given in
             accordance with Section IS and, upon such revocation, Bo!rOWer shall pay to Lender all Funds, and in
             such amounts, that are then required under this Section 3.
                   l.ender may, at any lime, collect and hold Funds in an amount (a) suflioientlo pennit Lender to apply
             the Funds nt the time specified under RBSPA, and (b) not to exceed !be ntaxintum amount a lender can
             require .under RE8PA. Lender shall estimate the amounl of Funds due on the ba.•is of cunenl dara and
             reasonable estimates of cxpend~utes of future Escrow ltew or otherwise in accordanoe wiUt Applicable
             Law.
                   The Funds shall be held in an institution whose deposits are insured by a federal agency,
             instrumentality, or entity (including Lender, if Lender is an institution whose deposits are so insured) or in
             any Federal Home Loan Bank. Lender shall apply the Funds to pay the Escrow Items 110 later than the time
             specified under RESPA. Lender shall not charge Bonower for holding and awtying the Funds, annually
             analyzing the escrow acoount or verifying the Escrow Items, unless Lender (>ays Borrower interest on the
             Funds SDd Applicable Low ponnits Lender to make s11Ch a charge. Unless m agreement is made in writing
             or Applicsble Law requires interest to be paid on the Funds, Lender shall not be required to pay Bom>W<:r
             any interest or eaminga on the Funds. Borrower nnd Lender can asree in writing, however, that interest
             shall be paid on !he Funds. Lender shall give to Bonower, without charge, an annual aocounting of the
             funds as toquired by RESPA.
                   If thc:n! is a surplus of Ftlnds held in escrow, as defmed IInder RESPA. Lender sbsll aocount to
             Borrower for the excess funds in IICC«danoe with RESPA. If there is a shortage of Funds held in escrow,
             as defined under RESPA. Lender shall notifY Borrower as required by RESPA, and Bonower shall pay to
             Lender the amount nooossory to make up the shorrage in accordance with RESPA, but in no more than 12
            montbly pnyments. If there is a deficiency of Funds held in escrow, as defined under RESPA. Lender shall
             notify Bo!rOWer as roquired by RESPA, and Borrower shall pay to Lender the amDunt necessary to make
            up the deficiency in liCCOidance wilh RBSPA. but in no more than 12 montltly payments.
                   Upon paymen! in full of all sums secured by this Security Instrument, Lender shall prompUy refund
            to Borrower any Funds held by Lender.
                   4. Cltarges; Lle111. Bonower sball pay all taxes, assessments, charges, fwes, and imposilions
            altribDIBblc to the Property which can attain priority over this Security Jnstrunu:nt Jossebold payments or
            ground renls on the Property, if any, and Community Association Dues, Fees, and Assessments, if any. To
            the extent tbat lhese items are Escrow !toms, Bonower shall pay !hem in the manner provided in Section 3.
                  Borrower shall promptly discharge any lien which has priority over this Security lnstnuncnt unless
            Borrower: (a) asrees in writing to the payment of the obligation seoured by the lien in o IJUI1Uiel acceptable
            to Lender, but only so Ions as Bonower is perfotming such agreement; (b) contests the lien in good liitb
            by, or defends ogainsl enforcen1ent of !be lien in, legal prececdings which in Lender's opinion operate to
            prevent the enforcemenl of the lion while those prooecdings are pending, but only until such p!OCCedinF~~
            arc ooncluded; or (c) secures liom the holder of the lien an agreement satisfactocy to Lender subordinating
            the lien to this Security !ostrUmenl. If Lender determines that any part of the Property is subject to a lien
            which can attain priority over Ibis Security lnstnunenl, Lender may give Bonower a notice identil)'ing the



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          lieo. Within 10 days of the date on which that notice is Biven, Bonowcr shall satisfY the lien or toke one or
          more of the actions set forth above in this Section 4.
                 Lender msy require Borrower to pay a on..time chSfBe lbr a real estote laX verification and/or
           reporting service used by Lender in coaneotion wiUt this Loan.
                 S. Property Insurance, Bonower shall keep the improvements now existing or hereat\er erected on
          lho Property insured against loss by tire, hozords included widtin the tenn •extended ...,..,age, • ond any
          olhcr hazards including, hut not limited to, eorthquokcs and floods, for which Lender requires insurance.
          This insurance shall be maintained in lhe amoWlts (including deductible levels) and for the periods that
          Lender requires. Wbat Lender tequitcs pursuant to the preceding sentences can change duriug the tenn of
          the Loan. The insurance carrier providing the instU'IInoe shall he chosen by Bonowcr subject to l.ende~s
          right to disapprove Borrow~s choice, which right shall not be exercised unreasouably. Lender may
          require Borrower to pay, in connection with this Loan, either: (a) a on..time chUBe for tlood zone
          determination, certification and tmcking services; or (b) a one-time clwge for flood zone detcrmina~on
          and certification services and subsequent charges each time rCillllppings or similar changes occur which
          reasonably might affect sucb det01111ination or certification. BoJtOwer shall also be responsible for the
          payment of any fees imposed by the Federal Emergency Management Agency in connection with the
          review of any Oood ZDne detertnination resulting fu10I an objection by BoJtOwer.
                 If BoJtOwer fails to msintain ony of d10 coverages described above, Lender may obtain insurance
          coverage, at Len~& option and Bon:o~s expense. Lender il under uo obligation to purchase any
          particular type or aniOUOI of coverage. Therefore, such coverage shall cover Lender, but might or might
          not protect Borrower, Borrowea's equity in the Property, or the contents of Ute Property, against any risk,
          hazard or liability and might provide greater or lesser coveroge than was previously in effect. Bonower
          ackocwledges that the cost of the insurance coverage so obtsined might significantly exceed tbe cost of
          insuraoce that Borrower could have obhUned A.Dy amounts disbursed by Lender under this Section 5 sboll
          become odditionul debt of BoltOWer secured by this Seourity JnsuumenL These QDIQUDts shall bear interest
         at the Note rate from the elate of dilbllfllement and shall be payable, with such interest, upon nodcc from
          Lender to Bo1t0wer requesting payment.
                All insurance policies required by Lender aod renewals of such policies shall be subject to Lendca's
          right to disopprove such policies, shall include a standard mortgage clause, and shall name Lender as
         mortgagee and/or as ao odditionalloss payee. Lender shall have the right to hold the policies and renewal
         certificates. If Lender r<quires, Bomwer shall promp~y give to Lender all receipts of paid premiums and
         renewal notices. If Borrower obtains any form of insurance coverage, not otherwise tequired by Lender,
          for damage to, or destmction of, tbe Property, such policy shall include a standard mortgage clause and
         shall name Lender liS m>rtgagee and/or as an additional loss payee.
                In the event of loss, Borrower shall give prompt notice to tbo insurance oanier and Leoder. Lender
         mey make pmof of loss if nol made promptly by BoltOwer. Unless Lender and Borrower otherwise agree
         in writing, any insurance proceeds, whether or not the 1mderlying insumnce was required by Lender, shall
         be applied to restoration or repair of the Property, if the restoration or repair is CCOIIomicaUy feasible aod
         L~s security is not lessened. During suoh repair and restoration period, Lender shall have the right to
         hold such insunonce proceeds until Lender has had an opportunity to inspect such Property to ensure the
         work has been completed to Len~s satisfa~on, provided that aucb inspectioo shall be undertaken
         promptly. Lender may disburse proceeds for the repaiJJ and restoration ill o siDgle payment or in a series
         of progress payments as the wolk is completed. Unless an agreement is made in writing or AppUcable Law
         requires intClllSI to be paid on such insurance proceeds, Lender shall not be tequited to pay Borrower any
         interest or earnings on such proceeds. Fees for public adjnstcn, or other third parties, retained by
         Borrower shaU not be paid out of the insurance proceeds ond shall be the sole obligation of BoJtOwer. If
         the restoration or repair il not ecooomically feasible or Lcndea's. security would be lessened, the insurance
         proceeds shall be applied to lhe sums secured by tlis Security lnstnlmeot. whether or not then due, with

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            the exoess, if any, paid to Borrower. Such insurance proceeds shall be applied in the order provided for in
            Section 2.
                   If Borrower abandons the Propany, lender may lilc, negoliate and settle any available insurance
            claim and related matters. If Borrower does not respond within 30 days to • notice from Lender thnt the
            insurance carrier has offered to senle a claim, then Lender may negotiate and settle •he claim. Tite 3<klay
            period will begin when the notice is given. In either even~ or if Lender acquires tho Propony Wlder
            Section 22 or othmvi•c. Borrower hereby assigns to Lender (a) llorrowor's rights to any insurance
            proceeds in an amcunt not to exceed the amowtts unpaid wtder the Note or this Security Instrument, and
            (b) any other of Borrowe~s rights (other than the right to any reftmd of unearned premiums paid by
            Borrower) under all i1tsnranoe policies covering the Propeny, Insofar as such rights arc applicable to the
            coverage of the ProJ1"11Y. Lender may nse the insurance proceeda either to repair or restore the Propeny or
            to poy amounts unpaid under the Note or this Security lnstrumen~ whether or not then due.
                   6. Occupaney. Borrower shall occupy, establish. aod uae the Propeny as Borrower's principal
            midence within 60 days after the execution of this Security Instrument and shall continue to occupy the
            Property as Borrowe~s principal rosidence for at least one year after the date of occupancy, unless Lender
            otherwise agroeo in writing, which consent shall not be un,.sonably withheld, or unless exleJiuating
            circumstances exist wbicb are beyond Borrowe~s control
                   7. Preservation, Maintenance and Prolecllon of the Proper!)'; lnspedions. Borrower shall not
            destroy, damage or impair the Pmperty. allow the Propeny to deterionue or commit waste on the
            Property. Whether or not Borrower is residing in the Propeny, Borrower shall maintain tho Propeny in
            order to prevent the Prnpeny from deteriorating or decreasing in value due to ita condition. Unless it is
            determined piii'SWUll 10 Section S that repair or restoration is not economically feasible, Borrower shall
            promptly repair the Property if damaged to avoid fllllher d01crioration or dantagc. If insumnce or
            condemnation proceeds are paid in IXJDIIcction with damage to, or the taking of, the Property, Borrower
            shall be roaponsible !Or repairins or mtorins tho Prnpeny only if Lender has released proceeds for suclt
            ptllpOSes. Lender may disburse proceeds fer tho repaU.and restoration in a sinslc payment or in o series of
           progross payments as the wotk is completed. If the insunmce or condemnation proceeds oro nol sufficient
            to ropair or rostore the Property, Bonower is not relieved of Borrower's obligation for the completion of
            such repair or restoration.
                  Lender or ita agent may ntalce ll!asonable ontries upon and inspections of the Propony. If it bas
           reasonable cause, Lender may inspect the interior of the improvements on d1e Properly. Lender shall give
           Borrowor notice at the time of or prior to such an Interior inspection apeciiYins sucb reasoaable cause.
                  8. Borrower's Loan Application. Borrower shoJI be in default if, durins the Loan application
           process, Borrower or any pmons cr entities acting at the diroction of Borrower or with Borrower's
           knowledge or consent gave materially false, misleading, or inaccurata information or staleiDents to Lender
           (or tlu1ed to provide Lender with material information) in connection with the Loan. Motorial
           represODtations Include, but aro not limited to, roprosentations concerning Borrowe~s occupanoy of the
           Property as Borrower's principal residence.
                  !1. Protection nf Lender's Interest in lhe Property and Rlghta Under lids Security Instrument. If
           (a) Borrower fails to perform the covenants and agroements contained in this Security lnstrom~ (b) tbero
           is a legal p-oceeding that might significantly affect L011de~s interest in the Property and/or rights under
           this Security Instrument (such as a prncccding in bankruptcy, probate, fur coodemolllion or forfeituze, for
           onibrcement of a lien which may attain priority over this Security Instrument or to enforce laws or
           regulations). nr (c) Borrower has abandoned the Property, then Lender may do and pay fur whatever is
           roasonable or appropriate to protect Lende~s interest in the Pmperty and rights under this Security
           Instrument, including protecting and/or assessing lbe value of the Propeny, and sccwring and/or repairing
           the Property. Lender's actions con include, but an: not limited to: (a) paying any sums secured by a lien
           which has priority over this Security Instrument; (b) appearing in collll; and (c) payins reasonable


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          ~Homey>' fees t~.P<o!ect its interest in the Profcrly Bnd!~r rishts under this Security lnstrumen4 including
          tts s~ured postuoa tn a blmkrupt91 prcceedmg. Secunng the Property includes, but is not limited to.
          ontermj! the ~P."IIY to  !'"'!'•r<paus, chango !oclc~, r<place or board up do0111 and windows, drain water
         from ptpes, enouuate butldmg or other code vtolattons or dangerous conditions and have utilities turned
         oo or off. Although Leader may take action under this Section 9, Lender does nOt have to do so and i• not
         under any duty or obligation to do so. It is agreed that Lender incurs no liability for not taking any or all
         actions authorized under this Section 9.
              Any amounts disbursed by Lender under this Section 9 shall beccme additional debt of Borrower
         SO<ured by this Security Instrument These amounts shall bear interest at the Note rnte ftom tho date of
         disbursement and shall be payable, with such interest upon notice from Lender to Borrowor requesting
          paym/'?\ius Security lnsiiUIIIent is on a leasehold, Bonowor shall comply with all the provisioas of the
          lease. If Bonower acquires fee tide to thel'nlperty. the leasehold and the fee title shall not merge unless
          Lender agrees to the merger in writing.
                10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan,
          Borrower shalt pay the premiums required to lll4intain the Mortgage Insurance in effect. I~ for any reason,
          the Mortgage Insurance coverage required by Leader ceases to bo available from the mortgage insurer that
         previously provided such instvance and Borrower was requirod to make separately deaignatod payments
          towa:d !lie premiWIJS fbr Mortgage Insurance, Borrawcr shall pay the prvmiums required to obtain
         covet11ge substantially equivalent to tho Mortgage lnsumnce prevtously in effee~ at a cost substantially
         equivalent to the cost to Borrower of U10 Mortgage Insurance previously in effcc!, from an alternate
         mortgage insurer selee!ed by Lender. If substantially equivalent Mortgage Insurance coverage is not
         available, Borrower shall continue to pay to Lender the amount of the separately deaignsted payments that
         wore due whea the insurance coverage ceased to he in effect Lendor wlll -~ use and retain these
         payments us a llO!Kefundable loss reserve in lieu of Mortgage Insurance. Sucl1 loss reserve shall be
          non-refUndable, notwithstaodins the f""1that the Loan is ultimately paid in full, end Lender shall not be
         required to pay Borrower any interest or earnings oo such loss reserve. Lender """ no longer require loss
         reserve pa)'Dleats if Mortgage Insurance covemgc (in the IDIIOUD! and for the period that Lender requires)
         provided b)l an insurer selected by Lender again bocomes available, is obtained, and Lender requires
         sepamtely designs ted payments toword the premiums for Mortgage Insurance. If Lender required Mortgage
         lnsUlllnce as a condition of making !he Losn and B011ower was required to make sepamtely designated
         payments toward the Jll"miums for Mortgage IIISUtllnce, Borrower shall pay the prorniums required to
         maintain Mortgage Inwranr:e in effect or to provide n non-refundable loss reserve, until Lende~s
         ro:quirement fbr Mortgage Insurance ends in accordance with any written agreement botweea Borrower end
         Lender providing for such termination or until termination is required by Applicable Law. Nothing in this
         Section 10 offects Borrowe<'s obligation to pay inlerest at !he rate provided in the Note.
               Mortgage Insurance reimburses Lendor (or any entity !hat purebasea the Note) for certain losses it
         may incur if Borrower doea not        "'' "Y
                                                    the Loan es agreed. Burrower is not a party to !he Mortgage
         Insurauce.
               Mortgage insurers evaluate their total risk on all such insurance in forr:e from time to time, and may
         enter into agreements with other parties that shore or modity their risk, or reduce losses. These ag...,.nts
         an: on terms and conditions that""' satisliu:tol)' to !be mortgage insurer and the other party (or parties) to
         these agreements. These agreements may require the mortgage insurer to make payments using any source
         of timds that the murtg~~ge insurer may have available (which may include 1\mds obtained from Mortgage
         lnsumnce premiums).
               All a rewlt of these agieeD~ents, Lender, noy purchaser of the Note, auother insurer, any reinsurer,
         any other entity, or any affiliate of any of the foregoing. may receive (directly or indirectly) amounts that
         derive from (or misht bo characterized os) a portion of Borrowe~s paymems for Mortgage Insurance, in
         exchange for shariilg or modifying the mortgage insure<'s risk, or reducing losses. If such agrecmcat
         provides that an affiliate of Lender takes a shore of the insurer's risk in exchange for· • sh...., of the
         prvmiums paid to the insurer, the arra~emenl is often termed "captive reinsurance.• Further:
               (a) Anl' ouch agreements will DOt alfect 1bc amount. lltat Borrower bas agreed to pay for
         Mortgage laslll"lllce, or lUll' otber terms or the Loan. Such agreements wiD not increase the amount
         BoiTIImr wiD owe 1\Jr Mortgage IIISuraace, aad lbcy wiD aot ealltle Borrower to •113' refund.


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              (b) Any ouch agreements will not aiTeel the rights Borrower has • if any • wilh re•pecl to tho
        Mortgage Insurance under tbe Homeowaers Protoetlon Act of 1998 or any other law. These rights
        may lnclndo the right to reeeln eortala disclosures, to request and obtain canecUation or the
        Mortgage Insurance, to have tbe Mortgage Insurance terminated automatlcaUy, and/or to re<eive a
        relund or any 1\fortgagelnsuranec premluma that were unearned at tho time of such canecUaUon or
        termination.
              Jl, Assignment of 1\fbcellaneous Proceeds; Forfeiture. All Misc:eUnnocus Pro<eeds arc hereby
        assigned to and aball be paid to Lender.
              It lhe Property is damaged. suoh MisceliiiDllOus Proeceds sbaU be applied to restoration or repair of
        the Property, if the rostoration or repair is economically feasible and Lender's security is not lessened.
        During such repair and restoration period, Lender shall bave the right to bold suob Miscellaneous Proceeds
        until Lender bas hnd an opportunity to inspect such Properly to ensure the work bas been completed to
        Lender's satisfaction, provided that suoh iuspeotion shall be undertaken prompUy. Lender mRy pay for the
        repai!S and resto11tion in a sin(!fe disbursemc:nt or in a series of progress payments as the work is
        oornpleted. Unless on agreement IS made in writing or Applicable Law requires interest to he paid on such
        Miscellaneous Proceedi, Lender shall not be re~uired to pay Borrower any interest or earnings on such
        Miscellaneous Proceeds. if the rest011Uon or repau is not economically feasible or Lender's seourity would
        be lessened, the Miscellaoeo\IS Proeeeds shall be applied to lhe sums secuml by this Security lnstrum,ont,
        whether or not then due, wiUt U1e excess, if any, pa1d to Borrower. Such MisceUaneous Proceeds shall he
        applied in tho order provided for in Section 2.
              In the event of a Iota( taking, destzuction, or loss in value of the Property, the Miscellaoeous
        Proeeeds shall be applied to the sums seoured by this Saeurity instnuneot, wbeiberor not then due, with
        the excess, if any, ~td to BoiTOwer.
                In the event of a penial taldng, destruction, or loss in value of the Property in which the fair market
         value of the Property iuuncdiatdy betore tho partial taking, deslrUCtion, or loss in \'8luc is equal to or
         greater than the amount of the sums secured liy this Security lnstnnnent immediately before Uw partial
        taking, destruction, or loss in value, unless Borrower and Lender otherwise agree io writing, the SUll!S
        s....ed by this Security lnsuumcnt shall be reduced by the amount of the Misoellaneous Proceeds
        muhiptied by the following fraelion: (a) the total amount of the sums secured immediately before the
        partial taking, destruotion, or loss in value divided by (b) the fair market value of lhc Property
        1mmediately before the pal1ial taking, destruction, or loss in value. Any balance shall be J'!'id to BorroWI:r.
                In the event of o partial taldng, destruction, or loss in value of the Property in wbicb the !lllr market
        value of tho Property Immediately belllre the parUal taldng, destnJction, or loss in value is less than tho
        amount of the sums secured immediately before the partial taldng, dcatmction, or loso in value, unless
        Borrower and Lender otherwise agree in writing, the Miscella110011S Proeeeds shall be applied to the sums
        socured by this Security instnnnent whether or not tho sums are d1cn due.
               If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the
        Opposing Palty (as defined in the next sentcoee) oft'en; to make an award to settle a claim for dama~
        Borrower wls to respond to Lender within 30 clays after tho dato the notice is given, Lender is authonzcd
        to collect and cpply lhe Miscellaneous Pro<eeds either to restomtion or repair of the Propelty or to the
        IIUII1S secured by this Security instnuncnt, whether or not lhen due. "Opposing Party" means the third palty
        that owes Borrower Miseellaoeoua Proceeds or the p.rty against whom Borrower bas a right of action in
        regard to Misecllaneous Proceeds.                                                        .      .
               Borrower sball be in default if any action or proceeding, whether civil or cnminal, tS begun that, in
        Leader's judgment, oould result in forfi>iture of the Property or other material impairment of Lender's
        intetcst in the Pmperty or rights Ullder this Security Instrument Borrower ll8ll curc such a default and, if
        accelemtion has occurred, reinstate as providod in Section 19, by causing the action or proceeding to he
        dismissed witb a niling !hat, in Lender's judgmont, J'l.""ludes forfeiblrc of the Properly or other material
        impairmcllt of Lender's interest in the Property or ngbts uudcr this Security lnstrumenL The PIQOOeda of
        any award or claim for damages that are atuihuteble ID the impairment of Lender's interest in the Property
        are berebv assi&J;cd and abaU be.Paid to Leader.                                    .
               AD Miscellaneous ProceedS that aro not applied to rostoration or rq>alf of the Propelty shaD be
        applied in the order provided for in Section 2.
               tz. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for
        payo10111 or IIIOdiOcation of amortization of the SII1DS secured by this Security instnlmeot granted by Lender

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           10 Borrower or any Successor in Interest of Borrower shall not opemto to rolcase the liability of Borrower
           or any Successots in Interest of Borrowct:. Lender shall not bo t<quited to couunence proceedinf!S against
           any Successor in Interest of Borrowct: or to rofuse to extend time for pnyment or othcrwise modify
           amortization of the sums secured by this Security Instrument by roascm of IUIY demand made by the ori$inal
           Borrower or any Successors in lntorcst of Borrower. Any forbearance by Lender in exercising any ri$Dt or
           remedy including, without limitation, Lender's acctptance of pnyraents from third persona, entitles or
           SuocossOIS in lnterost of Borrower or in amounts less than the amount then due, shall not be a waiver of or
           preclude the exercise of any right or remedy.
                 13. Joint ••d Several Liability; CHignon; Sucoesson aod Assigos Bouod. BatTOwer coveoants
           and agrees that Borrower's obligation• and liability shall bo joit~ and sevcrul. However, any Borrower who
           co-sigos this Security lnsuument but does not execute tho Note (a "oo·signer"): (a) is ca-sigoing this
           Security Instrument only to mortgage, grant and convey the co-signe~s interest in the Propeny under the
           torms of this Security lastrumen~ (b) is not personally ob6gated to pay the sums secured by this Security
           lnsuumen~ and (c) asrees that Lender and any ather Borrower con agree to extend, modily, forbear or
           make any aooommodations with regard to dte tc:rms of this Security Instrument or the Note without the
          eo-signer's consent.
                 Subject 10 the provisions of Section 18, any Successor in Interest of Borrower who assumes
           Borrowe~s ob6gations under this Security Instrument in writing. IUld is approved by Lender, shall obtain
           all of BOtTOwus rights IUid bene filS under this Security Instrument. Borrower shall not be rcleas<d from
          Borrowers obligations and 6ability under this Security lnstntment unless Lender agrees to such roloase in
          writing. '1110 covenants and agroemeniS of this Security Instrument shall bind (exoept os provided in
          Section 20) and benefit the suoccssars and assigos of Lender.
                14. Loan Charges. Lender may cJtarse BotTOWer fees for services performed in connection with
          Botrowets demult, for the P"'P"'" of pmlectins Lenders interest in the Proper~)' and rights lDlder this
          Security Instrument, includiilg, but not limited to, at!Omeys' fees, property iuspectoon and valuation fees.
           In rogoid to any other fees, the absence of express llllthority in thi• Security Instrument to charge a specific
          fee 10 BotTOwer shall oot he construed as a prohibition on dte charging of such fee. Lender may not charge
          fees that are expressly prohibited by this Security lnstnunenl or by Applicable Law.
                If the Loail is subject to a law which sets IDllXimumloan chBr¥es, and that law is finally interpreted so
          that the interest or other Joan charges oolleetod or to bo collected oa connection with the Loan exceed the
          permitted limits, then: (a) any such loan charge shall be rcdueed by lhe amount nOCCSSlll}' 10 reduoe the
          charge 10 the permitted 6mit; and (b) any sums already collected from BotTOwer which exceeded permitted
          limits will be relituded to Borrower. Lender may choose to make lhis refund by reducing the principal
          owed under the Note or by making a cfuect payment to Bon:ower. If a rofuna reduces princopal, the
          rodiction will bo treated as a partial prepaymont without any prepayment charge (whether or not a
          prepayment charge is provided for undtir the Note). Borrowus aCCOJ?lanCc of any such rofimd made by
          direct payment to BotTOwer will c:onstitute a waiver of any right of aelton Borrower might have arising out
          of such overcharge.
                15, Notices. All notices given by Borrower or Lendtir in connection with this Security Instrument
          must be in writing. Any notioe to Borrower in connection widt this Security Instrument shall be deemed 10
          have been given to Boii'Dwer when mailed by ftrSt class mail or when actually clolivered 10 Borrowe(s
          notice address it' sent by other means. Notice to any one Borrower shall constitute notice to aU Borrowers
          unless Applicable Law expressly requires otherwise. The notioe address shall be the Property Addn:ss
          unless BotTOWer has designated a substitute notice address by notice 10 Lender. Borrower Shalf promptly
          notifY Lender of Borrowus change of add,.... If Lender specifies a procedure for roporting Borrower's
          change of addms, then BotTOwer shall only reporl a change of address tluough that o;pecilied procedure.
          Thoro may be only one designated notice addias under this Security Instrument at any one time. Any
          notice to Lender sbaU be given by delivering it or by mailing it by fi!St class mail 10 Lende~s ·~
          stated herein unless Lender bas designated another address by nottce to BotTOwer. Any notice m
          counection with this Security Instrument shall not be deemed to have boon given to Lender unlil aelually
          roccived by Lender. If any notice t<quired by this Security lnslnlDtenl is also required under Applieable
          Law, the Applieable Law requirement will satisfy the corresponding requirement under this Security
          Iustrument.


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            16, Governing Law; Severability; Rules of Coastractlon. This Security lmtrument shall be
         go~~. by le~l In~ an~ the Ia":' of the jurisdiction in :-"hich the Property is loeated. AU rights and
          obhgaltollS conuuncd 1n this Secumy Instrument are sub)ecl to any requirements and limitatiolUI of
          Al>plicable. Law. Applicable Law. might explicitly or implicitly allow the partiL'S to agree by conllact or it
          mtglll be sdent, but such silence shall not bo construed as a prohibition against agreentent by conllact. In
          the event that any provision or clause of this Security lnsaument or the Note confliCIS with Applicable
          Law, such conllicl shaD nnt affect otbet provisions of this Security Instrument or the Note whicb cso he
         given elfect without tbo conflicting provision.
                As used in this Security lnstrumenl: (a) words of the masculine gender shall IJICIUI and include
         corresponding neuter words or words of the feminine gender; (b) words in the singular sballtn""" and
          includo the plum! and vice ve~Sa; and (c) the ward "may• gives sole discretion without any obligation 10
          take any aclton.
                17. Borrower's Copy. Borrower shall be given one copy of Ute Note and of this Security Instrument.
                18. Transfer or the Property or a Beneficial IDiereslln BoiTOwor. As used in Ibis Section 18,
         'Interest in the Property' means any legal or bcneficisl interesl in the Property, including. but not limited
         to, those boaelicial interosts lnutsfcited in • bond for deed, eolllract for deed, lnstallmelll sales oontract or
         eserow agreement, the intent of which is the llllnSfer of tille by Borrower Ill a liJturc date to a purchaser.
               If all or any part of the Property or any Interest in tho Property is sold ar transferred (or if Borrower
         is not a natural person and a bcrtoflCial interest in Borrower is sold or llansferred) without Lender's prior
         wrilten consent, Lendor may requin: inuncdiate payment in full of all sums secured by Uus Security
         Instrument. However. this option shall uot be exercised by Lendor if such exercise is prohibited by
         Appliouble Law.
               If Lendor exercises Ibis oplion. Lender shall give Borrower notice of acceleration. The notice shall
         provide a period of not less than 30 days from the date the notice is given in accordance with Section IS
         within which Borrower must pa.Y all sums secured by this Security lnstrumenl. If Borrower fails 10 pay
         these &'UIIIS prior to the expimtoon of this period, Lender may invoke any remedies permitted by this
         Security Instrument withoull\lrtbcr notice or demand on Borrower.
               19. Borrower's Rlgbt lo Reinstate After Accelerallon. If Borrower mecta certain conditions.
         Borrower alllll have the right to have enforcemelll of this Security Instrument discontinued at any time
         prior to the earlicat of: (a) fwe days before sale of tho PtOflC'tY. pursuant to Section 22 of this Security
         Instrument; (h) such other period as Applicable Law lllishtspec1fy for the termination or Barrowets riAht
         to reinstste; or (c) cnuy of a judgment enfbrcing this Security htstrumenl Those conditions are tbltl
        Borrower: (a) pa~s Lendar oil sums which then would be dueiUidcr Ibis Security Instrument ond the N111e
        as if no oa:elemtton had OCCUJTed; (b) cures any dollwlt of any other covenonts or agreements; (c) pays all
        expenses incu:red in enforcing this Security Instrument, including, but not limited to, reasonoble anomeys'
        fees, ptoperty inspection and valuation fees, and other foes iliCurted for the pwpose of protecllng Lenders
        interest in the Property ond rights undor this Security lnstn1111cn~ and (d) takes such a<2ion as Lender may
        reasonably require to assure thet Lendcl's intmst in the Property ond rillhts under this Security
        Instrument, and Borrower's obligation to pay the sums seaued by ibis ·security fustnnnent, shall continue
        unc!tanF<i liDless as otherwise providad Wtdor Applicable Law. Lender may require tbot Borrower pay
        such reinslaleii1CIIt sums and Ollpensea in one or moRO or the following forms, as selected by Lendor: (a)
        casl1; (b) money order; (c) certified clteck, bank cite<k, treasurCI's cbeck or caslrieJ's check. providod any
        such cbcck is drawn upon an institution wbosc deposits are inslnd by • tcderal agency, instrumentality or
        ennly: or (d) Electronic Funds Transfer. Upon reinstatement by B01rower, this Security Instrument and
        obliptions secured hereby shall rcn10ln fully oft'ecUvc as if no acceleration bad ocourrc:d. However, this
        right to reinstate shall not apply in lbe ease ofaccclcration ueder Scotion 18.
               %0. Sale or Note; Cbaoge or LoaD Servicer; Nollce or Crievaaee. The Note or a partial interest in
        the Note (together wilb this Secwity Instrumenl) can be sold one or more times without prior notice to
        Borrower. A sale misht =ult in a cbnnga io the entity (known os tbe "Loon Servioer") that collects
        Periodic Paymcllls due Wider the Note and this Security Instrument mtd performs other mongage loan
        servic:ing obligations undor the Note, this Security IJJSJrUment, and Applicable Law. There also might he
        one or more cbenges of the Loan Sm1ccr wuclated 10 o sale oftbe Note. If there is a cbnngc oftl1e Loan
        Servicer, Borrower will be given wrillen notice of the change which will state the nome and ad.dress of the
        new Loan Serviccr, the addtoSS to wbich payments should be made and MY other informot1on RBSPA


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           requires in corutection with a notice of rransfer of servicing. If the Note is sold nod lherealler rbe Loan is
           serviced by a Loon Set\iccr other than the purchaser of the Nole, the Otorlgagc loon servicing obligations
            to Borrower will remain with the Loon Setvicer or be lransfcrrcd to a successor Loan SeiVicer and are not
           aiiSUilled by the Nohl purchaser unless odterwise provided by the Note put~:haser.
                  Ncidter Borrower nor Lender may commence, join, or be joined to any judicial aclion (a• either an
           individual litigant or the member of a ciiiSs) dlllt arises from the other PartY• actions pumtanl to dtis
           Security Instrument or that alleges thnl the other party bas breached ony provilrion of, or any duty owed by
           reason of, this Security Instrument, IUittl such Borrower or Lender has notifted the other party (with such
           notice given in compli1111c:e with the requirements of Section .IS) of such alleged bresch and afforded the
           other party hereto a reasonable period oJler the giving of such noticu to take co......,rive action. If
           Applicable Law provides a time period which must elapse before certain octioo can be taken. dlllt rime
           period will be deemed to be reasonable for purposes of this paragraph. The notice of acceleration and
           opportunity to cure given to Borrower pumtant to Secrim 22 and the notice of acceleration given lo
           Borrower purauanr ro Section IS shall be decmod ro satisfy the notice ond opportunity ro toke conec:rive
           action provisions of this Section lO.
                 21. Hazardous Substaa..s. As used in this Section 21: (a) "Hazardous Substances" are those
           sttbsiBilccs defined as toxic or hazardous substances. pollutants, or wasres bY Environnteatal Law and the
           following substances: gasoline, kerooone, other llammable or toxic petroleum produc19, toKio pesticides
           and berbieidos, volatile solvcats, Olllterials containing asbestos or formaldehyde, and radioaclive materials;
          (b) "Environmental Law" mcans federal laws and laws of tbe.jurisdicrion whcnlthe Property is located that
           relale to health, safuly or environmentol protec:!ion; (c) "EnviroDIIJlntal Cleanup" includes any response
          actioo, remedial action, or removal action, as defmed in Envirowuental Law; and (d) an "Environmental
          CoJXlition• means a condition tbal can cause, contribute to, or oeherwi$c tri~er an Environmental
           Cleanup.
                 Borrower shall not cause or penni! tha presence, use, disposal, •1orage, or release of any Hazardous
           Substanees, or threaten ro release any Hazardous Substances, oo or in the Property. Borrower shall nor do,
          nor allow anyone else to do, anything affecting the Property (a) that is in violation of any Environmental
          Law, (b) which creates an Environmental Condition, or (c) which, doe ro the presence, use, or release of a
          Hazardous Substmce, creates a conditioo that adversely affects the value of the Property. The preoeding
          two scoroncos shall not apply lo tho prescoce, use. or storage on tho Property of small quantities of
          Hazardous Substances that are generally recognized to be appropriate to normal residential uses 1111d to
          mainrcaance of the Property (ineluding, but not limited to, hazardous subsiBilces in oonsumer produels).
                 Borrower shall promptly give Lender written notiee of (a) lillY investigation, claim, demand, lawauit
          or other acrion by any governmental or regulatory agmcy or private party involving the Property and any
          Hazardous Substance or EnvirOIID1CJital Law of which Borrower has aciUal knowlodge, (b) any
          Enviro11111ontal Condition, including but not firoitod to, any sp!Uing, leaking, discharge, release or threat of
          relcaao of any Hazardous SubstMCe, and (c) any condition caused by the presence, use or release of a
          Hazardous Substance which adversely all'ecls the value of the Property. If BorroWer learns, or is no1ificd
          by any govommental or regulatory authority, or any private party, that any mnovol or other remediation
          of any Hawdous Substonoo offeotias tha Property is necessary, Borrower shall promptly take all necessary
          romedlal actions in accordanoo with Enviromnental Law. Nothing bereio sholl cxcate any obtigotian on
          Lender for an Envirmunental Cleanup.




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                NON-UNIFORM COVENANTS. !lOII'ower and Lender li1rther covenant and agree as lollows:

                12. Acceleration; Remedios. Leuder shall give notice to Borrower prior to acceleration ibllowing
          Borrower's breach of any covenont or agreement In thb Security Instrument (but not prior to
          acceleration under Section 18 unless Applicable Law prnvldos otherwise). The notice shall specify: (a)
          the default; (b) the action required to cure the default; (c) a date, not less than 30 days l'rom the date
          the notice b given to Borrnwer, by which the default must be cured; and (d) that faUure to cure the
          default on or before the dale specllicd In the notice may mullin accekratlon of lbe sums secured by
          Ibis Security Instrument, foreclosure by judicial proceeding and sale of t•e Property. The notice shall
          further inform Borrower of the right to reinstate aOer aceeleralion and tbe right to assert in Jbc
          foreclosure proceeding the non...,.lslence or a defaull or any other del'eDBe of Borrower to aceelcrallon
          and foreelosnre.lf the default is not cured on or before Jbe date specllled In the nuCice, Lender allis
          option may require Immediate payment in full of .U sums secured by lbb Secnril)l Instrument
          without further demand and may foreclose this Securil)l Instrument by judicial proceeding. Leader
          shaD be calllled to coDccl all e~peases incurred In pursuing the remedies provided In this Seclloa n,
          Including, but aolllndled to, reasonable attorneys' fees and costs of title n;deace.

                ZJ. Release. Upon payment of all sums secured by this Security lustrument, Lender shall release this
          Security lnsllumenl BoiTOWer shall psy any recordation costs. Lender may charge Borrower a fee for
          re b:asins Ibis Seourity lustrument, but only if the fee is paid to a third party for services rendered aud the
          oborgins of the fee is pcnnitted under Applicable Law.

                 Z4. Waiver of Homestead. In IICC<lrllaace with Illinois law, tha Bonowet hereby releases aod waives
          all rishts under and by virtue of the Illinois homestead eJCMPtion laws.

               zs.   Placement of Collateral ProteeHon Insurance. Unless Borrower provides Lender with evidence
          of tha insumace coverage required by Borrowe~s agrecmcat witb Lender, Lender may purchase insuranco
          at BoiTOweJ's ""pense to protect Leader's interests in BorroweJ's collateral. This iusuranee may, but need
          nul, protect Bonower's ialelesls. The oovCillge that Leader purobasos lll8)' not pey any daim lhat
          Bcrrcwer makes or any claim that is made against BonoWCI' in connection with the c:ollateral. Borrower
          may later cancel any insunmce purchased by Lender, but only aOer ptuViding Lender with evidence that
          Borrower bas obtained insuranea as requited by Borrower'& and Lendets asreement. If Lender puoohases
          insluance for the collateral, Borrower will be responsible for the coots of that iiiSUillnce, including interest
          and any other charges Lender may impose in COillleclion with the placement of the insurnnce, until tbe
          effective dale of the esucellalioa or expization of the insumlce. The costs of the insurance onay be added to
          Borrower's total outstanding balance or obligation. The costs of the insurance may be more than the cost of
          ins\lnllce Borrower may be able to obtain on its own.




          ILLINOIS • Slnght Family .. F1nale Mae/Freddie Mia UNIFORM INSTRUMENT WIT:;~
          ~·IA(lL)tOIIOI                                    ••"'"'"                 "   V/1   CJ        Form ~014 1101




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              BY SIGNING BELOW, Borrower accepts and agrees to the tenns ond covonW>ts contsined in this
         Security Instrument and in ony Rider executed by Borrower and recorded wilb it




                                                                 -----------(Seal)
                                                                                                      ~Borrower




                                                    (Seal)       ----------(Seal)
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           STAi~ OrJHfi!l'i nC..:J~                                             d!f>fL.  County so:
                                                                , a Nolary Public in and for said counly and
           stutc do hcrtby ccrtity tlutt   MELCINAL BLANTON, UNMARRIED




                                                                                                                .
           per.~onally known to me to be lho same per.~on(s) whose name(s) subscn'bed to lhc lbregoing inSirumcn~
           appeared before me litis day in person, ond acknowledged !hal he/she/they signed and delivered the said
           instrumeDI as his/her/their free and voluntary act, Cor the uses and purposes therein set lbrlh.
                 Given under my hand ond officialseal this           25TH        day of JUNE 2009




          41Zt·GA(IL)t06101                                 .,,,,.,,,.
                                                                                  MERSA/
          ILLINOIS ·Single Fam'y • Fonnlo u ../Freddlo Moo UNIF\)RM INSTRUMENT WITH
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                                                     0918949055 Page: 17 of 17




                                           EXHIBIT'A'
                                        Legal Description

File Number: 2008-()2672-PT
LOT 32 AND THE NORTH 2J3 OF LOT 31 IN BLOCK 18 IN SOUTHFIELD, BEING A SUBDIVISION OF
BLOCKS 17, 18, 19, 22, 23, 24, 26, 27, 28 29, 30, 31 AND 32 IN JAMES STINSON'S SUBDIVISION OF EAST
GRAND CROSSING IN THE SOUTHWEST 1/4 OF SECTION 25, TOWNSHIP 36 NORTH, RANGE 14, EAST
OF THE THIRD PRINCIPAL MERIDIAN, IN COOK COUNTY, ILLINOIS.




COMMONLY KNOWN AS: 7727 S. Bennett Ave., CHICAGO, IL 60649



PERMANENT INDEX NUMBER:         20·25·322·008-QOOO




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'··w
  A ROUNDPOINT
               MORTGAGE SERVICiNG CORPORATION
                P.O. Box 19409   ,,,,·,i~'"·'•   .                                      •' \', ;,\.
               Charlotte, NC 28219       .       .



 November 15, 2013                               NOTICE OF ASSIGNMENT, SALE OR TRANSFER
                                                          OF SERVICING RIGHTS
  05752
 MELCINA BLANTON
 7727 S BENNEIT
 CHICAGO, IL 60649
                                                                                                                                    •

                                                                                     PLAINTIFF'S
                                                                                       EXHIBIT
 LOan Number.             8641                                                           3
 RE:              Notification of Servicing Transfer
                  7727SBENNm
                  CHICAGO, IL 60649

 Dear Valued Customer:

 Welcome to RoundPoint Mortgage servicing Corporation! You were recently notified by Franklin American Mortg;Jge
 Company that the servicing of your mortgage loan, that is, the right to collect payments from you, is being assigned,
 sold or transferred from Franklin American Mortgage Company to Round Point Mortgage Servicing Corporation ,
 (RoundPolnt), effettlve November OS, 2013.                                                                         ·
                                                      M                                               ·~   ••   •o-•o   ··-·    '   ',j   O<




 Please be assured that the assignment, sale or transfer of the servicing of your mortgage loan does not affect any term
 or condition of the mortgage agreement, other than the terms directly related to the servicing of your loan.
                                                                                                                                    t
 To contact vour prior servi~er, you may call them toll free at 1-877-883-1073. You may also contact them by mail at:

          Frilnklin American Mortgage Company
          P.O. Box 77404
          Ewing, NJ 08628
 If you have any questions regardln(l the transfer of servicing. please call the toll free number for Round Point's Customer
 Servlce Department at 877-426-8805 Monday through Friday, 8:00a.m. to 10:00 p.m. and Saturday, 8:00a.m. to 12:00
 p.m. Eastern Time;..
 If you prefer to email your questions, you may send them to servlclnghelp@roundpointmortgage.com. We have also
 provided a Frequently Asked Questions enclosure to further assist you dur1ng the transfer process.

 Please send your regularly scheduled mortgage payment, starting with the November 011 2013 payment, to Round Point
 at the below business address:

          Round Point Mortgage Servicing Corporation
          P.O. Box 674150      :               .
          Dallas, TX 75267-415CI                                                                                                    ·•
 LganTerms                                                                  Pavment Address
 Unpaid Principal Balance:           $98,213.84                             Round Point Mortgage Servicing Corporation
 Interest Rate:                         5.750%                              P.0. Box 674150
 Payment Amount:                      $1,029.01                             Dallas, Texas 75267-4150
 Escrow Balance: .                    $1,062.51
 Always incl~de yo~·r loan Numb.er, ••18641, on your paymen~ for reference.

 If your monthi.V pa~ment currently .in~ludes esi:tow for,ta)\es and/or insurance, this will continue wfthout interruption.·
 If you were previously enrolled at Franklin American Mortgage Company to have your mortgage payment automatically
 ri<>hir..rl fum• vnur Rrrnunt ;,nd want to continue this oroarnm, vou will want to re-enroll for this cost-free service
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     c ~~A~~Y~N~P.p~~~!
              503.2 Parkway Plaza Blvd
              Charlotte, NC 28217
                                                                                                                     Mortgage Statement {rJ
                                                                                                                     Statement Date: 11/1112013
                                                                                                                                                                   (J..S


                                                                                                               Telephone: 877-428-8805


                                                                                                              Fax: 877-776-1112
          llllllllllllllllllllllllllll             001933
          MELCINA BLANTON
          7727 S BENNETT
          CHICAGO IL 60649                                                                                    RoundPoint MO!tgage Servicing Corporation
                                                                                                              POBox 19409
                                                                                                              Charlot~$, NC 28219-9409




                   ~   ----· ·-·   ___ .....___... ··-·.    ... ··-··   ....-.. .....   ,   __ _                    1·;~:1-
                                                                                                   Principal and Interest-   ·- · - - · -   -..........· . ·-· $60i.'lt3
                                                                                                   Escrow                                                     $419.18
                                                                                                   other                                                        $0.00
Loan Number                                                                   1641                    Regular Monthly Payment                               $1,029.01
Payment Due Date                                                          11/01/13                 Unpaid Late Charges                                          $0.00
Amount Due                                                               $2,058.02                 other Charges and Fees                                       $0.00
Outstanding Principal                                                   $98,213.84                 Past Due Payment{s)                                      $1,029.01
                                                                                                      Total Amount Due                                      $2,058.02
Interest Rate                                                                 5.750%               Suspense Balance                                             $0.00
Escrow Balance                                                           $1,062.51
           Advance Balance


  Due       Date
  Dote      Paid




                                                             . ".   ·---· .   _.,   __________ ··-·     -----                     ---··- . ·- -




                                                                 Last                              Thank you for your continued business wltll RoundPolnt
                                                                                                   Mortgage Servicing Corporation. If we can be of fur1her
            & Interest                                                          $0.00              assistance please Clo not hesitate to call us at
                                                                                                   877-426-8805. Our offices are open Monday through Friday
                                                                         $1,062.51                 from 8:00a.m. to 10:00 p.m. and SaturdaY from 8:00a.m. to
                                                                                                   12:00 p.m. Eastern Time.
  Other                                                                         $0.00
                                                                                                   See Reverse Side for Important Information and Addresses.
  Fees                                                                          $0.00
  Total                                                                  $1,062.51
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                                                                                                              Account Number:                         ~
                                                                                                              Payment Due Date:                       10/01113

                                                                                                                     Item besc1 rption                    Arnaunt

                                                                                                              Bal;mces
                                                                                                                  Principal Balance•                      $98,352.40
        + O~~ij~7Q        DDODD2b&b D~CLST 0953970 F7 AFD~ZD·img                                                  Escrow Balance                             $807.06
        MELCINA BLANTON .                                                                                     Year-t.,.Date
        7727 S BENNETT                                                                                            Interest Paid                            $9,799.69
        CHICAGO IL 60649·4505                                                                                     Taxes Paid                               $.2.606.60
                                                                                                              P11yment1ntorma1ion
        •m•••l••n•'•ll••••ullllm•llll•illl•lllfiJiuhllfol'lllll"                                               Inter&$! Rate                                  5.7500%
                                                                                                               Current Payment                             $1,029.01
                                                                                                               Past Due Amount
                                                                                                               Unpaid Late Charges
                                                                                                               Other Fees
                                                                                                              Total Amount Due                             $1,029.01
Property Address;       7727 S BENNETI                                                                      "This is not a payoff amount
 '"
                        CHICAGO,
      ..... --•·-• - - · ,_..,. .....
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PAYMT ~THANK YOU            00/19   0911)6/13   09/06119     $1,029.01               $137.90            $<71.93             $419..18




 ----------------Important Messages----------------


                Now Available- Choose Free Paperless Billing and Reduce Clutter!
                Sign up for electronic billing statements online at www.famchomeloan.com today. Once registerecl, yo1.1 can
                secui'EIIy and conveniently download. view. or print your monthly mortgage statement from your smartphone,
                tablet, or computer at any time.
                F1at1klha Aiirerioa•~ Mortgage             It A:J Begili6 'WitlrlloJ,!Ei




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              ID'iil!il
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       Pieaso includi! your account numbar on all oorrespondanca.
       PAyntOI\1$                               Qualified Wrillen Requests                 Tax Bills                                   IMPORTANT DRAFTING
       PO Box 988                               PO Box 77429                               100 W. CjYic Canter Drive                   INFOAMATION' IF YOUR PA'n\CEN'rn
       Newart< NJ 071!!4.09!18                  Ewing, NJ 08628                            Suit01500                                   ARE Alfi'OMATlCALLY DRAI-TED
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       PO Box 1!02028                           POBox77407                                 PO Box77404                                 DRAfT DA.TE PROVIlED YDUR
       Florence, sc ~·202a                      Ewing, NJ 08628                            Ewing, NJ 08628                             LOAN IS CURRENT OR PREPAID
       FAX ~13-7183                             FAX 609-59&4017                            FAX 1'109·53So4005                          TWO DA VS PRIOR TO YOUR
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            JPMorlian Chase Sank, N.A.
            p 0 Box 659754 .            .                                                      Aooount NYI'nber.
            San Anll>niO, TX 7BI!6lH1i'54

                                                                                         CUSTOMER SERVICE INFORMATION
                                                                                            Website:                      Chaoo.com
                                                                                            Sa!VIoa Center.           1-I!00-93H935
          ll009IISSII DR5.111141 28918 ~NNNNNNNN T 1 !100000000 30 1)0(1<) T1604765 Pol4a98 Deaf and Hard of Hearing: 1-800-242·7383
          MELCINA·BLANTON                                                            ·Pam Espanol:                    .    ·1.o877·312-42713
          7727 S BENNETT AVE                                                          International Calls:                 1-713-262-1679
          CHICAGO IL 60649-4600




   ICHECKING SUMMARY I bhase PrE~mier Plus                           ctleoklng

    Beginning BalancG
    Deposks and Addftions
    Checks Paid
    Electronic Withdrawals
    Feas and Olher Withdrawals
    Ending Balance ·

    Annual Porcentaga Yield Eamed This Period                                        0.01%
    lnterast Eamed This Period                                                        $0,01
    Interest Paid Year-to-Dale                                                        $0.15


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  '1729                    10/02                     aa1a                     1735 A                           10/0B                     38,00
   1730                    10107                     43.85
                                                                                                  Tolal Checks Paid $1,476.49
   If you see a check description in the Transaction Detail section, ~ means your check has already been converted f<>r
   electmnic payment. Baoause of this, we're not able to retum the clleok 1o you or show you an image on Chase.com.

   A   An image of this check may be available !or you to view on Chase. com.




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                                                                                                                                    l..c{ DISCLOSURE STATEMENT
     -                   5032 Parl<w!!y Plaza Blvd
                         Charlotte, NO 28217
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                                                                                                                          Loan Number.
                                                                                                                                                                                                 11/25113
                                                                                                                                                                                              ~641
                                                                                                                          Mortgagor Name:                                                MELCINA BLANTON
                                                                                                                          Customs~ Se<Vice'                                          8T1 426-8805
                                                                                                                          Fax:                                                       8T1776-1, 12
                                                                                                                          Online Account Access:                             www rpmsarvicing.egm
                      0002!1
                      MELCINA BLANTON
                      7727 S BENNETI
                      CHICAGO                         IL 60649




              RoundPolnt Mortgage SeiViclng Corporation· (Rounc!Point) reviaws your ·escrow account·annually to-dete;mine your·new
              monthly escrow payment. As you may know, we collect funds and hold them in your escrow acoountto pay escrowed ~ems
              including property taxes, mortgage insurance and homeowner's insurance premiums.




                          • !:ll!.l!l!;. If you currenUy use a third party bill pay service to make automatic payment:;;, pleas"' update the amount
                            iC:heduled tor submission In Janu<~ry to reflectth.. nliw psyment listed above. Hyou are ourren~y set up on ACH
                            draft wtth RoundPoint, this new amount will automatically !<!Ike effect with your January draft.
              The amount we collect each month to be held in your escrow account may change based on increases or decreases
              to your escrowed ~ems including property taxes, mortgage insurance and homeowner's insurance premiums. The
              Information below compares the amounts Round Point expected to pay for each item this past year from your escrow
              account to the actual amounts that were paid .. The difference column reflects the increase or decrease for each
              escrowed item •

'•   . '"•"    . . _. -·--i    I
                                           COUNTY TAX
                                           HAZARD INS
                                                                                                                      NIA
                                                                                                                      N/A
                                                                                                                                        $2,606.50
                                                                                                                                        $1,4!19.00
                                                                                                                                                                  $2,606.50
                                                                                                                                                                  $1,469.00
                                                                                                                                                                                    ~
                                                                                                                                                                                    i<
                               'I          MORTGAGE INS                                                               N/A               $1,984.64                 $1,964.64         ~
                                           Total Annual Escrow Paymonts                                       116,030.16                $6,040.14                 $1 ,006.98        ~
                               \           Monthly Escrow Payments                                               $419.18                  $503.35                     $84.17        ~
                                '                                                                                                                                                  a
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              According to the proiectlons shown in Table 1 on the reverse side, your escrow account will fall below the minimum
              required balance of $679.26 in July. This means you have a sbortaae of $640.20 in your escrow account.



                               ProJected Low Escrow Balance                                Allowable I..I)W Escrow Balance                                 Shonage
                                                 $39.06                         minus                     $679.26                      equals                 ($640.20)



                                                                                 PLAINTIFF'S
                                                                                   EXHIBIT
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                                                                                              16
          MELCINA BLAt'lTON                                                               l 0 I ZD               Loan Number:~~
                                                                                             NEW PAYMENT EFFECTIVE DATE: January 01 2014                  1

                                          ESCROW ACCOUNT PROJECTIONS AND ACTIVI'fV HISTORY
        Table 1 shows a month by month estimate of the activity we anticipate will occur in your escrow account over the next 12
        months. This tsble sho'ws the projeoled low balance point that is used to calculate an escrow shortage or surplus. Table 2
        itemizes your actual escrow account transactions since your previous analysis statement or initial disclosure. Last year's
        estimates are next to the actual activity.

        Tllli!~li: l • 8QQQ!.!ffi EBQJE:QIIQI'.lS
                                                Payments                    Disbursements              Totsl                Minimum
            M9Jl!!1        ~scrletlcn           Es1lll!l!ll!                Estjmatf                   DIIIDGI              Blll!ulwl       Dlffere:DJ;~

                         ~lni:alance                                                                   $1,737.15
            January           G EINS                503.35                     183.72                   2,076.78              679.28          1,397.52
            February      MORTGAGe INS              503.35                     163.72                   2,416.41              619.26          1,737.15
            February       COUNTY TAX                 0.00                   1,4>16.62                    989.79              679.26            310$!
            Manlh          MOR'l'GAGE INS           503.35                     163.72                   1,329.42              679.26            650.16
            Ap~l           MORTGAGE INS             503.35                     163.72                   1,8a9.0S              679.26            989.79
            May            MORTGAGE INS             503.35                     1e3.12                   2,ooa.ea              679.26          1,329.4>1
            June           MORTGAGe INS             503.35                     163.72                   2,348.31              679.26          1,669.05
            June           HAZARD INS                 o.oo                   1,489.00                     879.51              679.26            200.05
            July           MORTGAGE INS             503.36                     163.72                   1.218.94              619.26           639.68
        -Jury .           COUNTYIJIX                  0:00                   1,179.ea                      ~.0\i              li7Ut1    -      +l0:111     b-

            August         MORTGAGE INS             503.35                     158.72                     379.89              619.26           -300.57
            September      MORTGAGE INS             505.35                     183.72                     718.32              879.28             39.06
            October        MORTGAGE INS             ~03.35                     163.72                   1,057.95              619.26            578.69
            November       MORTGAGE INS             503.36                     163.72                   1,397.58              619.26            718.32
            Dacambsr       MORTGAGE INS             503.35                     163.72                   1,737.21              87ll.26         1,057.95

       ..Low Balance used to determine llllOrow shorta~ or surplus. The Escrow Account Balance displays the amount actuall)l required 10 be
       on hand all specified by Federal law, state law ani! your mortgage documents, and may include a cushion of up Ia 116th of the scheduled
       escrowed disbursements. The cushion helps minimiZe tile amount your eo;crow acccunt cauld be overdrawn if tax or insurance payments
       Increase.

       TAB! E 2- ESCBQW AQDVI'N HISTQRY
                                                      Payments                Disbursements            Total
            Month         Dewiptign             Estimate    Al:!!.!!![      Estimate   Ac.twd          Balance
            Hls1Dry      Beginning Balance                                                                 $0.00
            November      MORTGAGE INS                0.00     1,481.89 E          o.oo     163.72 E    1,317.97
            Oecamber                                  o.oo       419.18 E          0.00       0.00 E    1,7::!7.15
                                      •
       An asterisk (') indicate$ 11 difference between the estimated and actual psymE~nts and disbursements. The Ieifer E lleside an amount
       indicates that the payment or disbu....,ment has not yet occurred b\11 is estimated to occur as shown.
       RoundPolnt appreciates your business. If you have questions regarding this statement or if we can be of further assislant:t1 please
       call us at 1377426-B805. our offroes are open Monday through Friday 8:00a.m. to 10:00 p.m. and SatUrday tram a:oo a.m. to 12:00
       p.m. Eastern lime.                                                                                            .. ·          ·-.




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                ROUNDPOINT                                                                     Mortgage Statement
                MORTGAGE SERVICING CORPORATION
                                                                                               Statement Date: 12/10/2013
               5032 Parkway Plaza Blvd
               Charlotte, NC 28217
                                                                         '-1.J      Online Information: http://www.rpmservlclnq.coml
                                                                                    Click '~ccess My Account"



                                                                           I        Telephone: 877-426-8805


                                                                                    Fax: 877-776-1112
           llllllllllllllllllllllllllll   002537
           MELCINA BLANTON
           7727 S BENNETT
           CHICAGO IL 60649                                                         RoundPoint Mortgage Servicing Corporation
                                                                                    POBox 19409
                                                                                    Charlotte, NC 28219-9409




                                                                               and·rnffirest    ~                         ····~-$6os:S3
                                                                      Escrow                                                        $556.70
                                                                      Other                                                           $0.00
Loan ""'mo1.r                                                 641        Regular Monthly Payment                                  $1,166.53
Payment Due Date                                        01/01/14      Unpaid Late Charges                                             $0.00
Amount Due                                            $1,166.53       Other Charges and Fees                                          $0.00
Outstanding Principal                                $97,934.73       Past Due Payment(s)                                             $0.00
                                                                         Total Amount Due                                         $1,166.53
Interest Rate                                            5.750%       Suspense Balance                                                $0.00
Escrow Balance                                         $1 ,73'(, 13




                                                   Last Payment       Thank you for your continued business with Round Point
                                                                      Mortgage Servicing Corporation. If we can be of further
   Principal & Interest                                 $609.83
                                                                      assistance please do not hesitate to call us at
                                                                      877-426-8805. Our offices are open Monday through Friday
   Escrow                                               $419.17       from 8:00 a.m. to 10:00 p.m. and Saturday from 8:00a.m. to
                                                                      12:00 p.m. Eastern Time.
   Other                                                   $0.00
                                                                      See Reverse Side for Important Information and Addresses.
   Fees                                                    $0.00

   Total                                              $1,029.00
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                                                                                                    DISCLOSURE STATEMENT
                 I' 0 8QI( 19409                                                      Analysis Date:
                 Charlotte, NC 28219·9409                                                                                                 oV19114
                                                                                      Loan Number.                                    7        641
                                                                                      Mortgagor Name:                           MELCINA BlANTON
-                                                                                     Customer Service:
                                                                                      Fa>C:
                                                                                                                                    877 42lHI80I
                                                                                                                                    877 770.1111




              -
                                                                                      Online Account Aocass:                www r:pmpmytctng&nrr

              MELCINA BLANTON
              7727SBENNETT
              CHICAGO       IL 60649




· .. ··· ···RQunfW~g&-SeFYilillAg-Gorparation-{ROI:IREIPoi~) reviews yeur esBIO'.v accGlfflt aAI'It~ally to-detemdne Jl!ltlliiEIW
          monthly escrow payment. A$ you may know, we collect funds and hOld them,i!l your escrow account to pay escrowed items
          Including property taxes, mortgage insurance and homeowne~s insUianoe prem1ums.

      The amount of your new monthl                  a ment startln March 01, 2014:
                            PavmMt Items                                Currant Payment       New Payment        Dl!ference
                            Principal and Interest                              $609.83           $609.83             $0.00
                            Eecmw                                                503.35            422.07            ·81.28
                            Shortago/SUrplus                                      53.35                31.25         ·22.10
                            TO!al Payment                                     $1,166.53          $1,063.15         -$1011.38




                            HAZARD INS
                            MORTGAGE IN$
                            Tolal AnnUGI Escrow Payment$
                            Monthly E$GI'OW Payments
                      \.
     According to the projections shown In Table 1 on the reverse side, your escrow account will fall below the minimum
     required balance of $680.42 In July. This means you have a J!hprtage of $375.02 In your escrow account.




                      Projactad Low Escrow Balance                 Allowable Low Escrow Balance                Shortase
                                   $305.40            minus                $68Q.42            equals            ($375.02)




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I           . : MELCINA BLANTON                                                                 f S/2 1'!(
                                                                                                 . LQlln Number:       641
                                                                                NEW PAYMENT. EFFECTIVE DATE: March 01,2014
                                                  ESCROW ACCOUNT PROJECTIONS AND ACTIVITY HISTORY
            · ·Tabla•1 ShOW$ a month by month estlmata of the activity we anticipate will occur in your escrow account over the next 12
             ·.!JlorJ!hs. This table shOws the projected low balance point that Is used to calculate an escrow shortage or surplus. Table 2
              itemiZSs your actual escrow account transactions since your prsvious analysis statement or initial disclosure. Last yaa~s
              estimates are next to the actual acllvlty.

                TABLE l • ACCQUNI E!BQ.IEQIIQI':lS
                                                         Paymems                     DiSbUIS$menls                              Total          Minimum



                    -
                    Mlmll1          ;clarJQ11gn              Estlma!a                  E&tima!a                                  Balan a       BllSIYia:rt    DiffiDUICI
                                   Beginning Balance                                                                             $1,253.23
                                    MORTGAGE INS               422.07                         81.86                               1,593.44         880.42         913.02
                    April           MORTGAGE INS               422.07                         81.86                               1,9$1.85         880.42       1,253.23
                    May             MORTGAGE INS               422.07                         81.86                               2,273.86         BBOA2        1,593.44
                    Juns            MORTGAGE! INS              422.07                         81.86                               2,814.07         880.42       1,933.85
                    Juns            HAZARD INS                    o.oo                     1,489.00                               1,146.07         680.42         464.66
                    July            MORTGAilEi INS             422.07                         81.86                               1,485.28         880.42         804.86
                    July            COUNlYTAX                    0.00                      1,179.88                                 305.40         680.42        -375.02 ..
                    August          MORTGAGE INS               422.07                         81.66                                  845.61        880.42         -34.81
                    Saptarrbor,_    MORTGAGE INS       ...     422.07                         81 .ljij                               985.8a        !11!0.42       305.40
                    Octooar         MORT~GEINS                 ''122.d7'                      81.86                             "' 1,326.03        680.42         646.111"
                    Novambar        MORTGAGE INS               422.07                         61.86                                1,666.24        880.42         985.62
                    Decembar        MORTGAGE INS               422.07                         81.86                                2,006A5         880.42       1,326.03
                    January         MORTGAGE INS               422.07                         81.86                               2,346.86         860.42       1,886.24
                    Fabruary        MORTGAGE INS               422.07                         81.86                               2,886.87         860.42       2,006.45
                    Febru&Jy        COUNTY TAX                   0.00                      1,433.86                               1,1!53.28        680.42         571!.87

                ••Low Balance used to dstennine escrow shortage or surplus. The Escrow Account Ba.lanee displays the amount act\iaiiY required to be
                .on hand as specified by Federal law, state law anCI your mortgage document&, and may Include a cushion of up to 1/61h of the scheduled
                escrowed disbursements. The cushion helps minimiZe the amount your escrow account oould be overdrawn Hlex or insurance payments
            ·increase.
                IABI,E 2 - ESOBQW ACTIVITY HISTQRY
                                                               Payments                  Disbursements                          Total
                    .Ml!nth        Pucriatipn            El!!!mate  M!!!!!!            Estimate   A!l!Jm!                       B!!!lanca
                    History        Beginning Balance                                                                             $1,655.27
                    ~              MORTGAGE INS                503.35          0.00 •   163.72                   81.86 '          1,573.41
                    Feb!U!IJY      MORTGAGE INS                503.35      1,113.40 E 163.72                      0.00 E          2,686.81
                    FebruaJY       COUNlYTAX                     0.00          0.00   1,426.62                    0.00 '          2.686.81
                    FabruaJY       COUNTYTAX                     0.00          0.00       0.00              1,433.58 '            1,25S.23

                An asterisk (") lndloales a differei'I08 between 1he estimated and actual payments and d't:Sbursements. The letter E beside an amount
                indicates thai the payment or disbursement has net yet oocurred but is estimated to occur as shewn.
                RoundPoint appreciates ¥f.~{ business. If you have questions regarding this statemant or if we can be of further assistance please
                call us at m.42e-8S05.          offlc.es are open Monday 1hrougb Friday s:pp a.m. to 10:QQ. p.m. and Saturday from 8:00 a.m. to 12:00
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                                 MELCINA BLANTON
                            7727 south Bennett Avenue
                                Chicago, IL 60649



April 12, 2014                                             Reference: 1001138641



ROUNDPOINT MORTGAGE SERVICING CORP
P.O.Box 19409
Charlotte, NC 28219
                                                           Sent Certified Mail

Attention: Michael French


                       MELCINA BLANTON LETTER OF DISPUTE


Dear Roundpoint Mortgage:

I, Melcina Blanton duly hereby dispute Roundpoint "Notice of
Default and Payment Due and Late Charges" For Cause:

~AllPayment'(s )<Obligations due to date under the above referenced
account number under which Roundpoint is claiming default are
fully paid to date on time by J.P. Morgan Ct)ase.

Bank Receipts of Timely Payments of All Amounts Due to Date
to Roundpoint are Concrete Proof of Evidence In-Fact and
In-~

WHEREFORE, Default and Payment Due and any Additional Amount
claimed by Roundpoint are False and Fraud and has no Merit
In-Fact and In-Law.




                                                                        PLAINTIFF'S
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                          ROUNDPOINT
                          MORTGAGE SERVICING CORPORATION



           May7, 2014


           Melcina Blanton
           7727 S. Bennett
           Chicago, IL 60649



           Loan:              --641
           Property:          7727 S. BennettrChlcago, IL 60649 ·


            Dear Melcina Blanton:

           Thank you for contacting RoundPoint. We received your letter on Apri123, 2014 and appreciate
           the OpJ?Ortunity to address your concerns regarding account numben        641. You state the
           delinquency notice is incorrect as all payments have been made.

           Our records indicate the account is due for the February 1, 2014 payment, as well as all
           subsequent payments and fees associated with the delinquency. As of the date of this letter, the
           net amount due on the loan is $3,569-40. This amount includes four monthly payments totaling
           $4,355.98, late fees totaling $121.96, less funds currently in suspense in the amount of $908.54.

           Enclosed are copies of payment histories from both your prior servicer and RoundPoint. If your
           records differ from the histories provided, please submit documentation regarding any
           payments you believe have not been credited. Applicable documentation includes copies of
           cancelled cllecl<s (front and back), bank statements reflecting payments by phone, or automatic
           bill pay documentation. These documents contain the information supporting our
           determination that there has been no error on the account.

            Our commitment at RoundPoint is to help each of our customers reach the best resolution in
          · ~their.unique circumstances. Our Loss Mitigation team is here to help. Your Portfolio Specialist,
,~-··-··· ··ezystat'l>ateast, is eager to discuss options that niay suit your situation. Feel free t6~cori'tact her
             directly at (704) 839-5042 or by email at Crystal.Bateast@RoundPointMortgage.com. She is
            available Monday through Friday from S:oo a.m. until5:oo p.m. Eastern Time.

           S'ncerely,




           Jeffrey P. Martin
           Assistant Vice President
           RoundPoint Mortgage Servicing Corp:;ioilrlialjti~oiin~lll!!!!l!l!!!!l.!!lll..
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                                                      LAW OFFICES

                                                      15W030 North Frontage Road
                                                      Suite 100
                                                      Burr Ridge, Illinois 60527

      CODILIS & ASSOCIATES, P.C.                      P: (630) 794-5300 I FAX; (630) 568-4999
          ILLINOIS                                    E-mail: fdcpa@il.cslegal.com




                                                         June 20,2014
Me!cina Blanton
7727 S. Bennett Avenue
Chicago, IL 60649


RE:    Loan Number:             to"'IJI"'IJJ8641
                                    lrrrfflm
       Property Address:        7727 S. Bennett Avenue
                                Chicago, IL 60649
        C&A File Number:        14-14-11747

NOTICE PURSUANT TO FAIR DEBT COLLECTION PRACTICES ACT

Please be advised that your account has been referred to our firm for the institution of foreclosure
proceedings against 7727 S. Bennett Avenue, Chicago, IL 60649. Our firm is attempting to collect
the debt that you owe the present creditor and any information we obtain will be used for that
purpose.

In accordance with the above Act, you are hereby notified of the following information:

1. The amount of the debt: As of the date of this letter, you owe $99,913.01. Because ofinterest,
late charges, and other charges that may vary from day to day, the amount due on the day you pay
may be greater. Hence, if you pay the amount shown above, an adjustment may be necessary after
we receive your check, in which event we will inform you before depositing the check for
collection. For further information, write the undersigned or call (630) 794-5300.

2. The name of the creditor to whom the debt is owed: Roundpoint Mortgage Servicing
Corporation.

3. Federal law gives you thirty (30) days after you receive this letter to dispute the validity of the
debt or any part of it. If you don't dispute it within that period, our firm will assume that it is valid.

                                          PLAINTIFF'S


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   •
. 4. If you notify us in writing within thirty (30) days after receipt of this Notice that the debt or any
  portion thereof is disputed, we will obtain and mail you proof of the debt.

 S. Also, if within the same 30 day period, you request in writing the name and address of the
 original creditor, if different from the current creditor, we will furnish that information too.

6. The law does not require us to wait until the end of the thirty (30) day period before filing a
foreclosure proceeding. If, however, you request proof of the debt or the name and address of the
original creditor within the thirty (30) day period that begins with your receipt of this letter, the law
requires us to suspend our efforts (through litigation or otherwise) to collect the debt until we mail
the requested information to you.




                                                                   SSO IATES, P.C.




 C&ANo.                  14-14-11747                                                           Joer Fonferko
 Client Loan No.        NH!IN!!Jf8641


 NOTE: PURSUANT TO THE FAIR DEBT COLLECTION PRACTICES ACT YOU ARE
 ADVISED THAT TIDS LAW FIRM IS DEEMED TO BE A DEBT COLLECTOR
 ATTEMPTING TO COLLECT A DEBT, AND ANY INFORMATION OBTAINED WILL
 BE USED FOR THAT PURPOSE.
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     ROUNDPOINT
     MORTGAGE SERVICING CORPORATION



MELCINA BLANTON                                                  6/11/2014
77275 BENNETT
CHICAGO, IL 60649                                                Reference: . . .i&!l641




Dear MELCINA BLANTON:

Your mortgage payment is now 60 days or more past due and your loan may be referred to            TO RECEIVE HELP WITH
foreclosure. We have tried to contact you previously to make you aware of the foreclosure
prevention options that may be available to you- in case you are unable to bring your             YOUR MORTGAGE, YOU
payments current.                                                                                     MUST ACT BY:

We Are Here to Help You                                                                                 7/11/2014!
It is critical that you work with us on a resolution for any issues that affect your ability to
make timely mortgage payments, whether your challenges are temporary or long term. The
sooner you respond, the more quickly we can determine whether you qualify for                     l.See the instructions on the
assistance.                                                                                         Homeowner Checklist
                                                                                                  2.Review:
Options May Be Available
The right option for you depends on your individual circumstances. If you provide all               • Avoiding Foreclosure
required information and documentation about your situation, we can determine if you                • Frequently Asked
qualify for temporary or long-term relief, including solutions that may allow you to stay in          Questions
your home (refinance, repayment, forbearance, loan modification) or leave your home                 • Beware of Foreclosure
while avoiding foreclosure (short sale or deed-in-lieu of foreclosure).                               Rescue Scams
                                                                                                  3.Submit required Borrower
For more details, please see the attachment on Avoiding Foreclosure.                                Response Package:
                                                                                                    • Uniform Borrower
Send Us the Information We Need to Help You                                                           Assistance Form
Requesting help is the first step. Start by providing information and documentation to help           (Borrower Assistance
us understand the challenges you are facing. To do this, follow the detailed instructions on          Form) (attached)
the attached Homeowner Checklist to complete and submit your Borrower Response                      • Income documentation
Package to us.                                                                                        (described on Borrower
                                                                                                      Assistance Form)
Once we have received and evaluated your information, we will contact you regarding your
                                                                                                    • Hardship documentation
options and next steps.
                                                                                                      (described on Borrower
                                                                                                      Assistance Form)
Learn More and Act Now
                                                                                                    • IRS Form 4506-T
For more information, please see the Frequently Asked Questions and other information
                                                                                                      (attached)
provided with this letter. If you need assistance, contact me directly at 980-258-6130. If I
                                                                                                    • HAMP Government
am unavailable, please contact our Customer Service Department at 877-426-8805.
                                                                                                      Monitoring Data Form
Remember, you need to take action by completing and returning the entire Borrower
Response Package by 7/11/2014.                                                                    If you need assistance,
Sincerely,
                                                                                                  contact us immediately
                                                                                                            at:
MARIANNE ZIEGLER
980-258-6130                                                                                           980-258-6130
Loss Mitigation Department                              PLAINTIFF'S
Round Point Mortgage Servicing Corporation                EXHIBIT

                                                           ·~
Fannie Mae Borrower Solicitation Letter                  Page lof6                                                June 2011
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         ROUNDPOINT
07/10/2014

MELCINA BLANTON
7727 S BENNETT                                                   Loan#: .--8641
CHICAGO, IL 60649                                               Property: 77278 BENNETT
                                                                          CHICAGO, IL 60649

Dear MELCINA BLANTON ,

Based on a careful review of your Mortgage account, we are offering you an opportunity to enter into a Trial
Period Plan for a mortgage modification. This is the first step toward qualifying for more affordable mortgage
payments or more manageable terms. It is important that you read this information in its entirety so that you
completely understand the actions you need to take to successfully complete the Trial Period Plan to
permanently modify your mortgage.

Proposed Modification Terms
If you successfully complete the Trial Period Plan by making the required payments, you will receive a
modification with an interest rate of 4.625%, which will be fixed for 40 years from the date the
modification is effective. If we determine that the unpaid balance of your Mortgage is more than 115% of
the value of your home, you will be eligible to have up to 30% of your principal balance deferred, and the
deferred amount will not be subject to any interest rate charges. Moreover, the deferred principal amount
will not be due and payable until the earlier of (i) the end of the 40-year term of the modified mortgage, (ii)
any sale or transfer of your interest in the property, or (iii) a refinance of your mortgage loan.


Proposed Modification Terms
If you successfully complete the Trial Period Plan by making the required payments, you will receive a
modification with an interest rate of 4.625%, which will be fixed for 40 years from the date the
modification is effective.. If we determine that the unpaid balance of your Mortgage Is more than 115% of
the value of your home, you will be eligible to have up to 30% of your principal balance deferred, and the
deferred amount will not be subject to any interest rate charges. Moreover, the deferred principal amount
will not be due and payable until the earlier of (i) the end of the 40-year term of the modified mortgage, (ii)
any sale or transfer of your interest in the property, or (iii) a refinance of your mortgage loan.

To Suspend Foreclosure
We will delay referring your mortgage to foreclosure, or if your loan has been referred to foreclosure, we
will suspend any foreclosure proceedings until 07/24/2014. You must contact us at or In writing at the
address provided below to Indicate your Intent to accept this offer no later than 07/24/2014. You may also
make your first payment, described below, by 07/24/2014 to accept this offer.

If you contact us by 07/24/2014 to indicate your intent to accept this offer, we will not refer your loan to
foreclosure, or if your loan has been re.ferred to foreclosure, we will suspend the next legal action in the
foreclosure proceedings. Please Call , at if you have any questions about any of the above information.
However, if you do not respond by 07/24/2014, foreclosure proceedings may continue, and a foreclosure
sal.e may occur. This offer will be revoked if a foreclosure sale occurs, even if the sale occurs prior to the
first payment due date set forth below.

To Accept This Offer
You must make your first trial period payment by 08/01/2014. If you fail to make the first trial period
payment by 08/01/2014 and we do not receive the payment by the last day of the month in which It Is due,
this offer has been revoked and foreclosure proceedings may continue and a foreclosure sale may occur.

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              ROUNDPOINT
              MORTCi,i,GE' !ifrtVICING C:OIIPORATIPH


   MELCINA BLANTON                                                  07/10/2014
   77275 BENNETT                                                    Reference:-•11'8641

   CHICAGO, IL 60649


   Dear MELCINA BLANTON:


   Avoid Foreclosure - Act Now
   Your mortgage is seriously delinquent. We've tried to contact you to discuss the
   foreclosure prevention options available to you, but your time to act is running out. To
   avoid foreclosure, you must contact us.


   Option 1: Stay in Your Home
   You're approved for a Trial Period Plan to modify your mortgage payment (see
   attached). During the Trial Period, you will be required to make three monthly payments
   In the amount of $772.12 each. •                                                                 Contact a member of
                                                                                                    our customer support
   If you follow the terms of the attached Trial Period Plan, your loan will be permanently
   modified. Please call me at 877-426-8805 by 07/24/2014 to confirm your participation and         team at to ask
   for directions on how to mail your first Trial Period Plan payment. To stay in your home and     questions and discuss
   avoid foreclosure, you must contact us right away or send us your Trial Period Plan payment.
                                                                                                    these foreclosure
   *Once you start your Trial Period Plan, we may be able to offer you a mortgage modification      prevention options or
   under Federal Home Affordable Modification Program (HAMP) with a lower monthly
   payment. To see if you qualify, you must submit a complete Borrower Response Package no          to obtain a copy of a
   later than 10/01/2014 . If you have already submitted your Borrower Response Package,            Borrower Response
   we'll evaluate you for a foreclosure prevention option, including the HAMP modification. In
   the meantime, you are encouraged to participate in this Trial Period Plan for a mortgage         Package.
   modification.
                                                                                                    To obtain a coov of a
   Option 2: Leave Your Home and Avoid Foreclosure
   If you are unable or unwilling to pay the monthly payment listed above, you have two options to avoid
   foreclosure-short sale or Mortgage Release "'. You can still avoid the financial and emotional impacts of
   foreclosure, but you must contact us now.


   Contact Us
   We want to help you. Call us today If you would like to discuss these options. If you do not respond by 07/24/2014
   foreclosure actions on your home will continue.

   Sincerely,
   RoundPoint Mortgage Servicing Corporation

   Remember, you must respond by 07/24/2014




Fannie Mae Borrower Solicitation Letter-               Pagel of 1                                  February 2012
150 Days Delinquent
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0 ROUNDPOINTMORTGAGE HRVICIN() CORPORATIO"
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8/15/2014

                                                                     Loan Number:
         MELClNA BLANTON                                             -~641
                                                                     Property Address:
         7727 S BENNETT                                              77278 BENNETI
         CJ:UCAGO.. IL. 60649                                        CHICAGO, IL 60649


Dear MELC!NA BLANTON:

                       NOTICE OF DEFAULT A1'm INTENt TO ACCELERAtE

RoundPoint Mortgage Servicing Corporation (herein as "RoundPoint") is currently servicing your Mortgage
Loan that is secured by tbe above referenced property. You are hereby fonnally notified that the mortgage
loan associated with tbe referenced Deed of Trust/Mortgage is in default for failure to pay amounts due.

The loan is due for 5/l/2014 and subsequent payments, plus late chatges, fees and costs. As of today, the total
delinquency and reimtatement amount is $4,440.22, which consists of the following;

        Ne~t Payment Due Date                                                                              5/1/2014
        Current Monthly Payment                                                                           $1,063.15
        Total Monthly Payments Due                                                                        $4,25,2.60
        Late Charges                                                                                          $,213.43
        Other Charges:        Uncollected NSF Fees:                                                              $0.00
                            -·-~~s:· ·-·-·                                                                       $0.Q(f".
                              Corporate Advance Balance:                                                      $150.00
                              Partial Payment Balance:                                                        -$175.81

        TOTAL YOUMUSTPAYTOCUR!lDEFAULT:                                                                   $4,440.22

lt is possible that after payment of the amounts detailed above there may be other fees still due and
owing, including but not limited to other fees, escrow advances or corporate advances that RoundPoint
Mortgage Servicing Corporatlon paid on your behalf or advanced to your account.

This letter is a formal demand to pay $4,440.22. Jf the default, together with additional payments that
subsequently become due, is not cured by 9/14/2014, Roundl'oint may take steps to terminate YOill' ownership
in tbe property by a foreclosure proceeding or other action to seize the property.

IF YOU ARE UNABLE TO BRJNG YOUR ACCOUNT CURRENT, RoundPoint offers consumer assistance
programs designed to help resolve delinquencies and avoid FORECLOSURE. These services are provided
without cost to our customers. You may be eligible for a loan workout plan or other similar situation. If you
would like to learn more about these programs, you may contact the Loss Mitigation Department at 877-426-
8805. WE ARE VERY INTERESTED IN ASSISTING YOU.


                                             PLAINTIFF'S
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                      P.0. Box 19409 I Chartottr:, North ~rQUna 28219~9409 I 877-426-8805 I NML.S IOU 16168
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                                                                                          Calendar Number 60
                        lN THE CIRCUIT COURT OF COOK COUNTY, ILLfNOlS
                           COUNTY DEPARTMENT- CHANCERY DIV!SJON

    RoundPoint Mortgage Servicing Corporation
                                 PLAfNTIFF

                             Ys.
                                                                       No. 14 CH 012508
    Melcina Blanton; City of Chicago; Unknown Owners and
    Nonrecord Claimants
                                   DEFENDANTS                         7727 S. Bennett Avenue
                                                                      Chicago, 1L 60649

                                          DrSMISSAL ORDER

THE ABOVE CAUSE coming on to be heard on Plaintiffs Motion to Dismiss, the Court being advised that
no Judgmenrfor Foreclosure and Sale has been entered in this case, and the Court being fully advised in the
premises;

IT IS HEREBY ORDERED that:

        1. Plaintiff's Complaint to Foreclose Mortgage is hereby dismissed without prejudice, and without

        further cost;

        2. Case Management Dates of 09/29114 is stricken.




                                             DATED:

Codilis & Associates, P.C.
Attorneys for Plaintiff
15W030 North Frontage Road, Suite I00
Burr Ridge, IL 60527                                              ~Michael T. MUllen
(630) 794-5300
 Cook #21762                                                           AUG 2 7101 4
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Locke                                                                                                  111 South Wacker Drive
                                                                                                            Chicago, IL 60606


 Lord"p
                                                                                                     Telephone: 312-443-0700
                                                                                                           Fax: 312-443·0336
                                                                                                           www.lockelord.com

                                                                                                               Courtney Nagar
 Attorneys & Counselors                                                                       Direct Telephone: 312-443-17i5
                                                                                                     Direct Fax: 312-896-6798
                                                                                                        cnogar@lockelord.com




 October 20, 2014

 VIA CERTIFIED MAIL. RETURN RECEIPT REQUESTED & FIRST CLASS U.S. MAIL

 Melcina Blanton
 7727 South Bennett Avenue
 Chicago, Illinois 60649

 Re:         Borrower: Melcina Blanton
             Property Address: 7727 South Bennett Avenue, Chicago, Illinois 60649
             Loan Number:           641
             Case Number: 2014-M1-136678, Circuit Court of Cook County, Illinois

 Dear Mr. Blanton:

          As you know, we represent RoundPoint Mortgage Servicing Corporation in connection
 with the dispute over your above-referenced mortgage loan. This letter follows your letter dated
 September 8, 2014, as well as our initial response dated September 17, 2014. Please note that
 we have previously advised you that all communications to RoundPoint should be sent to us at
 the following address: Cowtney Nagar, Locke Lord LLP, 111 South Wacker Drive, Chicago,
 Illinois 60606. Please do not directly contact RoundPoint about your mortgage loan until the
 litigation is resolved. Additionally, we note that your letter is not a qualified written request,
 notice of error, or request for information as those terms are defined under the Real Estate
 Settlement Procedures Act (RESPA) and related regulations because your letter was not sent to
 the correct address for such correspondence, it does not include a statement of the reasons for
 your belief that the account is in error or provide sufficient detail regarding other information you
 are seeking, and because it was sent in the context of a pending lawsuit. As a result,
 RoundPoint is net legally required to respond to your September 8 letter.

        Even though it is not legally required to respond, Round Point takes this matter seriously
 and has investigated your loan account to ensure that no error has occurred. For your
 reference and convenience, attached are copies of (1) your Note, (2) your Mortgage, (3) a
 payment history for your loan account, (4) a screenshot from the Cook County Treasurer's
 website, and (5) an invoice from SafeCo Insurance.

            Here are the results of our investigation:

         The payment history for your loan account shows that on February 11, 2014,
 RoundPoint paid $1,433.58 to the Cook County Treasurer for the first installment of your 2013
 real estate taxes. The payment was refunded on April 22, 2014; however, because the taxes
 had already been paid on February 4, 2014, as reflected on the enclosed screenshot from the
                                                      PLAINTIFF'S
 Atlanta, Austin, Chicago, Dclllaa. Hong Kong,   \1     EXHIBIT     Orleans, New York, Sacramento, San Francisco, Washington DC

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Melcina Blanton
October 20, 2014
Page2

Cook County Treasurer's website. It therefore appears that you paid the first installment of your
2013 real estate taxes directly to the Cook County Treasurer before RoundPoint paid them on
your behalf in February 2014. Both payments were timely as the tax payment was not due until
March 4, 2014.

         As you know, your monthly mortgage payment includes amounts to be held in escrow for
the payment of your real estate taxes. Section 3 of your Mortgage states that you are required
to pay to your Lender (through RoundPoint as servicer) monthly payments that include amounts
due for taxes and assessments. Therefore, there was no need for you to pay the first
installment of your 2013 real estate taxes directly to the Cook County Treasurer. Nevertheless,
the full amount refunded by the Cook County Treasurer has been deposited back into your
escrow account for the payment of future expenses. As a result, you have not been charged
any more than what you would have been charged had your taxes not been paid twice.

       Separately, although also related to your escrow account, RoundPoint received the
enclosed property insurance invoice in the amount of $1,644.00 from SafeCo on June 24, 2014.
The payment history for your loan account shows that RoundPoint paid the invoice out of your
escrow on that date. Subsequently, on or about June 26, 2014, you changed the hazard
insurance carrier to Uberty Mutual by paying their premium for insurance. As RoundPoint had
already paid for insurance effective until June 26, 2015, it was under no obligation to pay for or
reimburse you for the second policy. It was and remains your obligation to cancel the SafeCo
insurance policy if you feel it is no longer necessary.

       We hope this letter resolves your questions about your mortgage loan account. We
have reviewed the matter thoroughly to confirm that the debt is valid and that no errors have
occurred. If you still have questions or concerns, please contact us.



        LORD LLP
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                               MELCINA BLANTON
                          7727 South Bennett Avenue
                              Chicago, IL 60649


                                                         9/8/2014

RONDPOINT MORTGAGE SERVICING CORP
5032 Parkway Plaza Blvd, Suite 100
Charlotte, North Carolina 28217
                                                     Loan No.           8641


I/We hereby duly DISPUTE the Dollar Amounts and Contents of
MORTGAGE STATEMENTS AND BILLING STATEMENTS dated 8/8/2014 and
8/15/2014 and 8/18/2014 respectively; marked "EXHIBIT A-1 and
A-2"; 11 EXHIBIT B-1 and B-2''; ''EXHIBIT C" attached hereto and
made a part hereof.


ROUNDPOINT, a Debt Collector is hereby advised to Self correct
its Fraudulent Billings and predatory crooked and unscrupulous
business practices. Debt Collector Roundpoint must present the
Lawful Monthly Mortgage Payment from 1/1/2014 through to
12/30/2014 by September 22, 2014. Failure of Roundpoint to Act,
ILLINIOS STATE COURT Shall impose Monthly Mortgage Payment Amount
from 1/1/2014 through to 12/30/2014; and also for Fiscal Year
2015 Binding on Mortgagee and Mortgagor, and bring Debt Collector
Fraudulent Billings and statements to a Grinding Halt. See
Melcina Blanton VS Roundpoint, "EXHIBIT D" attached hereto and
made a part hereof.




                                   EXHIBIT
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                                Melcina Blanton
                           7727 South Bennett Avenue
                               Chicago, IL 60649

                                 Certified Mail 7008 0500 0000 7398 5538

  To: Roundpoint Mtg Serv Corp
      P.O.Box 19789
      Charlotte, NC 28219                       Acct # --188641


                        Notice of October 2014 Payment~.

  Check # 1858 and Check # 1859 for the Month of october Loan
  Payment obligations is hereby sent to you for the above
  Account Number; Via u.s. Certified Mail 70080500000073985538
  As of this date, Roundpoint did not send Month of October 2014
  Statement. Why?
 Further, Payment for the Month of September was sent to
 Roundpoint in a timely manner but Roundpoint held on to the
 Checks and posted the checks late into the Account to make it
 look as if payment was late so that Roundpoint can fabricate
 bogus late charges.




                                 PLAINTIFF'S
                             ~     EXHIBIT
                                 ~"2.='--
            Case:
             Case:1:15-cv-03156
                   1:15-cv-03156Document
                                 Document#:#:219 Filed:
                                              73-22     10/25/18
                                                     Filed:      Page
                                                            07/27/16   92 of
                                                                     Page    131
                                                                          1 of   PageID #:547
                                                                               1 PageID #:1790


lW   Locke                                                                                                             111 South Wacker Onve
                                                                                                                            Chicago, !L 60606
                                                                                                                     Telephone 312-443-0700


     Lord""
      Attorneys & Counselors
                                                                                                                           Fax 312~443~0336
                                                                                                                            vlww lockelord_com

                                                                                                                              Courtney Noga~
                                                                                                              Direct Telephone: 312-443-1775
                                                                                                                     Dimct Fax: 312·8915-(1798
                                                                                                                       cnogar@iockeloicL corn




      November 18, 2014

     VIA FEDERAL EXPRESS

      Mr. Melcina Blanton
      7727 South Bennett Avenue
      Chicago, Illinois 60649

      Re:       Property Address: 7727 South Bennett Avenue, Chicago, Illinois 60649
                Loan Number:        ?8641
                Case Number: 2014-M1-136678, Circuit Court of Cook County, Illinois

      Dear Mr. Blanton:

     As you know, we represent RoundPoint Mortgage Servicing Corporation in connection with the
     dispute over your above-referenced mortgage Joan. I am writing to you today to offer a
     settlement of the disputes arising from both the above.-captioned lawsuit and the previously
     dismissed foreclosure case regarding your property. As you know, you remain in arrears on
     your loan but because of payments made on the trial modification offered by RoundPoint on
     July 10, 2014, RoundPoint dismissed the foreclosure case against you.

      Because of your timely payments on that trial modification, RoundPoint now offers you a
      permanent modification, enclosed for your review. Please note that in consideration for
      RoundPoint modifying your loan, you must agree to the dismissal of 2014-M1-136678 by way of
      signing and returning the enclosed Stipulation of Dismissal.

      We hope that you will agree to this settlement offer and promptly return the signed documents.
      If you nave questions or concerns, please contact us.

      Sincerely,

      LOCKE LORD LLP


      ~y)otc;t--
      Courtney Nogar                                        ,.I!PI!IILAI!I!I!I!N!!!!!!!TII!IFF!!!I's~'
                                                                      'EXHIBIT
      Enclosures
                                                                       '2..'1-

      Atlanta, Austin, Chicago, Dallas, Hong Kong, Houston, London, Los Angeles, New Orleans, New York, Sacramento, San Fram<lsco, Washington DC
    Case:
     Case:1:15-cv-03156
           1:15-cv-03156Document
                         Document#:#:219 Filed:
                                      73-23     10/25/18
                                             Filed:      Page
                                                    07/27/16   93 of
                                                             Page    131
                                                                  1 of   PageID #:548
                                                                       1 PageID #:1791

      ROUNDPOINT
      MORTGAGE SERVICING CORPORATION




January 20, 2015

Melcina Blanton
7727 S Bennett
Chicago, IL 60649


Loan Number:                                   641
flroperty Address:                    ~7727  s Bennett
                                        Chicago IL 60649
RE: Notice of Returned Payment

Dear Me1cina Blanton :
We are returning your payment due to the reason(s) marked below:

x     LESS THAN TOTAL DUE                                  Your account is due for the
                                                           June 2014 payment and foL-ward.
                                                           The total amount due is 7,512.13.
      SIGNATURE REQUIRED                                   Your check is not signed. Please
                                                           sign and return it to us immediately.
      AMOUNT DISCREPANCY                                   The legal amount and numeric amount
                                                           on check must match ..
      POST-DA'I'ED ITEM                                    RoundPoint Mortgage Servicing
                                                           Corporation (RoundPoint) cannot hold
                                                           post-dated items.
      PAYEE DISGRE.PANCY                                   Please~.make~your check pq.yable to
                                                           RoundPoint Mortgq.ge Servicing Corporation.
      ILLEGIBLE ITEM                                       Unable to deposit item due. to
                                                           legibility.
      PAID IN FULL                                         Your loan now has a zero principal
                                                           balance.
      LOAN MATURED                                         Your loan has matured and is due in
                                                           full. This payment does not satisfy
                                                           the full amount due.
      OTHER

Electronic payments will be returned to your electronic bill pay service.




                                                        ___
CM311/030/MRI                                           PLAINTIFF'S
                                   PO Box19
         Colorado Residants; RoundPoint Mortgage
                                                   I
                                                   1a


                                                   .._.
                                                        2.,.
                                                          EXHIBIT

                                                             ,
                                                                      19-9409 1 877-426-8805

                                                                      fflce a1 required by 4 Code of Colorado Regulations 9Q3,J.
                                 Colorado Manag                        CO 80020 Phone: 303·920-4763
Case:
 Case:1:15-cv-03156
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                     Document#:#:219 Filed:
                                  73-24     10/25/18
                                         Filed:      Page
                                                07/27/16   94 of
                                                         Page    131
                                                              1 of   PageID #:549
                                                                   1 PageID #:1792




                               MELCINA BLANTON
                        7727 South Bennett Avenue
                            Chicago, IL 60649

March 30, 2015                                Account Number: --8641

Mr. David Worrall, President
ROUNDPOINT MORTGAGE SERVICING CORPORATION
5032 Parkway Plaza Blvd, Suite 100
Charlotte, NC 28217


Letter Disputing all Charqes to present, Default and Acceleration



Dera Mr Worrall:

The Charges and the Amount claimed by your Company demanding
payment thereof defies credibility and flies in the face of
objective evidence of facts of J.P. Morgan Chase records of
Timely Full Payments of Principal, Interest, Taxes and Insurance
from 1/1/2014, through the present; on behalf of Melcina Blanton.
For cause, I. Melcina Blanton has in good faith discharge all
payment obligations of the above referenced Account Number under
which Roundpoint is claiming default.
Chase Bank Receipts of Timely Fully Paid Payments due-to-date
are Concrete Proof of Evidence In-Fact and In-Law.
WHEREFORE, Default and Acceleration and Payment Due and any
additional amount claimed by Roundpoint are Bogus and Deceptive
Practices in Trade or Commerce and has no merit in-fact and
in-law.




                               PLAINTIFF'S
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           Case:
            Case:1:15-cv-03156
                  1:15-cv-03156Document
                                Document#:#:219 Filed:
                                             73-25     10/25/18
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                                                          07/27/16   95 1ofof131
                                                                   Page       23 PageID
                                                                                 PageID #:1793
                                                                                        #:550
'·




                      JOHNSON, BLUMBERG & ASSOCIATES, LLC
                                               ATIORNEYSATLAW
     Phone 312-541-9710       230 West Monroe Street, Suite 1125, Chicago, Illinois 60606           Fax 312-541-9711


     June 2, 2015


     Melcina Blanton
     7727 S. Bennett
     Chicago, IL 60649

     Re:       Mortgage Debt of Blanton, Melcina
               Creditor: RoundPoint Mortgage Servicing Corporation
               Loan Number:         8641
               Our File: IL 15 2064
     Dear: Mr./Ms. Melcina Blanton

     In response to your phone call received on May 08, 2015 in which you are disputing the validity of the debt
     referred to our office, please find enclosed the following information to validate the debt:

           I. Copy of note
           2. Copy of mortgage
           3. Payment history

     The name and address of the original creditor is

     Community Bank of Oak Park River Forest
     I00 I Lake Street
     Oak Park, IL 60301

                                                           Sincerely,




     Loan Number: ~641
     Our File: IL 15 2064
     NOTE: PURSUANT TO THE FAffi DEBT COLLECTION PRACTICES
     ACT YOU ARE ADVISED THAT THIS LAW FIRM IS DEEMED TO BE A
     DEBT COLLECTOR ATTEMPTING TO COLLECT A DEBT, AND ANY
     INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE
                            .PLAINTIFF'S
                               EXHIBIT
                                                 ll.S-=~--
                                                                                                                     --------
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                    Case:1:15-cv-03156
                          1:15-cv-03156Document
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                                          a         ROUNDPOINT
                                                    MORTGAGE SERVICING CORPORATION


Payment History
;;;;;;L"Oan Number    Payment Transaction Date   Payment Due Date   Transaction Code • Transact_ion Descrip.tioi(:-.•
~:                                                                                                      -      .     ~
   1001138641                11/6/2013              11/1/2013              170         Initial escrow deposit, closing
                                                                                                  interest. etc
             >41             11/25/2013             11/1/2013              172           Modified Coupon payment
   ~41                       12/10/2013             12/1/2013              172           Modified Coupon payment
                              1/14/2014              1/1/2014              172           Modified Coupon payment
                              1/14/2014              1/1/2014              172           Modified Coupon payment
                              2/4/2014               1/1/2014              172           Modified Coupon payment
                              2/4/2014              1/1/2014               172           Modified Coupon payment
                              2/4/2014              1/1/2014               172           Modified Coupon payment
                              3/6/2014              2/1/2014               172           Modified Coupon payment
                              6/25/2014             2/1/2014               183          MBS pool partial settlement
                                                                                                 (foreclosure)
            641              6/25/2014               2/1/2014              183          MBS pool partial settlement
                                                                                                 (foreclosure)
                             7/11/2014               2/1/2014              173                      Payment
                              8/8/2014               3/1/2014              172           Modified Coupon payment
                              8/8/2014               3/1/2014              173                   Payment
                              8/8/2014               4/1/2014              173                   Payment



   ..
   ~41
            o41
                             9/22/2014
                             10/22/2014
                             11/17/2014
                             11/26/2014
                             12/17/2014
                                                     5/1/2014
                                                     5/1/2014
                                                     6/1/2014
                                                     6/1/2014
                                                     6/1/2014
                                                                           173
                                                                           173
                                                                           173
                                                                           173
                                                                           173
                                                                                                 Payment
                                                                                                 Payment
                                                                                                 Payment
                                                                                                 Payment
                                                                                                 Payment
   =41
      41                      1/20/2015              6/1/2014              147            Misapplication reversal
   -641                       4/7/2015               6/1/2014              172           Modified Coupon payment
                                               - - - - - - - - - - - - - - - ---

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~i~%!fc<)X~!lri~ E!;crciwAmount                                    Payment Fee Amount      NCA Amount·. RCA Amount · Payment lntere!>tt\mount)
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                          $1,062.51                                                $0.00      $0.00         $0.00              $0.00

                            $419.17                                                $0.00      $0.00         $0.00             $470.61
                            $419.17                                                $0.00      $0.00         $0.00             $469.94
                             $0.00                                                 $0.00      $0.00         $0.00              $0.00
                             $0.00                                                 $0.00      $0.00         $0.00              $0.00
                             $0.00                                                 $0.00      $0.00         $0.00              $0.00
                            $556.70                                                $0.00      $0.00         $0.00             $469.27
                             $0.00                                                 $0.00      $0.00         $0.00              $0.00
                             $0.00                                                 $0.00      $0.00         $0.00              $0.00
                             $0.00                                                 $0.00      $0.00         $0.00           ($2,801.37)

                               $0.00                                               $0.00      $0.00         $0.00            $2,801.37

                            $556.70                                                $0.00      $0.00        $0.00              $468.60
                             $0.00                                                 $0.00      $0.00        $0.00               $0.00
                            $453.32                                                $0.00      $0.00        $0.00              $467.92
                            $453.32                                                $0.00      $0.00        $0.00              $467.24
                             $0.00                                                 $0.00      $0.00        $0.00               $0.00
                            $453.32                                                $0.00      $0.00        $0.00              $466.56
                             $0.00                                                 $0.00      $0.00        $0.00               $0.00
                             $0.00                                                 $0.00      $0.00        $0.00               $0.00
                             $0.00                                                 $0.00      $0.00        $0.00               $0.00
                             $0.00                                                 $0.00      $0.00        $0.00               $0.00
                             $0.00                                                 $0.00      $0.00        $0.00               $0.00
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/i'fl~yni~nt:MI$c Amount               Payment Principal Amount   Payment Servh;e Fee Amount, Payment s·uspensii·Am~'GnJi
~J~~~;t~ti)::·-   >- :~.. :---.                                     -                   -   .      - . ·- . . . . - -. -·. :·~::_;(:,:=·:
                  $0.00                         $0.00                       $0.00                           $0.00

                  $0.00                        $139.22                      $61.38                         $0.00
                  $0.00                        $139.89                      $61.30                         $0.00
                  $0.00                         $0.00                       $0.00                          $81.86
                  $0.00                         $0.00                        $0.00                        $609.83
                  $0.00                         $0.00                       $0.00                         $691.69
                  $0.00                        $140.56                      $61.21                         $0.00
                  $0.00                         $0.00                       $0.00                       ($1,166.53)
                  $0.00                         $0.00                       $0.00                         $691.69
                  $0.00                      ($97,794.17)                  $365.39                         $0.00

                  $0.00                       $97,794.17                   $365.39                          $0.00

                  $0.00                        $141.23                      $20.37                       ($474.84)
                  $0.00                         $0.00                        $0.00                       $1,868.41
                  $0.00                        $141.91                      $48.42                      ($2,126.30)
                  $0.00                        $142.59                      $48.35                         $0.00
                  $0.00                         $0.00                       $0.00                         $691.69
                  $0.00                        $143.27                      $48.28                       ($371.46)
                  $0.00                         $0.00                       $0.00                         $691.69
                  $0.00                         $0.00                       $0.00                        $2,075.07
                  $0.00                         $0.00                       $0.00                         $691.69
                  $0.00                         $0.00                       $0.00                       ($3,954.49)
                  $0.00                         $0.00                       $0.00                         $691.69
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;il;\ayment Total Amount           Previous Day Encling First Principal Balance   Previous Oay Ending EscrOW' Bala!l~e
~·:?.t'~·:·,;~··-,,,' .                                                                                   .,·,   -~~:::- . ·' ,. ~.;2. ;::,
                $1,062.51                           $98,213.84                                   $0.00

                $1,029.00                           $98,213.84                                  $898.79
                $1,029.00                           $98,074.62                                 $1,317.96
                  $81.86                            $97,934.73                                 $1,655.27
                 $609.83                            $97,934.73                                 $1,655.27
                 $691.69                            $97,934.73                                 $1,573.41
                $1,166.53                           $97,934.73                                 $1,573.41
               ($1,166.53)                          $97,934.73                                 $1,573.41
                 $691.69                            $97,794.17                                  $614.67
                  $0.00                             $97,794.17                                  $159.67

              $100,595.54                           $97,794.17                                  $159.67

                 $691.69                            $97,794.17                                   $0.00
                $1,868.41                           $97,652.94                                   $0.00
                  $0.00                             $97,652.94                                   $0.00
                  $0.00                             $97,652.94                                   $0.00
                 $691.69                            $97,368.44                                  $118.85
                 $691.69                            $97,368.44                                  $118.85
                 $691.69                            $97,225.17                                  $490.31
                $2,075.07                           $97,225.17                                  $408.45
                 $691.69                            $97,225.17                                  $408.45
                  $0.00                             $97,225.17                                  $326.59
                 $691.69                            $97,225.17                                   $0.00
                                                                                                                                                         ---      ------~   -----~




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ti;1f~~@.is:Pay Ending Escrow Advanc~ Balance        Previous Day Ending Suspense Balance   . Previous PaY Ending RCA Bai~Mll"~
;:~~1!-'h:~~~-\:~~~\;~ '                                                                    . ;_.   >: . ._-._ ·~-   ': \';.:~:·:::-:::.-·J=;;~;~J.;,\:~~-:;~~~
                             $0.00                                  $0.00                                        $0.00

                             $0.00                                  $0.00                                        $0.00
                             $0.00                                  $0.00                                       $0.00
                             $0.00                                  $0.00                                        $0.00
                             $0.00                                  $0.00                                       $0.00
                             $0.00                                 $691.69                                      $0.00
                             $0.00                                 $691.69                                      $0.00
                             $0.00                                 $691.69                                      $0.00
                             $0.00                                 $216.85                                      $0.00
                             $0.00                                 $908.54                                      $45.00

                             $0.00                                 $908.54                                      $45.00

                             $4.05                                 $908.54                                     $60.00
                            $705.93                                $433.70                                    $150.00
                            $705.93                                $433.70                                    $150.00
                            $705.93                                $433.70                                    $150.00
                             $0.00                                 $175.81                                   $2,577.50
                             $0.00                                 $867.50                                   $2,577.50
                             $0.00                                 $496.04                                   $2,717.50
                             $0.00                                $1,187.73                                  $2,717.50
                             $0.00                                $3,262.80                                  $2,717.50
                             $0.00                                $3,954.49                                  $2,717.50
                           $1,354.66                                $0.00                                    $2,717.50
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 Corporate Advanced Amounts
~'> ·.                        ·                                  Adv Transaction            .                        ·          · . ·,    ·. •·   J<: i\•jc,;•;;~:
;;i;il'9an Number                          Corp Adv Amou.nt           Date         Transact1on Code                 Tra~sac:t1on D~~c.rw~!e~;':i;
if.i"i.~~-; -:..::: .. ,, '   .                -----             _____-             --- ·--·- - - = - - - - · ------        ·. '- -;_.'·::_;·:·:: 1~/-:.:~; . ~~~
                                                                                                                    Miscellaneous Corporate
       ~41                                      $6.00               2/14/2014               601
                                                                                                                          disbursement
                                                                                                                     Property Preservation
      --641                                     $15.00              4/2212014               631
                                                                                                                         Disbursement
                                                                                                                     Property Preservation
        --1641                                  $15.00              5/512014                631
                                                                                                                         Disbursement
                                                                                                                     Property Preservation
       ~641                                     $15.00              5130/2014               631
                                                                                                                         Disbursement
                                                                                                                     Property Preservation
                              641               $15.00              711/2014                631
                                                                                                                         Disbursement
                                                                                                                    Miscellaneous Corporate
        ·-641                                   $6.00               7/912014                601
                                                                                                                          disbursement
                                                                                                                     Property Preservation
      ~6641                                     $90.00              7116/2014               631
                                                                                                                         Disbursement
                                                                                                                     Property Preservation
       • •l8641                                 $15.00              8/28/2014               631
                                                                                                                         Disbursement
                                                                                                                       Statutory expense
                                               $475.00              9112/2014               632
                                                                                                                          disbursement
                                                                                                                       Statutory expense
     --·641                                    $437.00              9/12/2014               632
                                                                                                                         disbursement
                                                                                                                       Statutory expense
      . . . . .6641                             $52.00              9112/2014               632
                                                                                                                         disbursement
                                                                                                                       Attorney Advance
                              641              $1,312.50            9/12/2014               630
                                                                                                                         Disbursement
                                                                                                                       Attorney Advance
      --641                                    $250.00              9/12/2014               630
                                                                                                                         Disbursement
                                                                                                                       Statutory expense
       --641                                   $136.00              9/12/2014               632
                                                                                                                         disbursement
                                                                                                                       Attorney Advance
        --1641                                  $50.00              9/26/2014               630
                                                                                                                         Disbursement
                                                                                                                       Statutory expense
       -·1641                                   $50.00              9126/2014               632
                                                                                                                         disbursement
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                  Case:1:15-cv-03156
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                                                                                     23 PageID #:1801




                                                                                   Statutory expense
 ....,.8641                 $450.00              9/26/2014          632
                                                                                     disbursement
                                                                                 Property Preservation
      ~641                  $125.00             10/31/2014          631
                                                                                     Disbursement
                                                                                 Property Preservation
                             $15.00              11/4/2014          631
                                                                                     Disbursement
                                                                                 Property Preservation
~641                         $5.00              11/11/2014          631
                                                                                     Disbursement

    .     i641              $5,582.59           1112612014          633
                                                                                 Miscall F/C, B/K, REO
                                                                                       repayment
                                                                                   Attorney Advance
          >641              $2,946.15           1212412014          630
 ~
                                                                                     Disbursement
                                                                                   Attorney Advance
          i641              $3,719.70           12124/2014          630
                                                                                     Disbursement
                                                                                Miscellaneous Corporate
~41                          $6.00               211012015          601
                                                                                     disbursement
                                                                                 Miscell F/C, B/K, REO
          641                $13.32              311312015          633
      3




     •                                                                                 repayment
                                                                                 Miscell F/C, 8/K, REO
          ,641               $13.58              3/13/2015          633
                                                                                       repayment
                                                                                 Miscall F/C, B/K, REO
~1                          $748.35              3/13/2015          633
                                                                                       repayment
                                                                                 Miscall F/C, B/K, REO
          1641              $216.45              3/13/2015          633
                                                                                       repayment
                                                                                 Property Preservation
     ;8641                   $15.00              4/10/2015          631
                                                                                     Disbursement
                                                                                ·Property Preservation
          1641               $15.00              4128/2015          631
                                                                                     Disbursement
                                                                                 Property Preservation
          :641               $15.00              5129/2015          631
                                                                                     Disbursement
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n~.)ir. ~)Wv Re<:overable
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'•·"c:,J-•>', •. ·. ·..0 escnp1•on                                                    0 escnp110n
~-·~·~"i";..;,_: ...-: .. '-·   ·
                                                                          Pavee ld                                  · .....·. ,_
                 NONRECOVERABLE                         120430385         63N01      TAX BILL FEE            TAXB
                                                                                        PROP
 MORTGAGOR RECOVERABLE                                  MCS33609          60R02                              INSP
                                                                                     INSPECTION
                                                                                        PROP
 MORTGAGOR RECOVERABLE                                  MCS33609          60R02                              INSP
                                                                                     INSPECTION
                                                                                        PROP
 MORTGAGOR RECOVERABLE                                  MCS33609          60R02                              INSP
                                                                                     INSPECTION
                                                                                        PROP
 MORTGAGOR RECOVERABLE                                  MCS33609          60R02                              INSP
                                                                                     INSPECTION
                 NONRECOVERABLE                         120430385         63N01      TAX BILL FEE            TAXB

 MORTGAGOR RECOVERABLE                                EMORT76148          60R09        BPO FEE              BPOS
                                                                                        PROP
 MORTGAGOR RECOVERABLE                                  MCS33609          60R02                              INSP
                                                                                     INSPECTION
 MORTGAGOR RECOVERABLE                                 ATCODILIS          60R17      TITLE COSTS             TITC

 MORTGAGOR RECOVERABLE                                 ATCODILIS          60R13      FILING COSTS            FILC
                                                                                     RECORDING
 MORTGAGOR RECOVERABLE                                 ATCODILIS          60R14                             RCRD
                                                                                        FEES
                                                                                      FCLATIY
 MORTGAGOR RECOVERABLE                                 ATCODILIS          SOR03                              ATFF
                                                                                        FEES
                                                                                      FCLATIY
                 NONRECOVERABLE                        ATCODILIS          60N03                             ATFF
                                                                                        FEES
                                                                                      SERVICE
 MORTGAGOR RECOVERABLE                                 ATCODILIS          60R16                             SERC
                                                                                       COSTS
                                                                                      FCLATIY
                 NONRECOVERABLE                        ATCODILIS          60N03                             ATFF
                                                                                        FEES
                                                                                     RECORDING
                 NONRECOVERABLE                        ATCODILIS          60N04                             RCRD
                                                                                        FEES
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   NONRECOVERABLE           ATCODILIS          60N04    FILING COSTS           FILC

MORTGAGOR RECOVERABLE      PERF039520         60R09       TITLE FEE            TITL
                                                             PROP
MORTGAGOR RECOVERABLE       MCS33609          60R02                           INSP
                                                         INSPECTION
                                                           SERVICE
   NONRECOVERABLE          LPSM055120         60N03                           SERC
                                                            COSTS
                                                          LITIGATION
   NONRECOVERABLE          LOCKE75201         62N01                           ATLF
                                                             FEES
                                                          LITIGATION
   NONRECOVERABLE          LOCKE75201         62N01                           ATLF
                                                             FEES
                                                          LITIGATION
   NONRECOVERABLE          LOCKE75201         62N01                           ATLF
                                                             FEES
   NONRECOVERABLE           120430385         63N01      TAX BILL FEE         TAXB
                                                          LITIGATION
   NONRECOVERABLE          LOCKE75201         62N01                           ATLC
                                                            CQSTS
                                                          LITIGATION
   NONRECOVERABLE          LOCKE75201         62N01                           ATLC
                                                            COSTS
                                                          LITIGATION
   NONRECOVERABLE          LOCKE75201         62N01                           ATLF
                                                             FEES
                                                          LITIGATION
   NONRECOVERABLE          LOCKE75201         62N01                           ATLF
                                                             FEES
                                                             PROP
MORTGAGOR RECOVERABLE       MCS33609          60R02                           INSP
                                                         INSPECTION
                                                             PROP
MORTGAGOR RECOVERABLE       MCS33609          60R02                           INSP
                                                         INSPECTION
                                                             PROP
MORTGAGOR RECOVERABLE       MCS33609          60R02                           INSP
                                                         INSPECTION
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!0Br~yioll!> ·Day Ending              Previous Day Ending NCA   Previous Day Ending TCA   · Previpus Day Ending' First
;,;;i"f.·i/RCA Balance                        Balance                   Batanc:a               ·Principal Balance· · · ·
~-:·.~·';'h~d:··i·:: ~-: ' . '                                                                      ' ' ' ' '' . ' . -
                        $0.00                  $0.00                     $0.00                     $97,794.17

                        $0.00                  $6.00                     $0.00                     $97,794.17

                       $15.00                  $6.00                     $0.00                     $97,794.17

                       $30.00                  $6.00                     $0.00                     $97,794.17

                       $45.00                  $6.00                     $0.00                     $97,794.17

                       $60.00                  $6.00                     $0.00                     $97,794.17

                       $60.00                 $12.00                     $0.00                     $97,652.94

                      $150.00                 $12.00                     $0.00                     $97,368.44

                      $165.00                 $12.00                     $0.00                     $97,368.44

                      $165.00                 $12.00                     $0.00                     $97,368.44

                      $165.00                 $12.00                     $0.00                     $97,368.44

                      $165.00                 $12.00                     $0.00                     $97,368.44

                      $165.00                 $12.00                     $0.00                     $97,368.44

                      $165.00                 $12.00                     $0.00                     $97,368.44

                    $2,577.50                 $262.00                    $0.00                     $97,368.44

                    $2,577.50                 $262.00                    $0.00                     $97,368.44
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$2,577.50                 $262.00                   $0.00                   $97,368.44

$2,577.50                 $812.00                   $0.00                   $97,225.17

$2,70250                  $812.00                   $0.00                   $97,225.17

$2,717.50                 $812.00                   $0.00                   $97,225.17

$2,717.50                 $817.00                   $0.00                   $97,225.17

$2,717.50                $6,399.59                  $0.00                   $97,225.17

$2,717.50                $6,399.59                  $0.00                   $97,225.17

$2,717.50               $13,065.44                  $0.00                   $97,225.17

$2,717.50               $13,071.44                  $0.00                   $97,225.17

$2,717.50               $13,071.44                  $0.00                   $97,225.17

$2,717.50               $13,071.44                  $0.00                   $97,225.17

$2,717.50               $13,071.44                  $0.00                   $97,225.17

$2,717.50               $14,063.14                  $0.00                   $97,225.17

$2,732.50               $14,063.14                  $0.00                   $97,225.17

$2,747.50               $14,063.14                  $0.00                   $97,225.17
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             Fee Transactions and Amounts



                                                          2/17/2014              152           Late charge assessment
                                    $30.49                3/17/2014              152           Late charge assessment
                                    $30.49                4/16/2014              152           Late charge assessment
                                    $30.49                5/16/2014              152           Late charge assessment
                                    $30.49                6/16/2014              152           Late charge assessment
                                    $30.49                7/16/2014              152           Late charge assessment
                                    $30.49                8/18/2014              152           Late charge assessment
                                    $30.49                2/20/2015              132           Late charge adjustment
                                    $41.28                3116/2015              152           Late charge assessment
                                   ($10.79)               3/26/2015               32           Late Charge Adjustment
                                    $30.49                4/16/2015              152           Late charge assessment
                                    $30.49                5/18/2015              152           Late charge assessment
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$97,934.73                            $0.00
$97,794.17                           $30.49
$97,794.17                           $60.98
$97,794.17                            $91.47
$97,794.17                           $121.96
$97,794.17                           $152.45
$97,652.94                           $182.94
$97,368.44                           $213.43
$97,225.17                           $243.92
$97,225.17                           $274.41
$97,225.17                           $315.69
$97,225.17                           $304.90
$97.225.17                           $335.39
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Escrow Disbursement Amounts
                       scrow Disb Amo

                             ($163.72)
                              ($81.86)                  12/26/2013                 310
                              ($81.86)                  1/27/2014                  310
                            ($1 ,433.58)                2111/2014                  312
                              ($81.86)                  2/20/2014                  310
                              ($81.86)                  3/21/2014                  310
                               $1.00                    4/22/2014                  164
                             $1,433.58                  4/2212014                  164
                              ($81.86)                  4/24/2014                  310
                              ($81.86)                  6/19/2014                  310
                            ($1 ,644.00)                6/24/2014                  351
                              ($81.86)                  6/25/2014                  310
 =41
   .          41              ($81.86)                   7/1/2014                  310
           ')41                 $4.05                    7/1/2014                  161
             i41            ($1 '176.72)                7/11/2014                  312
        I i41                 $624.07                   7/11/2014                  161
              41               ($4.05)                  7/11/2014                  168
        - 641                  $81.86                   7/23/2014                  161
              41              ($81.86)                  7/23/2014                  310
         ~
           641               ($453.32)                   8/8/2014                  168
           641               ($252.61)                   8/8/2014                  168
 . . . . .641                 ($81.86)                  8/28/2014                  310
          <641                ($81.86)                 10/2212014                  310
                              ($81.86)                 11/19/2014                  310
                              ($81.86)                 12/19/2014                  310
                              ($81.86)                  1/22/2015                  310
                             $1,190.94                  2116/2015                  161
                            ($1 ,435.67)                2116/2015                  312
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     :641           $81.86                   2119/2015                   161
       41          ($81.86)                  2119/2015                   310
     :641          ($81.86)                  3/19/2015                   310
     :641           $81.86                   3/19/2015                   161

.   i641
     F41
       41
                    $81.86
                   ($81.86)
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                                             4/21/2015
                                             4/21/2015
                                             5/20/2015
                                                                         161
                                                                         310
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       41           $81.86                   512012015                   161
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tu#nsai:ti9n Descriptioo         Previous Day Ending E1wow Advanee   Pr~vious Day Ending Esc.row:eliiani:~"
~;t,,;,:·;.•-, ·.                Balance                                                       . .. .   · ci
       MIPIPMI disbursement                       $0.00                            $1,062.51
       MIPIPMI disbursement                       $0.00                            $1,737.13
     MIPIPMI disbursement                         $0.00                            $1,655.27
    County Tax Disbursement                       $0.00                            $2,130.11
     MIP/PMI disbursement                         $0.00                             $696.53
     MIP/PMI disbursement                         $0.00                             $614.67
       Tax refund deposit                         $0.00                             $532.81
       Tax refund deposit                         $0.00                             $532.81
     MIPIPMI disbursement                         $0.00                            $1,967.39
     MIP/PMI disbursement                         $0.00                            $1,885.53
 Hazard insurance disbursement                     $0.00                           $1,803.67
     MIPIPMI disbursement                         $0.00                            $159.67
     MIP/PMI disbursement                         $0.00                             $77.81
        Escrow advance                            $0.00                             $77.81
    County Tax Disbursement                       $4.05                              $0.00
        Escrow advance                            $4.05                              $0.00
    Escrow advance recovery                       $4.05                              $0.00
        Escrow advance                           $624.07                             $0.00
     MIPIPMI disbursement                        $624.07                             $0.00
    Escrow advance recovery                      $705.93                            $0.00
    Escrow advance recovery                      $705.93                            $0.00
     MIPIPMI disbursement                         $0.00                            $200.71
      MIPIPMI disbursement                        $0.00                            $118.85
      MIP/PMI disbursement                        $0.00                            $490.31
      MIP/PMI disbursement                        $0.00                            $408.45
      MIPIPMI disbursement                        $0.00                            $326.59
         Escrow advance                           $0.00                            $244.73
     County Tax Disbursement                      $0.00                            $244.73
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   Escrow advance                     $1,190.94                             $0.00
MIP/PMI disbursement                  $1,190.94                             $0.00
MIP/PMJ disbursement                  $1,272.80                             $0.00
   Escrow advance                     $1,272.80                             $0.00
   Escrow advance                     $1,354.66                             $0.00
MIP/PMI disbursement                  $1,354.66                             $0.00
MIP/PMI disbursement                  $1,436.52                             $0.00
   Escrow advance                     $1,436.52                             $0.00
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. •i:~o'Yioui;;Oay.Ending First Principal B.alance
···J?ifJ;:,;~~1:~~~~:.\:·(~o   ..·:   ~-    -     " - -- .
                                           $98,213.84
                                           $97,934.73
                                           $97,934.73
                                           $97,794.17
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                                           $97,652.94
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                                           $97,225.17
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$97,225._17
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Principal and Boarding Amounts


                                                      11/25/2013                     172
                                                      12/10/2013                     172
                          $609.83                      1/14/2014                     172
                           $81.86                      1/14/2014                     172
                         $1 '166.53                     2/4/2014                     172
                        ($1,166.53)                     2/4/2014                     172
                          $691.69                       2/412014                     172
                          $691.69                       3/6/2014                     172
                        $100,595.54                   6/25/2014                      183
                            $0.00                     6/25/2014                      183
                          $691.69                     7/11/2014                      173
                            $0.00                      8/8/2014                      173
                            $0.00                      8/8/2014                      173
                         $1,868.41                     818/2014                      172
                          $691.69                      9/22/2014                     173
                          $691.69                     10/22/2014                     173

       --·
         i41
                          $691.69
                         $2,075.07
                                                      11/17/2014
                                                      11/26/2014
                                                                                     173
                                                                                     173
         >41              $691.69                     12117/2014                     173
         )41                $0.00                      1/20/2015                     147
          41              $691.69                      417/2015                      172
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: .. '''lt;i;,',;yj-an,saction Description
  Initial escrow deposit, closing interest, etc
           Modified Coupon payment
           Modified Coupon payment
           Modified Coupon payment
           Modified Coupon payment
           Modified Coupon payment
           Modified Coupon payment
           Modified Coupon payment
           Modified Coupon payment
   MBS pool partial settlement (foreclosure)
   MSS pool partial settlement (foreclosure)
                    Payment
                    Payment
                    Payment
           Modified Coupon payment
                    Payment
                    Payment
                    Payment
                    Payment
                   Payment
            Misapplication reversal
           Modified Coupon payment
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                  ROUNDPOINT                                                                          Mortgage Statement
                  MORTGAGE SERVICING CORPORATION

                  PO Box 19409
                  Charlotte, NC 28219-9409                                                     Statement Date:                    May 18,2015

                                                                                                         Onflne Information: www.rpmservicfnq.corn
                                                                  PLAINTIFF'S                            Click "Sign in"
                                                                    EXHIBIT                              Telephone: 877-426-8805
                                                                                                         Monday- Friday, 8:00a.m. to 10;00 p.m. Eastern Time

               007026
                                                                      1M·                                Saturday, 8;00 a.m. to 12:00 p.m. Eastern Time

               MELCINA BLANTON
               7727 S BENNETT                                                                             Fax: 877-776-1112
               CHICAGO, IL 60649
                                                                                                          RoundPoint Mortgage Servicing Corporation
                                                                                                          Correspondence
                                                                                                          PO Box 19409

                                                                            Loan
                                                                            Next Payment Due Date:
PropertyAddress:                                                            Amount Due:
7727 S BENNETT
CHICAGO IL 60649


 Loan Due Date                                              06/01/2014      Principal                                                              $152.46
 Outstanding Principal                                      $97,225.17      Interest                                                               $457.37
 Interest Rate                                                  5.750%      Escrow (Taxes and Insurance)                                           $422.07
 Prepayment Penalty                                                 No      Additional Monthly Amounts**                                             $0.00
 Escrow Balance                                              -$1,436.52         Regular Monthly Payment                                         $1,031.90
 Corporate Advance Balance                                   -$2,747.50     Unpaid Late Charges                                                   $365.88
 Suspense Balance                                               $691.69     Charges and Fees**                                                  $2,74750
                                                                            Past Due Payment(s)                                                $12,664.05
                                                                                Total Amount Due                                               $16,809.33




                                                                             You are currently late on your mortgage payments. Your account became
                                                                             delinquent on 06/01/2014. Failure to bring your loan current may result in fees
                                                                             and foreclosure · the loss of your home. As of 05/18/2015, you are 351 days
                                                                             de!!nquent on your mortgage loan.




                                                                            "' Payment Due            Unpaid
                                                                            * Payment Due 02/01/15 Unpaid Amount of $1,063.15.
                                                                            * Payment Due 03/01/15 Unpaid Amount of $1,031.90.
          Important Information About Partial Payments                      "' Payment Due 04/01/:1.5 Unpard-Amount of $11031.90.
                                                                            * Payment Due 05/01/15 Unpaid Amount of $1,031.90.
  *Any partial payments that you make are not applied to your mortgage,
                                                                            Current payment due 06/01/15: $1,031.90.
   but instead are held In a separate suspense account. If you pay the
                                                                            Total Amount Due: $16,809.33. You must pay this amount to bring your loan
   balance of a partial payment, the funds wil! then be applied to your
                                                                            current.
   mortgage.
                                                                             If You Are Experiencing Financial Difficulty: See back for information about
                                                                                               I or assistance.
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Round Point accepts payments made by check, money order, bomk draft, or electronic           lt is your responsibillty to maintain proper and suf-ficient Insurance coverage on your
funds transfer. \n order to assure prompt processing, please include the account             property. Insurance Includes Fire and Extended Coverage, and where required, Flood
number or payment coupon. Payments received after 4PM Central Standard Time will             Insurance. We require evidence of proper Insurance. Without evidence, we may
be credited as received the following business day, Payments we cannot accept will be        obtain force placed coverage on the property at your expense. You will be given prior
returned within 5 business days accompanied by a reason for return.                          notice before coverage Is force placed. Please forward insurance pallcle5 and bills to:

Payments: Detach your payment coupon and mail with your check or money order.                                       RoundPoint Mortgage Servicing Corporation
Do not delay payments while waiting for additional or corrected billing statements.                                 PO Box 39575
Please write your Joan number on your check or money order and mall to the                                          Solon, OH 44139
Payment Processing Center listed below.

                                                                                             It ls your responsibility to file any tax exemptions, Should you receive a delinquent tax
Pavment Processing Center                         OvernighttExpress Payment~                 bill, please forward to the Tax Department, PO Box 19409, Charlotte, NC 28219~9409, fax
RoundPolnt Mortgage Servicing Corp.               Round Point Mortgage Servicing Corp.       It to 866-930-1019, or email a scanned copy to taxes@roundpolntmortgage.com
P0Box6741SO                                       4400 Amon Carter, Suite #110
Dallas, TX 75267~4150                             Fort Worth, TX 76155                       Should you have any questions about your taxes or insurance, or should you suffer
                                                                                             property damage, please contact Customer Service at 877·426-8805.
Payoff Requests: Requests !!l!ill: contain borrower name, property address,
slqnawre of all b_~rrowers,_ and Instructions for_ returning the payoff quote. Please
Include- Your name <ind phone number for uS ta contact you In the event we have
questions regarding your payoff request. Please note, allowable fees for payoff
requests vary from state to state and may be automatically assessed. Please fax your
requests to 877-656-5717. Forquestlans, please contact Customer Service.                     Notice to Customers: RoundPolnt Mortgage Servicing Corporation may report
                                                                                             Information about your mortgage account to credit bureaus. Late payments, missed
                                                                                             payments, or other defaults on your account may be reflected in your credit report.

BALANCE ON WHICH THE FINANCE CHARGE IS DETI!RMINED: ("if applkable'; lines                   Federal Jaw requires us to advise you that RoundPoint Mortgage Servicing Corporation
of credit only) -We calculate the Perlodk FINANCE CHARGE for each billing period             {NMLS 10/t 18188) is a debt collector and that this Is an attempt to collect a debt. Any
by applying the Dally Periodic Rate(s) FINANCE CHARGE to the "Average Daily                  information obtained may be used for that purpose. To the extent 'JOUr obligation has
Balance'' for each billing period. To do so, we take the beginning balance- of your          been discharged or Is subject to the automatic stay in a bankruptcy proceeding, this
account for each day in the bllling period, and any new advances, charges and fees,          notice is_ for informational purposes only and does not constitute a demand for payment
and subtract any payments or credits posted on that day. This gives us the daily             or an attempt to collect Indebtedness as your personal obligation. If you are represented
balance for each day of the billing period. Then we add up all the datly balances            by an attorney, please provtde us with the attorney's name, address, and telephone
for the billing period and divide the total by number of days in the billlng period. This    number.
gives us the Average Dally Bqtance.
                                                                                             FOR ARKANSAS RESIDENTS: Please be advised that RoundPoint Mortgage Servicing
Borrower Fees: For a trstlng of borrower fees, please visit our website at:                  Corporation Is licensed with the Securities Department for the State of Atkansas. Borrow~
www.romservicing.com/borrower-fees. You may also request a copy of our borrower fees         ers may file complaints about RoundPoint Mortgage Servicing Corporation with the
by submitting a written request to the address below. Allowable fees for checks and drafts   Arkansas Securities Department. Borrowers may also obtain further information from the
that are not honored- by your bank vary by state and wl!l be assessed automatically;         Arkansas Securities Department by calling (501) 324-9260 or by visiting the Department's
Fees are subject to change without notice.                                                   website at:
~Addit(onat Monthly Amounts· This includes optional products and Insurance.                  httfrllwww securltjes: arkansas.gov
*·~charges and Fees· Thts may include corporate advances, late charges, NSF fees, and
fees listed on our website.                                                                  FOB COLORADO RESIDENTS: RoundPolnt Mortgage Servicing Corporation maintains
                                                                                             an in~state offce as required by 4 Code of Colorado Regulations 903~1. Colorado
CORRESPONDENCE: To provide us with a Notice of Error about the servicing of your             Manager, Inc., 80 Garden Center, Suite 3, Broomfield, CO 80020. Phone: 303·920-4763
loan, or make a Request for InformatiOn about the servlci11g of your loan, please write
TO Uii'ilt:   ~····--· ~~- ~·~~- -~~~·~-·    ~~-~    ~·-·~       ~    -·                     'FOR- ~NEW"'VQRK RESIDENTS: Please·oe--'iid"vlSecf"tfl<it" ROUn-aPolriftvfO(=tgage 'S-efvlclri"9 .,
                             Round Point Mortgage Servicing Corporation                       Corporation Is registered with the Superintendent of Hnanclal Services for the State of
                             P.O. Box 19789                                                   New York, Borrowers may file complaints about RoundPoint Mortgage Servicing
                             Charlotte, NC 28219-9409                                         Corporation with the New York State Depa1tment of Financial Services. Borrowers may
                                                                                              also obtain further Information from the New York State Department by calling the
                For all other written correspondence, please write to us at                   Department's Consumer Assistance Unit at 1-800-342-3736 or by v\s\ting the
                                                                                              Department's website at www.dfs.ny.gov
                             Round Point Mortgage Servicing Corporation
                             P.O. Box 19409                                                  FOR NORTH CAROLINA RESIDENTS; Please be adv!sed that RoundPolnt Mortgage
                             Charlotte, NC 28219-9409                                        Servicing Corporation Is licensed by the North Carolina Commissioner of Banks. Please
                                                                                             call 1-888-384-3811 to contact the North Carolina Commissioner of Banks or to file a
                                                                                             complaint about RoundPoint Mortgage Servicing Corporation, go to North Carolina
                                                                                             Comm!5sioner of Banks' website at:
                                                                                             bttp' /!www nccob orglpu blic/Cqn st 'mer\ nfo rmatjon/Compla tots:/C[E!IeCom plalotaspx

If you are experiencing financial difficulty: Jfyou would like mortgage counsellng or        RoundPoint Mortgage Servicing Corporation Is physically located at 5016 Parkway
assistance, you may contact the U.S. Department of Housing and Urban Develop~                Plaza Blvd, Charlotte, NC 28217. North Carolina Collection Agency permit no. 102965
ment by calling 800·569·4287. You may also visit their website at:
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                                                                                             FOR TEXAS RESIDENTS: COMPLAINTS REGARDING THE SERVICING OF YOUR MORTGAGE
                                                                                             SHOULD BE SENT TO THE DEPARTMENT OF SAVINGS AND MORTGAGE LENDING, 2601
                                                                                             NORTH LAMAR, SUITE 201, AUSTIN, TX 78705. A TOLL~FREE CONSUMER HOTLINE IS
                                                                                             AVAILABLE AT 877~276-5550.

                                                                                             A complaint form and instructions may be downloaded and printed from the
                                                                                             Department's website located at www.sml.texas.gov or obtained from the department
                                                                                             upon request by mall at the address above, by telephone at Jts toll-free consumer
                                                                                             hotline listed above, or by email at sm!!nfo@sml texas gov
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             ROUNDPOINT
             MORTGAGE SERVICI~lG CORPORATION



May22, 2015




Melcina Blanton
7727 South Bennett
Chicago, IL 60649




Loan:          --·.SBfi41
Property:      7727 South Bennett, Chicago, IL 60649

Dear Melcina Blanton:

Thank you for contacting RoundPoint. We received your letter on April6, 2015 and appreciate
the opportunity to address your concerns regarding ym1r mortgage account. You request
RoundPoint review your account for evidence of default.
We have reviewed your correspondence and are eager to assist you. RoundPoint has reviewed
the enclosed Note and Mortgage for the account. Per these documents, our records confirm the
name on the account is Melcina Blanton. The last four digits of the social security numbers on
the account are 5348. The property address is 7727 South Bennett, Chicago, IL 60649. The
mailing address is 7727 South Bennett, Chicago, IL 60649. The loan was originated by
Community Bank of Oak River Forest on June 25, 2009 in the amount of $104,500.00 and the
current owner of the loan is Fannie Mae. Their contact information is as follows:
       Fannie Mae
       3900 Wisconsion Avenue, Northwest
       Washington, DC 20016-2892

As of the date of this letter, the loan is due for June 1, 2014 in the amount of $1,063.15 as well as
all subsequent payments and fees. ·The net amount due to bring the account current is
$11,245.36. The unpaid principal balance of the loan is $97,225.17. A copy of the payment
histories from both RoundPoint and the prior servicer detailing this information is enclosed. As
a courtesy we have also enclosed a copy of the loan application, and final disclosures. Please
note that the payment histories provides pertinent information on payments received, tax and
insurance payments disbursed, funds in the suspense balance, and other charges assessed and
paid. If your records differ from the enclosed payment history, please send documentation
regarding any missing payments or other discrepancies. Applicable documentation includes
copies of cancelled checks (front and back), bank statements reflecting payments by phone, and
automatic bill records.
Your Portfolio Specialist, Brandy Gussin, is eager to discuss options that may suit your situation.
Feel free to contact her directly at (704) 424-7154 or Qy email at
Brandy.Gussin@roundpointmortgage.com. She is available Monday through Friday from B:oo
a.m. unti15:oo p.m. Eastern Time.
                 P.O. Box 194091 Charlotte, North Carolina 28219-94091 877.426.8805     PLAINTIFF'S
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             ROUNDPOINT
             MORTGAGE SERVICING CORPORATION



        y,




Jeffr  P. Martin
Assistant Vice President
RoundPoint Mortgage Servicing Corporation

JPM/cms
Enclosures




                P.O. Box 194091 Charlotte, North Carolina 28219-9409!877.426.8805
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 Via certified mail

 June 9, 2015

 RoundPoint Mortgage Servicing Corporation
 P.O. Box 19789
 Charlotte, NC 28219-0409

        Re:     1001138641
                7727 S. Bennett, Chicago, IL 60649

 Dear Sir or Madam:

        Please consider this letter to constitute a Notice of Error under 12 CFR Section 1024.3 S
 of Regulation X of the Mortgage Servicing Act under RESPA. Please be advised that you must
 acknowledge receipt of this Notice within five days (excluding legal public holidays, Saturdays
 and Sundays) and must advise us of your responses to this Notice within 30 days of receipt
 (excluding legal public holidays, Saturdays and Sundays).

        Statement of Errors

        The errors you have made include, but are not limited to, the following:
    1. You have failed to accept payments from me.
    2. You have also failed to apply accepted payments to principal, interest, escrow or other
       charges under the terms of the mortgage loan and applicable law.
    3. You have failed to credit payments to my mortgage loan account as of the date of receipt
       in violation of the prompt crediting provisions in 12 C.F .R. 1026.36(c)(1 ).
    4. You have imposed fees that you lack a reasonable basis to impose.
        As you know, a previous foreclosure case in the Circuit Court of Cook County, Illinois
 (case number 14 CH 12508) was voluntarily dismissed by your counsel on August 27, 2014
 because, pursuant to your counsel's admission in file-stamped official court documents, the
 mortgage loan was current.
         Meanwhile, you sent me a letter dated August 15, 2014 entitled ''Notice of Default and
 Intent to Accelerate." The letter stated that "the loan is due for 5/112014 and subsequent
 payments, plus late charges, fees and costs" and claimed that the account "is in default for failure
 to pay amounts due."
        Additionally, I received a statement from you dated August 18, 2014 that claimed that
 the payments for May, June, July, August, and September were due and that I owed $5,709.67.
 Besides the fact that the September payment could not possibly be due io August, this is
 obviously not true, as your counsel had expressly acknowledged that my payments were current.



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        The August 18 statement also references unpaid late charges, "charges and fees," and a
 suspense balance which are without basis given the loan's current status. Please itemize these
 charges and explain: (1) when said "late charges" were assessed; (2) what "charges and fees"
 you added to my balance and when you added them; (3) trace the origin of the suspense balance;
 and (4) explain the "partial payment" of $175.81 that is present on the August 18, 2014
 statement, as it is my understanding that my payments were complete. .
        My statements also reflect that, right after the August 18 statement was issued, you added
 several "corporate advance" charges to my statement in August and September of 2014. One
 such "corporate advance" on 9/12/14 is called "Attorney Corp Advance Dish" for $1,312.50. I
 believe those fees were erroneously added to my account balance, as your attorneys dismissed
 the case against me because my account was current. I should never have been charged for
 attorney fees and at any rate, I believe that you did not pay said attorney fees and cannot prove
 that you did.
         There are myriad additional corporate advances on my November 14, 2014 statement that
 should never have been assessed to my account, such as "Property Preservation Corp Adv"
 (there is no contractual basis for property preservation, seeing that my property is and has been
 occupied throughout this terrible ordeal) and several "Statutory Corp Advance" fees on 9/12/14
 of $437.00, $52.00, $136.00, and $475.00, respectively. What are those charges for and why
 were they assessed to my account? Please (1) explain the basis for these fees; (2) explain to
 whom these fees were paid; and (3) explain for what service(s) these fees were assessed and
 when.
         Also, with regard to the November, 2014 statement (I did not receive one for October}, I
 noticed that there is an entry for "partial payment (unapplied)" for $320.73. Please explain this
 line item.
         I received a letter from Courtney No gar of Locke Lord LLP dated December 30, 2014
 stating that RoundPoint had "offered to approve you for a permanent loan modification" and
 stating that "you remain in arrears on your loan." Ms. Nagar asked me to sign a loan
 modification stating that there was a "shortage of funds in your escrow account in the amount of
 $1,552.20. I knew this statement to be false because I am in possession of bank receipts for my
 payments of taxes and insurance through July of 2014. Thereafter, I wrote a separate check
 (#1834) to Round Point for $1,176.72 that I had denoted to be applied to my escrow account.
 My bank records reflect that my check was posted on August 8, 2014. Naturally, I declined to
 sign a "loan modification" under these circumstances and will continue to refuse to do so as long
 as these and other charges remain on my account.
         In the period of time following your voluntary dismissal of the foreclosure proceedings, I
 have made payments to you that you have not credited to my account. Although I have sent
 dispute letters to you, you have failed to correct the problem. In fact, your attorney Courtney
 Nogar at Locke Lord LLP wrote to me stating that I was not allowed to contact you with this
 notice, despite the fuct that the law requires me to send Notices of Error and Requests for
 Information to this address. I am under no legal obligation to send my letter to Ms. Nagar in lieu
 of sending this letter to the official address for Notices of Error; and in fact, if I were to do so, I
 would not be preserving my rights under Federal law. Please note that I have cc'd Ms. Nagar.


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              Incidentally, Ms. Nagar sent a "pay history" to me with her letter. The pay history is
      very interesting in that it contains "late charge assessments" during a time that the loan was
      actively in a (wrongful) foreclosure. If indeed the loan had been accelerated in order for you to
      foreclose on the loan, there should have been absolutely no late charges added to the loan during
      this time as an accelerated loan should not be subject to "late" charges. The transaction history
      further reflects that I was, indeed, making payments, but you were apparently taking those
      payments and putting them in suspense - and then charging me a late fee. The "pay history" is
      also incomplete in that it only goes back to November 1, 2013, which was apparently the date
      that servicing of the loan was boarded by this particular servicer.
             Remember the payment I made for $1,176. 72? As you know, it cleared my bank; I have
      a copy of the canceled check. However, that payment isn't reflected anywhere in the pay history
      that your attorney sent me. Instead, on August 8, 2014 I see a payment for $1,868.41, of which a
      large chunk was applied to the March, 2014 payment (very strange, considering that my account
      was current in August). The rest was apparently placed in suspense and then was later used to
      "refund" yourselves for an advance you made (for what, I have no idea, as the taxes were paid).
              In addition to your explanations, please provide a complete pay history from the
      inception of the loan to the present time and include an explanation of all transaction codes so
      that the pay history can be deciphered.
             I look forward to hearing from you.
      Very truly yours,




      Melcina Blanton
      cc: Credit Bureaus




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            ROUNDPOINT
             MORTGAGE SERVICING CORPORATION



 August 4, 2015




 Melcina Blanton
 7727 South Bennett
 Chicago, IL 60649


Loan:
Property:      ----641
               7727 South Bennett, Chicago, IL 60649


Dear Melcina Blanton:

Thank you for contacting RoundPoint. We received your qualified written request on June 22,
2015, and appreciate the opportunity to address your concerns regarding your mortgage
account. You state RoundPoint has failed to accept your payments, failed to accurately apply
payments received, failed to credit payment~ to your mortgage account, and imposed
unreasonable fees. You request that we provide you with a complete payment history and
explain the history on your account.
After a thorough review of your mortgage account, RoundPoint has found no evidence to
support your allegations. Our records show that your loan boarded with RoundPoint on
November 1, 2013. Soon after boarding, your account fell behind, and on November 6, 2014,
RoundPoint extended a loan modification offer. You were required to execute and return both
copies of the agreement by November 19, 2014. Our records show that you did not execute and
return these documents.
Because you did not execute the loan modification agreement, RoundPoint returned your
payments made in November and December 2014, as your loan was in active foreclosure. When
a loan is in active foreclosure, any payments for less than the total amount due are returned. As
of January 20, 2015, your account was due for the contractual payment due June 1, 2014, plus
all subsequent payments and fees assessed to the account. Our records show that you attempted
to make contractual monthly payments in Marcil, April, June, and July, but these payments
were returned because they were for less than the total amount due. As of the date of this letter,
the total amount necessary to bring your account current is $20,338.93·
We have determined that there has been no error by RoundPoint in the servicing of the
mortgage loan. You have the right to request the documents relied upon in reaching this
determination. You may write to us at P.O. Box 19789, Charlotte, NC 28219-9409 to request
these documents. For your convenience, we have enclosed the payment history you requested
with this response.
We thank you for your business and hope this information satisfactorily addresses your
concerns. Should you have any questions or concerns, please contact us at (877) 426-8805. Our

                  P.O. Box 194091 Charlotte, North Carolina 28219-9409J877.426.8805
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              ROUNDPOINT
              MORTGAGE SERVICING CORPORATION



 offices are open Monday through Friday from 8:ooa.m. until1o:oo p.m. Eastern Time and
 Saturday from 8:oo a.m. unti112:oo p.m. Eastern Time.




 Sincerely,

---·-·---~~~k-·-                 •.
 David Hughes
 Vice President
 Round.Point Mortgage Servicing Corporation
 DBHflee
 Enclosures




                P.O. Box 194091 Charlotte, North Carolina 28219-94091877.426.6805
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Via certified mail

RoundPoint Mortgage Servicing Corporation
P.O. Box 19789
Charlotte, NC 28219-0409

       Re:    #1001138641
              7727 S. Bennett, Chicago, IL 60649

Dear Sir or Madam:

       I have received your August 4, 2015 response (postmarked August 10 and received by
me on August 14) to my Notice of Error dated June 9, 2015 (copy enclosed) and received June
22, 2015. This letter is another such Notice under 12 C.F.R. § 1024.35 of Regulation X.

       Not only did you fail to acknowledge receipt of my letter within five days (excluding
public holidays and weekends), but you also did not respond within 30 days. You took until
August 4, 2015 to respond. You also failed to respond to my inquiries. Please answer the
individual inquiries from the June 9 Notice of Error as soon as possible.

       Furthermore, please answer the following questions regarding errors on my account:

       1. Why did you send me a “Notice of Default and Intent to Accelerate” on August 15,
          2014 if my loan was already in foreclosure? Wasn’t it already accelerated?
       2. Why did you send me said Notice when there was a pending motion to dismiss in the
          foreclosure case because my loan was current?
       3. Why was I charged late fees during the foreclosure against me, when my loan was
          supposedly accelerated?
       4. Why was I assessed a fee for a property inspection after the foreclosure case was
          dismissed?
       5. Why was I assessed fees for property inspections at all? Your lawyers stated in
          writing that they dismissed the foreclosure case against me because my loan was
          current.
       6. Why was I charged for attorney fees and foreclosure fees/costs even though you
          voluntarily dismissed the foreclosure case?
       7. Why was I charged $163.72 for PMI in November 2013, when my monthly PMI
          premium is $81.86?
       8. Did you use $163.72 for the monthly PMI figure in November 2013 when you
          arbitrarily changed my monthly payment amount to $1,166.53?
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Roundpoint Mortgage Servicing Corporation
August 24, 2015
Page Two


      Finally, you stated that I have the right to request the documents relied upon in reaching
your determination that you have not made any servicing requests. I hereby request those
documents be sent to me as soon as possible. Thank you.

Very truly yours,



Melcina Blanton
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